5/6/2021                                                                                Alex Najemy | LinkedIn
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   Alex Najemy           · 3rd                                                                St. John’s University School of
                                                                                              Law
   Counsel M&T Bank                                                                                                                         People also viewed
   Wilmington, Delaware, United States · 283 connections ·
                                                                                                                                                      Eric J. Funk • 3rd
   Contact info                                                                                                                                       Headline

                                                                                                                                                         Message

                                                                                                                                                      Sarah Hutchings • 3rd+
   About
                                                                                                                                                      Student

   Admitted Delaware, New York
                                                                                                                                                         Connect

                                                                                                                                                      Hunter Russell • 3rd
                                                                                                                                                      Sports Medicine Fellow - University of
   Activity                                                                                                                                           Alabama
   282 followers
                                                                                                                                                         Connect
   Posts Alex created, shared, or commented on in the last 90 days are displayed here.
                                                                                                                                                      Michael Dupre, MD • 3rd
                                                                                                                                                      Medical Director Complete Health
                                                       See all activity                                                                               Birmingham East Market

                                                                                                                                                         Message

   Experience                                                                                                                                         Don Hargadon • 2nd
                                                                                                                                                      Vice President and Team Leader at M & T
               Associate                                                                                                                              Bank
               Richards, Layton & Finger
                                                                                                                                                         Connect
               Aug 2014 – Nov 2019 · 5 yrs 4 mos
               Wilmington, Delaware
               Corporate Trust and Securitzation Law Associate                                                                                                Show more

               Advised national and state financial institutions in their roles as Owner Trustee, Indenture Trustee,
               Collateral Agent, Custodian, Master Servicer, Depository Agent and Delaware Trustee relating to
               the                                                                                                                          People you may know
               formation and operation of Delaware Statutory Trusts and common law trusts created for
               commercial and business transactions.                                                                                                  Nicholas Campa
                                                                                                                                                      Data Science Major, Minor in Business
                                                                                                          …see more
                                                                                                                                                      Administration at Loyola University…

                                                                                                                                                         Connect
               Judicial Law Clerk
               U.S. Bankruptcy Court District of Delaware                                                                                             Kendall Moore
               Aug 2013 – Aug 2014 · 1 yr 1 mo                                                                                                        Technology Product Manager at Wolters
               Wilmington Delaware                                                                                                                    Kluwer
               * Prepared first draft of opinions for In re Delta Petroleum, In re Centaur, In re Spansion, In re
                                                                                                                                                         Connect
               Opus East LLC on issues including piercing the corporate veil, property rights in petroleum
               royalties, awards under Section 503(b) and appropriateness of retransfer.
                                                                                                                                                      Christopher Maita
               * Prepared bench memorandums for summary judgment motion, motion to dismiss and…see           trial more
                                                                                                                   on
                                                                                                                                                      Fixed Income Sales & Trading Analyst at
                                                                                                                                                      Oppenheimer & Co. Inc.

               Law Clerk                                                                                                                                 Connect
               Lowenstein Sandler LLP
               Jan 2013 – Apr 2013 · 4 mos                                                                                                           James Kane
                                                                                                                                                    Messaging


                                                                                                                                                                  001
               Greater New York City Area                                                                                                             Portfolio Administrator at Penobscot

https://www.linkedin.com/in/alex-najemy-526b286/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAAE7_u4BE55RcxldCup63FEZSBLKw8LJwb0                                                              1/3
5/6/2021                                                                                   Alex Najemy | LinkedIn
                           Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 2 of 113
                  * Conducted research for scholarly publication on the ordinary course of business defense, the                                 Financial Advisors
                  benefit of the estate defense in preference actions, and executory contracts.
                                                                                        Home      My Network         Jobs   Messaging                 Connect
                                                                                                                                          Notifications   Me               Work     Lear

                                                                                                         …see
                  * Conducted research and drafted memos detailing Native American tribes’ liabilities and    more
                                                                                                           defenses
                                                                                                                                                 Luke Hiltwein
                                                                                                                                                 Assurance Intern at
                                                                                                                                                 PricewaterhouseCoopers
                  Executive Officer
                  St. Johns University ROTC Battalion                                                                                               Connect
                  Feb 2010 – Sep 2012 · 2 yrs 8 mos
                  * Executive Officer for the St. John's University ROTC Battalion, in charge of budget, staffing,                                     Show more
                  procurement and training.
                  * Assistant Professor of Military Studies, primary instructor for Staten Island Campus.
                  * Culture Understanding and Language Program Leader, Burkina Faso Summer 2012.                                          LEARNING

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                  Senior Consultant
                                                                                                                                                          Protecting Profitability by
                  Ernst & Young, LLP                                                                                                                      Reducing Financial Risk
                  Sep 2008 – Feb 2010 · 1 yr 6 mos
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                  * Conducted risk assessments for executive compensation plans and calculated the 280G and
                  409A ramifications of a variety of transactions.
                  * Provided project management for integrating companies at national and international levels.                                           15 Secrets Successful People
                  * Supported pension plan audits through the testing of bonds, yield curves and discount rates.                                          Know about Time…

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   Education
                                                                                                                                           Show more on LinkedIn Learning
                  St. John’s University School of Law
                  LL.M, Bankruptcy
                  2011 – 2013

                  Thesis: The Good Faith Requirement in the Context of Court Ordered Mediation

                  Of Counsel for Amicus brief to the U.S. Supreme Court in regards to Bullock v. BankChampaign,
                  N.A.

                  Honors: The Dean's Award for Excellence in Supreme Court Amicus Brief



                  Fordham University School of Law
                  Doctor of Law (J.D.)
                  2005 – 2008



                  The Johns Hopkins University
                  BA, International Relations
                  1997 – 2001




   Skills & endorsements

   Legal Writing · 15

           Endorsed by 8 of Alex’s colleagues at US Army



   Leadership · 11

           Endorsed by Shane Curran, who is highly skilled at
                                                                          Endorsed by 5 of Alex’s colleagues at US Army
           this



   Mediation · 10

           Endorsed by 4 of Alex’s colleagues at US Army



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5/6/2021                                                                       Alyson Villano Neafsey | LinkedIn
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   Alyson Villano Neafsey                  · 3rd                                           Santander Bank, N.A.

   SVP, Deputy General Counsel at Santander Bank, N.A.                                     Seton Hall University School               People also viewed
   Hoboken, New Jersey, United States · 500+ connections ·                                 of Law
                                                                                                                                                Timothy M. Mitchelson • 2nd
   Contact info                                                                                                                                 SVP Deputy General Counsel at Santander
                                                                                                                                                Bank, N.A.

                                                                                                                                                   Connect

   Activity                                                                                                                                     Jane Myers • 3rd
   847 followers                                                                                                                                Senior Litigation and Employment Attorney

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                                                     See all activity                                                                           Laura O'Hara • 3rd
                                                                                                                                                General Counsel at M&T Bank

                                                                                                                                                   Message
   Experience
                                                                                                                                                Sally Mulligan • 3rd
                                                                                                                                                Executive Vice President, General Counsel
               Senior Vice President, Deputy General Counsel at Santander Bank, N.A.
                                                                                                                                                of Consumer and Business Banking at…
               Santander Bank, N.A.
               Dec 2018 – Present · 2 yrs 5 mos                                                                                                    Message
               200 Liberty Street, New York, NY
                                                                                                                                                Jonathon Roth • 3rd
                                                                                                                                                Senior Legal Counsel at Santander Bank,
               Administrative Vice President, Head of WISD Litigation                                                                           N.A.
               M&T Bank
               Jun 2018 – Dec 2018 · 7 mos                                                                                                         Message
               350 Park Avenue, New York, NY 10022

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               Vice President & Assistant General Counsel
               JPMorgan Chase & Co.
               Feb 2014 – May 2018 · 4 yrs 4 mos
               Iselin, New Jersey
                                                                                                                                      People you may know

                                                                                                                                                Nicholas Campa
                                                                                                                                                Data Science Major, Minor in Business
               Associate
                                                                                                                                                Administration at Loyola University…
               Patton Boggs LLP
               Sep 2006 – Feb 2014 · 7 yrs 6 mos                                                                                                   Connect

                                                                                                                                                Kendall Moore
                                                                                                                                                Technology Product Manager at Wolters
   Education                                                                                                                                    Kluwer

               Seton Hall University School of Law                                                                                                 Connect
               JD
               2002 – 2005                                                                                                                      Christopher Maita
                                                                                                                                                Fixed Income Sales & Trading Analyst at
                                                                                                                                                Oppenheimer & Co. Inc.
               Wellesley College
                                                                                                                                                   Connect
               BA, English
               1998 – 2002
                                                                                                                                               James Kane
                                                                                                                                              Messaging


                                                                                                                                                             003
                                                                                                                                                Portfolio Administrator at Penobscot

https://www.linkedin.com/in/alyson-villano-neafsey-5826a121/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAASNC_IBY3WhwD84OVn1rS4l…                                                   1/2
5/6/2021                                                                              Amanda Cook | LinkedIn
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   Amanda Cook               · 3rd                                                           M&T Bank

   Vice President, Assistant General Counsel at M&T Bank                                                                                    People also viewed
                                                                                             New York Law School
   Verona, New Jersey, United States · 293 connections ·
                                                                                                                                                      Doris Ruiz • 3rd+
   Contact info                                                                                                                                       Analyst at Bristol-Myers Squibb Pharma Ltd
                                                                                                                                                      co

                                                                                                                                                           Connect

   About                                                                                                                                              Karen Perrin • 3rd+
                                                                                                                                                      Assistant Professor at Jackson State
   Experienced corporate counsel with a demonstrated history of working in the commercial industry. Published legal
                                                                                                                                                      Community College
   professional skilled in commercial finance negotiations, drafting, public speaking, and legal writing. Demonstrated
   ability to close business transactions with integrity and efficiency. Subject matter expert in purchase and sale… see more                              Message

                                                                                                                                                      Victoria Potts • 3rd
                                                                                                                                                      Fiscal Analyst at Kansas Legislative

   Activity                                                                                                                                           Research Department

   293 followers                                                                                                                                           Connect
   Posts Amanda created, shared, or commented on in the last 90 days are displayed here.
                                                                                                                                                      Sabra Baum • 3rd
                                                                                                                                                      M&T Bank - Senior Vice President - Deputy

                                                       See all activity                                                                               General Counsel

                                                                                                                                                           Message


   Experience                                                                                                                                         Angela Ruiz • 3rd
                                                                                                                                                      Associate Team Leader at TIAA Bank

                M&T Bank                                                                                                                                   Message
                1 yr 9 mos

                Vice President, Assistant General Counsel                                                                                                     Show more
                Oct 2020 – Present · 7 mos


                Vice President, Counsel
                                                                                                                                            People you may know
                Aug 2019 – Oct 2020 · 1 yr 3 mos
                Greater New York City Area
                                                                                                                                                      Nicholas Campa
                                                                                                                                                      Data Science Major, Minor in Business
                                                                                                                                                      Administration at Loyola University…
                Vice President, Counsel
                                                                                                                                                           Connect
                TIAA Bank
                2013 – 2018 · 5 yrs
                                                                                                                                                      Kendall Moore
                Parsippany, NJ
                                                                                                                                                      Technology Product Manager at Wolters
                • Identified and analyzed legal issues and strategies to provide day-to-day counsel related to the                                    Kluwer
                structuring, documentation and negotiation of commercial financing transactions
                • Interfaced with Executive Team to advise on potential legal risks and collaborate to develop                                             Connect
                practical solutions                                                                      …see more
                                                                                                                                                      Christopher Maita
                                                                                                                                                      Fixed Income Sales & Trading Analyst at
                Law Clerk                                                                                                                             Oppenheimer & Co. Inc.

                Combs Greene McLester                                                                                                                      Connect
                2010 · less than a year
                Jacksonville, Florida                                                                                                               Messaging
                                                                                                                                                     James Kane

https://www.linkedin.com/in/amanda-cook-8b85a147/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAAngIcwB-bHHc7KQyE1OTg600KQYohk…                                 004                             1/3
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                                                                                                                                Portfolio Administrator at Penobscot

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                Dougherty, Leventhal, and Price, LLP                                                                               Connect
                2005 · less than a year
                Moosic, Pennsylvania                                                                                            Luke Hiltwein
                                                                                                                                Assurance Intern at
                                                                                                                                PricewaterhouseCoopers

   Education                                                                                                                       Connect

                New York Law School
                                                                                                                                       Show more
                Visiting Student, Corporate Transactional Practice


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                Indiana University of Pennsylvania
                Bachelor of Arts - BA, Criminology                                                                                        Writing Emails People Want
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   Licenses & certifications                                                                                                              CIPP/US Cert Prep: The
                                                                                                                                          Basics
                Attorney
                The New Jersey Bar                                                                                                        2,344 viewers

                Issued Apr 2014 · No Expiration Date
                                                                                                                         Show more on LinkedIn Learning

                Attorney
                The Florida Bar
                Issued Mar 2013 · No Expiration Date




   Skills & endorsements

   Bankruptcy · 7
   Jason I. Miller and 6 connections have given endorsements for this skill


   Mediation · 7
   Jason I. Miller and 6 connections have given endorsements for this skill


   Depositions · 6
   Nareen Gurnani and 5 connections have given endorsements for this skill


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5/6/2021                                                                               Andrew Flame | LinkedIn
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   Vice President and Associate General Counsel at M&T Bank                                   Temple University - James E.                 People also viewed
   Wilmington, Delaware, United States · 500+ connections ·                                   Beasley School of Law
                                                                                                                                                     Don Held • 3rd
   Contact info                                                                                                                                      Adminstrative Vice President and Associate
                                                                                                                                                     General Counsel

                                                                                                                                                        Connect

   About                                                                                                                                             Sarah K. Ranni • 3rd
                                                                                                                                                     Vice President and Associate General
   Bank Officer, former Partner in Am Law 100 firm , former law clerk to federal District Judge,
                                                                                                                                                     Counsel at M&T Bank
   admitted in PA, DE, NJ, NY and District of Columbia.
                                                                                                                  … see more                            Message

                                                                                                                                                     Miriam Dowd • 3rd
                                                                                                                                                     Associate General Counsel at M&T Bank,

   Activity                                                                                                                                          Wealth and Institutional Services…

   1,527 followers                                                                                                                                      Message
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                                                                                                                                                     Sarah Pugh • 3rd
                                                                                                                                                     Vice President at M&T Bank
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                                                                                                                                                     Laura O'Hara • 3rd
   Experience                                                                                                                                        General Counsel at M&T Bank

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                Vice President and Associate General Counsel
                M&T Bank
                Jul 2018 – Present · 2 yrs 10 mos                                                                                                            Show more
                Wilmington, DE

                After more than 25 years with an Am Law 100 law firm representing traditional and non-
                traditional lenders and companies in lending, workout, collection and bankruptcy and insolvency
                matters, Andrew now supports M&T's Commercial Lending Group and related bank operations.
                                                                                                                                           People you may know
                Negotiating and closing loans for some of the Bank's largest clients, Andrew prides himself on
                                                                                                                                                     Kendall Moore
                "getting to yes" through innovative solutions to challenges that arise during the loan origination
                                                                                                                                                     Technology Product Manager at Wolters
                and servicing process. Andrew is also involved in regulatory, compliance, and adminstrative
                                                                                                                                                     Kluwer
                matters. Developing lasting internal and external relationships permits Andrew to achieve the best
                results for both M&T and its clients.                                                                                                   Connect

                                                                                                                                                     John Burger
                Partner/Litigation and Insolvency Attorney                                                                                           Professor of Economics at Loyola University
                Drinker Biddle & Reath LLP                                                                                                           Maryland
                Jul 1993 – Jul 2018 · 25 yrs 1 mo
                Philadelphia, PA and Wilmington, DE                                                                                                     Connect

                Partner providing litigation and creditors' rights advice. Handle all forms of commercial litigation,
                                                                                                                                                     James Kane
                foreclosure and collection matters and acquisitions in federal and state courts and outside the
                                                                                                                                                     Portfolio Administrator at Penobscot
                judicial process.
                                                                                                                                                     Financial Advisors

                                                                                                                                                        Connect

   Education                                                                                                                                        Caleb Braswell
                                                                                                                                                   Messaging


                                                                                                                                                                 006
                                                                                                                                                     Finance Major at Loyola University

https://www.linkedin.com/in/andrew-flame-b892829/                                                                                                                                               1/3
5/6/2021                                                                                Andrew Flame | LinkedIn
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                  Temple University - James E. Beasley School of Law                                                                            Maryland | Sellinger School of Business

                  Juris Doctorate, Law                                                  Home        My Network      Jobs   Messaging                 Connect
                                                                                                                                         Notifications   Me             Work              Lear
                  1990 – 1993
                  Activities and Societies: Law Review, Summer Clerk to Professor Laura Little
                                                                                                                                                William Rosa
                  Graduated magna cum laude                                                                                                     Underwriting Assistant at MSIG Holdings
                                                                                                                                                (U.S.A.), Inc. - Mitsui Sumitomo Marine…


                  Penn State University                                                                                                            Connect
                  B.S., Marketing
                  1986 – 1990                                                                                                                         Show more
                  Activities and Societies: Sigma Alpha Mu, Resident Assistant

                  Graduated "With Distinction"
                                                                                                                                       Bryce, learn what hiring managers look
                                                                                                                                       for in answers to top finance interview
                                                                                                                                       questions
   Volunteer experience

                  President                                                                                                                     How do you value a company?
                  REFORM CONGREGATION KENESETH ISRAEL
                  Apr 2008 – Apr 2010 • 2 yrs 1 mo
                  Social Services
                                                                                                                                                Your GPA is low, why should
                  President of historic 1000+ family religious institution. As highest ranking lay leader, responsible                          we hire you?
                  for all aspects of operations and programming, including budgeting, education, human resources,
                  fundraising, and commencing capital campaign. Partnered with religious and professional staff to
                  overcome budgetary challenges arising from 2008-2009 worldwide financial crisis.                                              Tell me about a recent article
                                                                                                                                                or trend you read about in the
                                                                                                                                                Wall Street Journal.
                  Parent Leadership Committee
                  Dickinson College
                  Jul 2018 – Present • 2 yrs 10 mos                                                                                                Preview questions
                  Education

                  Serve as member of Parent Leadership Committee, providing College leadership feedback on wide
                  variety of issues. Assist in and lead certain fundraising, student information, and parent outreach
                  meetings. Represent College at college fairs and on video meetings with prospective students’
                  parents, as well as at welcome and orientation events for accepted students and their parents.




   Skills & endorsements

   Litigation · 16

           Endorsed by Andy Klein, who is highly skilled at             Endorsed by 5 of Andrew’s colleagues at Drinker
           this                                                         Biddle & Reath LLP



   Commercial Litigation · 10

           Endorsed by Luis Konski and 1 other who is highly            Endorsed by 2 of Andrew’s colleagues at Drinker
           skilled at this                                              Biddle & Reath LLP



   Bankruptcy · 9

           Endorsed by Robert Bovarnick, Esquire, who is                Endorsed by 2 of Andrew’s colleagues at Drinker
           highly skilled at this                                       Biddle & Reath LLP


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https://www.linkedin.com/in/andrew-flame-b892829/                                                                                                          007                            2/3
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   Annmarie Lee            · 3rd                                                         M&T Bank

   Head of Retail, Consumer Deposits and Business Banking                                                                    People also viewed
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   New York, New York, United States · 500+ connections ·                                                                              Group Vice President - Deputy General
   Contact info                                                                                                                        Counsel at M&T Bank

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                                                                                                                                       Laura O'Hara • 3rd
   Activity                                                                                                                            General Counsel at M&T Bank
   626 followers
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                                                                                                                                       Gary Price • 3rd
                                                                                                                                       Vice President & Associate General
                                                     See all activity
                                                                                                                                       Counsel - Consumer Finance at M&T Bank

                                                                                                                                          Message

   Experience                                                                                                                          Aaron Felmet • 3rd
                                                                                                                                       Business Risk Manager II at M&T Bank
               Administrative VP, Associate General Counsel
               M&T Bank                                                                                                                   Message
               Aug 2019 – Present · 1 yr 9 mos
                                                                                                                                       Miriam Dowd • 3rd
                                                                                                                                       Associate General Counsel at M&T Bank,
               Deputy General Counsel, SVP - Head of Business Banking and Cards Legal                                                  Wealth and Institutional Services…
               Santander Bank, N.A.
               Jun 2016 – Aug 2019 · 3 yrs 3 mos                                                                                          Message
               New York, New York
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               Vice President and Counsel
               Citizens Financial Group, Inc.
               May 2013 – May 2016 · 3 yrs 1 mo
                                                                                                                             People you may know

                                                                                                                                       Nicholas Campa
               Associate                                                                                                               Data Science Major, Minor in Business
               Lee Anav Chung LLP                                                                                                      Administration at Loyola University…
               Sep 2010 – May 2013 · 2 yrs 9 mos
                                                                                                                                          Connect

                                                                                                                                       Kendall Moore
   Education                                                                                                                           Technology Product Manager at Wolters
                                                                                                                                       Kluwer
               Brooklyn Law School
                                                                                                                                          Connect

                                                                                                                                       Christopher Maita
                                                                                                                                       Fixed Income Sales & Trading Analyst at
               Cornell University                                                                                                      Oppenheimer & Co. Inc.

                                                                                                                                          Connect

                                                                                                                                      James Kane
                                                                                                                                     Messaging


                                                                                                                                                  008
                                                                                                                                       Portfolio Administrator at Penobscot

https://www.linkedin.com/in/annmarie-lee-38577814/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAAL2AxUBsVCEpFNn_qloDo325_wudzXo…                                              1/2
5/6/2021                                                                 Anthony C. Santopolo, J.D., LL.M. | LinkedIn
                        Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 9 of 113
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   Anthony C. Santopolo, J.D., LL.M.                        · 3rd                          M&T Bank

   Assistant Vice President | Compliance Manager at M&T                                    University of Colorado School                  People also viewed
   Bank                                                                                    of Law
                                                                                                                                                    Jesse Parley • 3rd
   Buffalo-Niagara Falls Area · 500+ connections · Contact info
                                                                                                                                                    Vice President at Family First Life

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   About                                                                                                                                            Christopher Fenton • 3rd
                                                                                                                                                    M&T Bank BSA/AML Compliance

   Licensed Attorney (New York #5606462/Florida #100375) with regulatory compliance experience in highly regulated
                                                                                                                                                       Connect
   financial institution. Looking to utilize experience and education in expanded legal or compliance roles. Previous
   experience includes civil litigation, business development/contract management, BSA/AML Specialist, and Vendor… see more
                                                                                                                                                    Anthony Santopolo • 3rd+
                                                                                                                                                    Event Manager

                                                                                                                                                       Connect
   Activity
   788 followers                                                                                                                                    Ted Starishevsky • 3rd
                                                                                                                                                    Global Head of Sanctions and Anti-
             Congrats, this is great!                                        🍻                                                                      Corruption, Chief Technology Owner for…

             Anthony C. commented                                            Anthony C. commented                                                      Message

                                                                                                                                                    James(Zhiyuan) Wang, CFA, FRM
                                                      See all activity                                                                              • 2nd
                                                                                                                                                    Administrative Vice President, Model
                                                                                                                                                    Validation Manager at M&T Bank


   Experience                                                                                                                                          Connect


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                4 yrs 10 mos

                Assistant Vice President | Compliance Manager - BSA/AML
                Dec 2018 – Present · 2 yrs 6 mos
                Buffalo/Niagara, New York Area                                                                                            People you may know
                -Primary contact for the business units (Retail, Commercial, Business Banking, Wealth and
                                                                                                                                                    Nicholas Campa
                Institutional Services) regarding the Enterprise-wide KYC Procedures, FinCEN CDD Final Rule,
                                                                                                                                                    Data Science Major, Minor in Business
                Prohibited and Generally Prohibited Customers, and all BSA/AML related customer issues;
                                                                                                                                                    Administration at Loyola University…
                -Owner of the BSA/AML Policy and Program Documents, which includes all updates to remain
                current with regulatory changes;                                                                                                       Connect
                -Owner of the Requirements & Standards documents for the Bank Secrecy Act, Regulation H, NYS
                DFS 504 Regulation, BSA/AML Program, Enterprise-wide KYC Procedures, Mergers and Acquisition                                        Kendall Moore
                Due Diligence Procedures, OFAC Risk Management Policy; and Proceeds of Crime (Money     …see more                                   Technology Product Manager at Wolters
                                                                                                                                                    Kluwer
                Banking Officer | Compliance Consultant - Vendor Risk Management
                                                                                                                                                       Connect
                Aug 2017 – Dec 2018 · 1 yr 5 mos
                Buffalo/Niagara, New York Area
                                                                                                                                                    Christopher Maita
                -Reviewed the bank's third party vendor relationships and assessed risk arising from violations of                                  Fixed Income Sales & Trading Analyst at
                laws, rules, or regulations, or from noncompliance with internal policies or procedures or with the                                 Oppenheimer & Co. Inc.
                bank's business standards;
                -Identification and reporting of regulatory and compliance risks related to third party …see more                                      Connect
                                                                                                                                                  Messaging


                                                                                                                                                                009
                                                                                                                                                   James Kane
                Compliance Specialist I - BSA/AML
https://www.linkedin.com/in/anthonysantopolo/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAAdmyxwBdACDGqcBOsmNCHxEu1LLWOxuB0M                                                               1/3
5/6/2021                                                                 Anthony C. Santopolo, J.D., LL.M. | LinkedIn
                     Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 10Portfolio
             Compliance Specialist I BSA/AML                                    of 113   Administrator at Penobscot
             Aug 2016 – Aug 2017 · 1 yr 1 mo
                                                                                                                                               Financial Advisors
             Buffalo/Niagara, New York Area                                            Home     My Network       Jobs   Messaging     Notifications      Me             Work           Lear
                                                                                                                                                 Connect

             Attorney Editor | Finance & Risk                                                                                                 Luke Hiltwein
                                                                                                                                              Assurance Intern at
             Thomson Reuters
             Sep 2015 – Aug 2016 · 1 yr                                                                                                       PricewaterhouseCoopers

             Rochester, New York Area                                                                                                            Connect
             Contract content attorney editor focusing on the United Kingdom banking regulatory structure
             including governance, mergers and acquisitions, commercial and real estate lending, risk
                                                                                                                                                     Show more
             management, internal compliance and regulatory reporting, and anti-money laundering
             legislation. Demonstrated the ability to comprehend, analyze, and interpret foreign legal…see more

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             Director of New Business Development                                                                                   for in answers to top finance interview
             Human Movement Inc.                                                                                                    questions
             May 2014 – Apr 2015 · 1 yr
             Louisville, CO
             Main responsibilities included contract management; negotiating terms and provisions of                                           Describe WACC.
             commercial contracts including international licensing agreements, vendor sales agreements, non-
             disclosure agreements, consulting agreements, and venue lease agreements; drafting sponsorship
                                                                                                   …see more
             and partnership agreements with a focus on protecting company intellectual property; drafting                                     What is net present value and

                                                                                                                                               how would you use it?
             AndersonGlenn LLP
             2 yrs 1 mo
                                                                                                                                               How do the three financial
             Associate Attorney                                                                                                                statements link together?
             Jun 2012 – Aug 2013 · 1 yr 3 mos
             Ponte Vedra Beach, FL
             Practice included assisting and participating in all aspects of civil plaintiff and defense cases                                    Preview questions
             involving Commercial Contracts, Insurance, and Aviation Disaster. Experience negotiating
             settlement agreements; drafting, editing, and assisting in the preparation of all of pleadings,                        Promoted
             answers, and discovery requests of assigned cases; assisting in the preparation of all legal …see more


             Law Clerk
             Aug 2011 – Jun 2012 · 11 mos
             Ponte Vedra Beach, FL                                                                                                   Embrace tomorrow               Add "Law" To Your
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   Education                                                                                                                                                        WashU, no GRE/LSAT
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             University of Colorado School of Law                                                                                        Learn more                     Learn more
             Master of Laws (LL.M.), Entrepreneurship/Business Law




             Florida Coastal School of Law
             Juris Doctor, Law
             Activities and Societies: Florida Coastal Law Review: Notes and Comments Editor/Editorial Board
             Member



             Fordham University
             B.A., Communications
             Activities and Societies: Baseball (Division I, Atlantic 10 Conference)


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   Skills

   Legal Compliance


   Legal Research


   Legal Writing                                                                                                                            Messaging

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5/6/2021                                                                          Anthony Carroll | LinkedIn
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                                                                                                                                              Carrie R. McElroy • 3rd
                                                                                                                                              Vice President, Associate General Counsel

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   Activity
   328 followers                                                                                                                              Stacey Moar • 3rd
                                                                                                                                              Vice President, Assistant General Counsel
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                                                                                                                                              Probate and Estates


   Experience                                                                                                                                    Message

               Vice President and Counsel                                                                                                     Sabra Baum • 3rd
               M&T Bank                                                                                                                       M&T Bank - Senior Vice President - Deputy
               Jun 2019 – Present · 1 yr 11 mos                                                                                               General Counsel
               Buffalo/Niagara, New York Area
                                                                                                                                                 Message


               Associate Attorney                                                                                                             Christopher Fillion • 3rd
                                                                                                                                              Banking Officer @ M&T Bank
               Woods Oviatt Gilman LLP
               Jan 2017 – Jun 2019 · 2 yrs 6 mos                                                                                                 Message
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               Associate Attorney
               Barclay Damon, LLP
               Aug 2012 – Jan 2017 · 4 yrs 6 mos
               Buffalo/Niagara, New York Area                                                                                       People you may know

                                                                                                                                              Nicholas Campa
                                                                                                                                              Data Science Major, Minor in Business
                                                                                                                                              Administration at Loyola University…
   Education
                                                                                                                                                 Connect
               University at Buffalo Law School
               Juris Doctor, Finance Transactions                                                                                             Kendall Moore
               2009 – 2012                                                                                                                    Technology Product Manager at Wolters
               Activities and Societies: Buffalo Law Review                                                                                   Kluwer


               Completed Finance Transactions Program                                                                                            Connect

                                                                                                                                              Christopher Maita
               Canisius College                                                                                                               Fixed Income Sales & Trading Analyst at

               Bachelor of Science, Finance                                                                                                   Oppenheimer & Co. Inc.

               2005 – 2009                                                                                                                       Connect
               Activities and Societies: Beta Gamma Sigma

               2009 Merrill Lynch Award for Academic Excellence in Finance                                                                    James Kane
                                                                                                                                             Portfolio Administrator at Penobscot
                                                                                                                                            Messaging

https://www.linkedin.com/in/acarroll87/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAAgT1YwBc0O-97VloZPKa9sBDeYai2Q4Lq8                                011                            1/2
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                                                                                                                                                  Specialist at M&T Bank

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   Experience
                                                                                                                                                  Arthur Wilkosz • 3rd
                  Deputy General Counsel                                                                                                          Probate and Estates

                  M&T Bank
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                                                                                                                                                  Administrative Vice President and Senior
   Education                                                                                                                                      Counsel at M&T Bank

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                  bsba, finance
                  1980 – 1982                                                                                                                             Show more




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                  M&T Bank                                                 American University
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                                                                                                                                                  Kendall Moore
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                                                                                                                                                  Fixed Income Sales & Trading Analyst at
                                                                                                                                                  Oppenheimer & Co. Inc.

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   Bank
                                                                                                                                               Aaron Felmet • 3rd
   Buffalo, New York, United States · 138 connections · Contact info
                                                                                                                                               Business Risk Manager II at M&T Bank

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   Experience                                                                                                                                  Brian Yoshida • 2nd
                                                                                                                                               Chief Legal Officer at Santander US
               Deputy General Counsel & Senior Vice President
               M&T Bank · Full-time                                                                                                               Connect
               Dec 2018 – Present · 2 yrs 5 mos
               Buffalo, New York                                                                                                               William Simon • 3rd
                                                                                                                                               Vice President & Assistant General Counsel
               Management of M&T Legal Department's Commercial practice areas.
                                                                                                                                               at M&T Bank

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               Deputy General Counsel & Group VP
               M&T Bank
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               Dec 2010 – Sep 2018 · 7 yrs 10 mos
               Buffalo, New York
               Management of Deposits, Consumer Lending, Retail Mortgage and Commercial Lending practice
               areas as well as BSA/AML and other Compliance legal support                                                           People you may know

                                                                                                                                               Nicholas Campa
                                                                                                                                               Data Science Major, Minor in Business
   Education                                                                                                                                   Administration at Loyola University…

               St. Lawrence University                                                                                                            Connect
               BA, Goverment
               1977 – 1981                                                                                                                     Kendall Moore
                                                                                                                                               Technology Product Manager at Wolters
                                                                                                                                               Kluwer

                                                                                                                                                  Connect
   Interests
                                                                                                                                               Christopher Maita
               St. Lawrence University                                     M&T Bank                                                            Fixed Income Sales & Trading Analyst at
               24,505 followers                                            85,410 followers
                                                                                                                                               Oppenheimer & Co. Inc.

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                                                                                                                                               James Kane
                                                                                                                                               Portfolio Administrator at Penobscot
                                                                                                                                             Messaging
                                                                                                                                              Financial Advisors


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   Contact info                                                                                                                                Assistant General Counsel at nCino, Inc.

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   Activity
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                                                                                                                                               Special Counsel at Milbank LLP

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   Experience
                                                                                                                                               Scott Golenbock • 3rd
                Associate General Counsel                                                                                                      Partner at Milbank LLP

                M&T Bank
                                                                                                                                                  Message
                Jul 2015 – Present · 5 yrs 10 mos
                Buffalo, NY
                                                                                                                                               Nehal M. Siddiqui • 3rd
                                                                                                                                               Assistant General Counsel at Ernst & Young
                                                                                                                                               LLP
                Associate
                Nixon Peabody LLP                                                                                                                 Message
                Aug 2013 – Jul 2015 · 2 yrs
                Rochester, NY
                                                                                                                                                       Show more

                Associate
                Milbank, Tweed, Hadley & McCloy LLP
                Dec 2009 – Jul 2013 · 3 yrs 8 mos                                                                                    People you may know

                                                                                                                                               Nicholas Campa
                                                                                                                                               Data Science Major, Minor in Business
   Education                                                                                                                                   Administration at Loyola University…

                                                                                                                                                  Connect
                University at Buffalo Law School
                J.D.
                                                                                                                                               Kendall Moore
                2006 – 2009
                                                                                                                                               Technology Product Manager at Wolters
                                                                                                                                               Kluwer

                University of Rochester                                                                                                           Connect
                B.A., Political Science
                2002 – 2006                                                                                                                    Christopher Maita
                                                                                                                                               Fixed Income Sales & Trading Analyst at
                                                                                                                                               Oppenheimer & Co. Inc.

                                                                                                                                                  Connect
   Skills & endorsements
                                                                                                                                               James Kane
   Commercial Litigation · 6                                                                                                                  Portfolio Administrator at Penobscot
                                                                                                                                             Messaging

https://www.linkedin.com/in/brittany-simon-87268339/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAAgbuRYBBOet7uE5PZ6H5DV49jmX4y6…                       014                            1/2
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   Vice President, Associate General Counsel                                         University at Buffalo School               People also viewed
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                                                                                                                                          Lisa Brucato • 3rd
                                                                                                                                          Customer Experience @ M&T Bank

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   Activity
   272 followers                                                                                                                          Anthony Carroll • 3rd
                                                                                                                                          Vice President and Counsel at M&T Bank
             www.mtb.com
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             Carrie R. shared this
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                                                                                                                                          Katie Costlow • 3rd
                                                                                                                                          Assistant Vice President, Senior Branch
                                                      See all activity                                                                    Manager at M&T Bank

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   Experience                                                                                                                             Jonathan Schechter • 3rd
                                                                                                                                          Attorney at Gross Shuman P.C.
               M&T Bank
               2 yrs 10 mos                                                                                                                  Message

               Vice President and Associate General Counsel                                                                               Debra Doby • 3rd
               Full-time                                                                                                                  Managing Partner, The Wenderoff Law
               Oct 2020 – Present · 7 mos                                                                                                 Group
               Buffalo, New York, United States
                                                                                                                                             Message

               Vice President and Counsel
               Jul 2018 – Oct 2020 · 2 yrs 4 mos                                                                                                  Show more
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               Assistant Vice President
               HSBC                                                                                                                       Nicholas Campa
               Feb 2017 – Jul 2018 · 1 yr 6 mos                                                                                           Data Science Major, Minor in Business
               Commercial Loan Closer                                                                                                     Administration at Loyola University…

                                                                                                                                             Connect

               Attorney
                                                                                                                                          Kendall Moore
               Paul William Beltz Pc                                                                                                      Technology Product Manager at Wolters
               Dec 2015 – Feb 2017 · 1 yr 3 mos
                                                                                                                                          Kluwer

                                                                                                                                             Connect
               Compliance Analyst/Attorney(Contract)
               M&T Bank                                                                                                                   Christopher Maita
               Mar 2014 – Mar 2015 · 1 yr 1 mo                                                                                            Fixed Income Sales & Trading Analyst at
               Buffalo/Niagara, New York Area                                                                                             Oppenheimer & Co. Inc.

                                                                                                                                             Connect
               Licensed Associate Real Estate Broker
               HUNT Real Estate ERA                                                                                                       James Kane
                                                                                                                                         Portfolio Administrator at Penobscot
                                                                                                                                        Messaging
               Mar 2013 – Dec 2014 · 1 yr 10 mos

https://www.linkedin.com/in/carrie-r-mcelroy-5327a817/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAAN_pvYBTW_Fbt78zeg78VN8z7CYlJ…                 015                            1/3
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             Buffalo, NY
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                                                                                                                                            Luke Hiltwein
                                                                                                                                            Assurance Intern at
                                                                                                                                            PricewaterhouseCoopers
   Education
                                                                                                                                               Connect
             University at Buffalo School of Law
             J.D., Law                                                                                                                              Show more
             2005 – 2008
             Activities and Societies: National Civil Mock Trial Team Desmond Moot Court Team (Quarter-
             Finalist) Domestic Violence Clinic Community Economic Development Clinic
                                                                                                                                    LEARNING

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             International law
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             2006 – 2006
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             University at Buffalo                                                                                                                   CIPP/US Cert Prep: 3
             B.A., Political Science/ Cultural Anthropology                                                                                          Government and Court…
             1999 – 2003
             Activities and Societies: Golden Key International Honor Society Political Science Club Student                                         1,565 viewers
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5/6/2021                                                                        Catherine Kirchner | LinkedIn
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   Assistant General Counsel at Wilmington Trust an Affiliate of                        Villanova University Charles               People also viewed
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                                                                                                                                             William Bechstein, CFP®, CFA®
   Greater Philadelphia · 251 connections · Contact info
                                                                                                                                             • 3rd
                                                                                                                                             Wealth Management Market Leader at
                                                                                                                                             Wilmington Trust

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   Activity
   250 followers
                                                                                                                                             Clay Weisenberg • 3rd
                                                                                                                                             VP, Business Systems Support Manager at
             Congratulations Marguerite! Well                             Kristy, this recognition is so well
                                                                                                                                             Wilmington Trust
             deserved!                                                    deserved! Thank you for all you do t…
             Catherine commented                                          Catherine commented                                                   Message

                                                                                                                                             Dominick D'Eramo, CFA • 3rd
                                                                                                                                             Chief Fixed Income Officer ✧ Group Vice
                                                     See all activity
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   Experience                                                                                                                                John Campbell • 2nd
                                                                                                                                             Director of Business Owner Engagement at
               Wilmington Trust                                                                                                              Wilmington Trust
               7 yrs 4 mos
                                                                                                                                                Connect
               Assistant General Counsel
               Full-time                                                                                                                     Donald DiCarlo • 3rd
               Oct 2020 – Present · 7 mos                                                                                                    President, Family Office at Wilmington
                                                                                                                                             Trust ; ACTEC Fellow
               Counsel
                                                                                                                                                Message
               Jan 2014 – Present · 7 yrs 4 mos

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               Senior Trust Officer
               RBC Trust Company (Delaware) Limited
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               Aug 2011 – Jan 2014 · 2 yrs 6 mos
               Wilmington, Delaware
                                                                                                                                             Nicholas Campa
                                                                                                                                             Data Science Major, Minor in Business
                                                                                                                                             Administration at Loyola University…
               Trust Administrative Officer
               Bank of America                                                                                                                  Connect
               Apr 2006 – Feb 2009 · 2 yrs 11 mos
               Hartford, Connecticut Area                                                                                                    Kendall Moore
                                                                                                                                             Technology Product Manager at Wolters
                                                                                                                                             Kluwer
               Trust Administrator
               MassMutual Trust Company                                                                                                         Connect
               May 2003 – Feb 2006 · 2 yrs 10 mos
               Enfield, Connecticut                                                                                                          Christopher Maita
                                                                                                                                             Fixed Income Sales & Trading Analyst at
                                                                                                                                             Oppenheimer & Co. Inc.
               Assistant - Estate & Business Planning Dept.                                                                                Messaging
                                                                                                                                              Connect

https://www.linkedin.com/in/catherine-kirchner-673046185/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAACucQDcB7rK6iOQf3UbHwSQG9je…                     017                           1/3
5/6/2021                                                                        Catherine Kirchner | LinkedIn
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               MassMutual                                                                                                              James Kane
               Jun 1999 – May 2003 · 4 yrs                                                                                              Portfolio Administrator at Penobscot
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               Hartford, Connecticut Area                                                                                               Financial Advisors
            Catherine Kirchner
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                                                                                                                                          Connect                More…
         Assistant General Counsel at Wilmington Trust an Affiliate of M&T Bank
   Education
                                                                                                                                       Luke Hiltwein
               Villanova University Charles Widger School of Law                                                                       Assurance Intern at
               Master of Laws - LLM, Taxation and Estate Planning Certificate                                                          PricewaterhouseCoopers
               2017 – 2019
                                                                                                                                          Connect


               Western New England University School of Law                                                                                   Show more
               Doctor of Law - JD, Law
               2006 – 2010
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               Mar 2012 – Jul 2017 · 5 yrs 5 mos                                                                                              Christopher Maita
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                M&T Bank                                                                                                                        Process Engineer at Ford Motor Company
                6 yrs 1 mo
                                                                                                                                                     Message
                Vice President/Assistant General Counsel
                                                                                                                                                Robert Weidner • 3rd+
                Full-time
                                                                                                                                                Executive Director at JPMorgan Chase
                Jun 2019 – Present · 1 yr 11 mos
                Buffalo, New York, United States
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                Damon Morey LLP                                                                                                                 Kendall Moore
                Mar 2012 – Apr 2015 · 3 yrs 2 mos                                                                                               Technology Product Manager at Wolters
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                Senior Counsel                                                                                                                       Connect
                Lippes Mathias Wexler Friedman LLP
                Sep 2010 – Feb 2012 · 1 yr 6 mos                                                                                                John Burger
                                                                                                                                                Professor of Economics at Loyola University
                                                                                                                                                Maryland
                General Counsel and Human Resources Manager
                                                                                                                                                     Connect
                Costanzo's Bakery, Inc.
                2003 – Sep 2010 · 6 yrs
                                                                                                                                                James Kane
                                                                                                                                                Portfolio Administrator at Penobscot
                                                                                                                                                Financial Advisors
                Attorney
                Gross Shuman Brizdle & Gilfillan PC                                                                                                  Connect
                Jul 1988 – Apr 2004 · 15 yrs 10 mos
                                                                                                                                                Caleb Braswell
                                                                                                                                                Finance Major at Loyola University
                                                                                                                                              Messaging
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                                                                                                                 William Rosa
               University at Buffalo School of Law
                                                                                                                 Underwriting Assistant at MSIG Holdings
               JD
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               1982 – 1985
               Activities and Societies: Phi Alpha Delta                                                            Connect


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   About                                                                                                                                            Brieann Kinsey • 3rd
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   Activity                                                                                                                                         Association of School Psychologists

   251 followers                                                                                                                                       Message
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   Experience                                                                                                                                       Laura Benson • 3rd+
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                M&T Bank                                                                                                                               Connect
                Jun 2019 – Present · 1 yr 11 mos
                Greater Philadelphia Area
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                Chief Compliance Officer and Counsel
                WBI Investments, Inc. and The Hartshorne Group, Inc.
                                                                                                                                          People you may know
                Jun 2017 – May 2019 · 2 yrs
                Red Bank, NJ
                                                                                                                                                    Nicholas Campa
                Leads vision, strategy, and execution for all facets of compliance for both WBI Investments and                                     Data Science Major, Minor in Business
                The Hartshorne Group, directing and enforcing a formal compliance program while serving as a                                        Administration at Loyola University…
                key member of the legal team. Valued as a leader with the ability to develop the knowledge to
                meet changing business demands.                                                         …see more                                      Connect

                                                                                                                                                    Kendall Moore
                Chief Compliance Officer                                                                                                            Technology Product Manager at Wolters

                WBI Investments, Inc. and The Hartshorne Group Inc.                                                                                 Kluwer

                2012 – Jun 2017 · 4 yrs                                                                                                                Connect
                Red Bank, NJ
                Credited with building a culture of compliance across both organizations, anchored by continuous                                    Christopher Maita
                improvement in the compliance program, coupled with continuing education courses for                                                Fixed Income Sales & Trading Analyst at
                employees to build awareness of regulatory mandates. Developed separate compliance programs                                         Oppenheimer & Co. Inc.
                for HG and WBI following divestiture in 2009.                                         …see more
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5/6/2021                                                                               Cynthia Stroik, Esq. | LinkedIn
                          Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 24James
                                                                                     of 113
                                                                                          Kane
                  WBI Investments and The Hartshorne Group, Inc.
                                                                                                                                                         Portfolio Administrator at Penobscot
                  3 yrs                                                                     Home      My Network           Jobs   Messaging     Notifications       Me            Work            Lear
                                                                                                                                                         Financial Advisors
                  Senior Compliance Officer                                                                                                                Connect
                  2011 – 2012 · 1 yr
                  Little Silver, New Jersey                                                                                                             Luke Hiltwein
                  Assumed a lead role ensuring compliance with applicable legal and regulatory requirements at all                                      Assurance Intern at
                  levels of both organizations, executing a broad array of responsibilities that included advertising                                   PricewaterhouseCoopers
                  review, regulatory filings, and advisory services to company leadership.
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                  Compliance Officer
                  2009 – 2011 · 2 yrs                                                                                                                          Show more
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                  Responsibilities included enforcing firm wide dedication to compliance oversight, continued
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                  Activities and Societies: Criminal Litigation Clinic. Represented the criminally accused in court
                                                                                                                                                                    7,740 viewers
                  through coordination with the Defender Association of Philadelphia. Volunteer. Domestic Violence
                  Unit, Family Court of Philadelphia. Conducted client intake interviews and filed for temporary
                  protection from abuse orders. Intern. Philadelphia District Attorney’s Office, Municipal Court Unit.                                              Understanding Capital
                  Assisted several Assistant District Attorneys in trial preparation for preliminary hearings and DUI                                               Markets
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                  University of Delaware
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   Rochester, New York Metropolitan Area · 38 connections ·                                                                                 Data Science Major, Minor in Business
   Contact info                                                                                                                             Administration at Loyola University…

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   Activity                                                                                                                                 Technology Product Manager at Wolters
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   Experience
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                  M&T Bank                                                                                                                  Financial Advisors
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                  Senior Counsel, Human Resources                                                                                           Luke Hiltwein
                                                                                                                                            Assurance Intern at
                  Xerox · Full-time
                  Aug 2004 – Feb 2020 · 15 yrs 7 mos                                                                                        PricewaterhouseCoopers

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   244 followers
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               Jul 2000 – Present · 20 yrs 10 mos
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               Buffalo, New York
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               Associate Counsel
               Phillips Lytle LLP                                                                                                          Shani Schalles • 3rd
               May 1996 – Jun 2000 · 4 yrs 2 mos                                                                                           STEM Program Coordinator at Harrisburg
               Buffalo/Niagara, New York Area                                                                                              University of Science and Technology

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               Doctor of Law - JD
               1993 – 1996
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               University of Notre Dame
                                                                                                                                           Technology Product Manager at Wolters
               Bachelors of Business Administration, Finance
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               1989 – 1993
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   Skills & endorsements                                                                                                                   Professor of Economics at Loyola University
                                                                                                                                           Maryland

   Legal Counseling                                                                                                                           Connect

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   Legal Writing
                                                                                                                                           Portfolio Administrator at Penobscot
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   Counsel at M&T Bank
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   Buffalo, New York, United States · 500+ connections ·
                                                                                                                                         Vice President at Maranello Sports USA Inc
   Contact info
                                                                                                                                            Message

                                                                                                                                         Tim Webster • 3rd
                                                                                                                                         Retired Partner at Webster Szanyi LLP
   Activity
   577 followers                                                                                                                            Connect
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   Experience                                                                                                                            Peter Eimer • 3rd
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               M&T Bank                                                                                                                     Message
               8 yrs 5 mos

                                                                                                                                         John Baxter • 3rd+
               Administrative Vice President and Associate General Counsel
                                                                                                                                         Sr. Finance officer at KeyBank
               Jan 2019 – Present · 2 yrs 4 mos
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               Vice President - Senior Real Estate Counsel
               Dec 2012 – Jan 2019 · 6 yrs 2 mos                                                                                                 Show more
               One M&T Plaza, Buffalo, NY 14203
               Responsible for leasing, sales and purchases of over 900 commercial properties owned or
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               Attorney                                                                                                                  Data Science Major, Minor in Business
               Phillips Lytle LLP                                                                                                        Administration at Loyola University…
               Jul 2006 – Nov 2012 · 6 yrs 5 mos
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               Attorney                                                                                                                  Kendall Moore
               Law Office of Donna Hoelscher Suchan                                                                                      Technology Product Manager at Wolters
               Aug 1994 – Jul 2006 · 12 yrs                                                                                              Kluwer

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               Attorney
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               Damon Morey
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               Nov 1990 – Aug 1994 · 3 yrs 10 mos
                                                                                                                                         Oppenheimer & Co. Inc.

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               Attorney
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               Aug 1985 – Oct 1990 · 5 yrs 3 mos                                                                                         Portfolio Administrator at Penobscot
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   Education
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                                                                                                                                            Luke Hiltwein
             SUNY at Buffalo                                                                                                                Assurance Intern at
             J.D., Law                                                                                                                      PricewaterhouseCoopers
             1982 – 1985
             Activities and Societies: Moot Court Board, Phi Alpha Delta                                                                       Connect


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             Canisius College
             Bachelor of Arts (B.A.), History/Business
             1978 – 1982
                                                                                                                                    LEARNING
             Activities and Societies: Student Publication, All College Honors, Raichle Pre-Law
                                                                                                                                  Add new skills with these courses

             Mount St. Mary Academy                                                                                                                  Real Estate Contracts
             1974 – 1978                                                                                                                             2,441 viewers



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                                                                                                                                                     Deal in Real Estate

   Skills                                                                                                                                            14,448 viewers


   Commercial Leasing                                                                                                                                Real Estate: Fearless on the
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   Contract Negotiations                                                                                                                             4,895 viewers


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5/6/2021                                                                   Douglas Norquest, JD, CFIRS | LinkedIn
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            Douglas Norquest,Tableau
                              JD, CFIRS
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   Douglas Norquest, JD, CFIRS                      · 3rd                                   M&T Bank

   Vice President and Counsel at M&T Bank                                                   Villanova University School of               People also viewed
   Greater Philadelphia · 457 connections · Contact info                                    Law
                                                                                                                                                   Elizabeth Bailey • 3rd
                                                                                                                                                   Vice President, Assistant General Counsel
                                                                                                                                                   at M&T Bank

                                                                                                                                                      Message
   Highlights
                                                                                                                                                   Anne Sterling Beckner • 3rd
             Reach out to Douglas for...
                                                                                                                                                   VP, Teammates at Boys Team Charity,
             Probono consulting and volunteering, Joining a nonprofit board.
                                                                                                                                                   Conejo Valley Chapter

               Message                                                                                                                                Connect

                                                                                                                                                   M. Lisa Meehan, CCTS, TEP • 3rd
                                                                                                                                                   M. Lisa Meehan

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   457 followers

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                                                                                                                                                   Fiduciary Administrator at Wells Fargo
                                                                                                                                                   Delaware Trust Company, N.A.
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                                                                                                                                                   Beth Power • 3rd
   Experience                                                                                                                                      Vice President at Wilmington Trust
                                                                                                                                                   Company

               VP, Assistant General Counsel                                                                                                          Connect
               M&T Bank
               May 2016 – Present · 5 yrs
                                                                                                                                                            Show more

               Senior Manager, Trust Compliance Officer
               RBC
               Sep 2015 – May 2016 · 9 mos                                                                                               People you may know
               Wilmington, Delaware
                                                                                                                                                   Nicholas Campa
                                                                                                                                                   Data Science Major, Minor in Business
               Christiana Trust, a division of Wilmington Savings Fund Society, FSB                                                                Administration at Loyola University…
               2 yrs 7 mos
                                                                                                                                                      Connect
               VP, Trust Compliance Officer
                                                                                                                                                   Kendall Moore
               Aug 2014 – Sep 2015 · 1 yr 2 mos
                                                                                                                                                   Technology Product Manager at Wolters
               Greenville, Delaware
                                                                                                                                                   Kluwer
               -Ensure legal and regulatory compliance of Personal Trust, Corporate Trust, Investment
               Management, Trust Operations, and Sales                                                                                                Connect

               -Organize and run all internal management committees; reporting member of board level
                                                                                                  …see more                                        Christopher Maita
                                                                                                                                                   Fixed Income Sales & Trading Analyst at
                                                                                                                                                   Oppenheimer & Co. Inc.
               AVP, Senior Trust Officer
               Mar 2013 – Aug 2014 · 1 yr 6 mos                                                                                                       Connect
               Greenville, Delaware
                                                                                                                                                 Messaging


                                                                                                                                                               029
               -Organized and led the personal trust remediation project                                                                          James Kane

https://www.linkedin.com/in/dnorquest/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAABoQjGMBbtlzWwQBf8h6NZmm8AP0b3YSCMw                                                                     1/3
5/6/2021                                                                    Douglas Norquest, JD, CFIRS | LinkedIn
                        Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 30Portfolio
                                                                                   of 113   Administrator at Penobscot
                -Managed specialized book of the most complex/problematic accounts under administration                                     Financial Advisors
                                                                                Home      My Network     Jobs        Messaging     Notifications      Me         Work    Lear
                                                                                                  …see more
                                                                                                                                              Connect
             Douglas Norquest, JD, CFIRS
                                                                                                                                                Message          More…
             Vice President and Counsel at M&T Bank                                                                                        Luke Hiltwein
                Trust Administrator
                                                                                                                                           Assurance Intern at
                Wells Fargo
                                                                                                                                           PricewaterhouseCoopers
                Jul 2010 – Mar 2013 · 2 yrs 9 mos
                Wilmington, DE                                                                                                                Connect
                -Organized, and distributed tasks daily as Workflow Coordinator for a team of four Administrators

                                                                                                                                                  Show more
                -Reviewed and maintained 1,300+ trust accounts with $3.8 billion under management
                                                                                                       …see more

                                                                                                                                 Bryce, learn what hiring managers look
                Judicial Intern                                                                                                  for in answers to top finance interview
                Superior Court of Pennsylvania                                                                                   questions
                Aug 2009 – Apr 2010 · 9 mos
                West Conshohocken, PA
                                                                                                                                            Why do you want to work at
                -Assumed primary research and drafting responsibilities for judicial bench memos and                                        this firm, specifically?
                memorandum opinions in all areas of criminal and civil law


    Show 1 more experience                                                                                                                  Which financial statement is

                                                                                                                                            the most important?

   Education
                                                                                                                                            Define working capital.
                Villanova University School of Law
                Doctor of Law (JD), Law
                2007 – 2010
                                                                                                                                               Preview questions
                Activities and Societies: Moot Court Competition

                Admitted to the Pennsylvania State Bar and New Jersey State Bar in 2010



                University of Delaware
                Bachelor’s Degree, Political Science and Sociology - Double Major
                2006 – 2007



                University of Delaware
                Bachelor’s Degree, Criminal Justice and Philosophy - Double Major
                2002 – 2006




   Licenses & certifications

                Certified Fiduciary & Investment Risk Specialist (CFIRS)
                Cannon Financial Institute
                Issued Jan 2016 · No Expiration Date




   Skills & endorsements

   Personal Trust Administration · 2
   Harrison R. Gelber and 1 connection have given endorsements for this skill


   Regulatory Compliance · 2
   Harrison R. Gelber and 1 connection have given endorsements for this skill


   Legal Compliance · 1
   Scott Jaffe, Esq., LL.M., CTFA has given an endorsement for this skill


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https://www.linkedin.com/in/dnorquest/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAABoQjGMBbtlzWwQBf8h6NZmm8AP0b3YSCMw                              030                 2/3
5/6/2021                                                                             Eileen Lunga | LinkedIn
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   Eileen Lunga           · 3rd                                                            University of Maryland
                                                                                           Francis King Carey School of…
   Senior Counsel- Commercial Lending at M&T Bank                                                                                      People also viewed
   Baltimore, Maryland, United States · 158 connections ·
                                                                                                                                                 Neil MacDonald • 3rd
   Contact info                                                                                                                                  Vice President Operations at Union
                                                                                                                                                 Memorial Hospital

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   Activity                                                                                                                                      Paul Lucas • 3rd
   158 followers                                                                                                                                 Director and Chief, Vascular Surgery and
                                                                                                                                                 Endovascular Therapy, Mercy Medical…
   Posts Eileen created, shared, or commented on in the last 90 days are displayed here.
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                                                                                                                                                 Chief Executice Officer - Board Member -
                                                                                                                                                 Partner & Practice Leader - Senior Client…

   Experience                                                                                                                                         Message

               Vice President and Senior Counsel- Commercial Lending                                                                             Colleen Mulrenin • 3rd
               M&T Bank                                                                                                                          --
               May 2004 – May 2018 · 14 yrs 1 mo
               Baltimore, Maryland Area                                                                                                               Connect
               Support all aspects of commercial lending within M&T Bank.
                                                                                                                                                 VICTORIA CAWOOD • 3rd+
                                                                                                                                                 STATION MANAGER at FINE MUSIC RADIO
               Partner
                                                                                                                                                      Message
               Gallagher Evelius & Jones
               Sep 1986 – May 2004 · 17 yrs 9 mos
               Partner in transactions practice with experience in real estate development, conventional and tax                                         Show more
               exempt financings, leasing and low income housing transactions


                                                                                                                                       People you may know
   Education
                                                                                                                                                 Nicholas Campa
               University of Maryland Francis King Carey School of Law                                                                           Data Science Major, Minor in Business

               1983 – 1986                                                                                                                       Administration at Loyola University…
               Activities and Societies: Law Review editor
                                                                                                                                                      Connect

                                                                                                                                                 Kendall Moore
               University of Maryland
                                                                                                                                                 Technology Product Manager at Wolters
               Bachelor of Arts - BA, Criminology
                                                                                                                                                 Kluwer

                                                                                                                                                      Connect

               The Institute for Paralegal Training , Philadelphia PA                                                                            Christopher Maita
               Paralegal Certificate, Real Estate                                                                                                Fixed Income Sales & Trading Analyst at
                                                                                                                                                 Oppenheimer & Co. Inc.

                                                                                                                                                      Connect

                                                                                                                                                James Kane
                                                                                                                                               Messaging


                                                                                                                                                             031
                                                                                                                                                 Portfolio Administrator at Penobscot

https://www.linkedin.com/in/eileen-lunga-1943456/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAAEeKsABS4duD8dvI5AH2bqgdSxvM__NccA                                                        1/2
5/6/2021                                                                          Elizabeth Bailey | LinkedIn
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                                                                                                                                             Veena Viswanatha • 3rd
   Contact info                                                                                                                              Partner at Buckley LLP

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   Featured
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                                                                                                                                             Vice President and Counsel at M&T Bank

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                                                                                                                                             Deneb Pirrone • 3rd
                                                                                                                                             Leadership, Strategy, and Project
                                                                                                                                             Management
     For Some Biglaw Firms, It’s Compassion                                                               2019 Banding To
     Over Cash-In                                       A Case for Compassion, Harvard Law Today          Battle on Stage
                                                                                                                                                Message
     Above the Law                                      Harvard Law Today                                 dcbar.org

     Elizabeth Bailey quoted in Above the Law           Elizabeth Bailey quoted in Harvard Law Today      Elizabeth Bailey                   Peter Shanley • 3rd
                                                                                                                                             Platform Lead at ACV Auto
     article, September 18, 2020.                       article, July 21, 2020.                           17, 2019.
                                                                                                                                                Message


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             This is wonderful news to wake up to.                          Congratulations, William Marra and                     People you may know
             Congratulations, Jonice!                                       Suneal Bedi!
                                                                                                                                             Nicholas Campa
             Elizabeth commented                                            Elizabeth commented                                              Data Science Major, Minor in Business
                                                                                                                                             Administration at Loyola University…
             This is great news!!!                                          Congratulations, Amanda!
                                                                                                                                                Connect
             Elizabeth commented                                            Elizabeth commented

                                                                                                                                             Kendall Moore
                                                                                                                                             Technology Product Manager at Wolters
                                                    See all activity                                                                         Kluwer

                                                                                                                                                Connect

   Experience                                                                                                                                Christopher Maita
                                                                                                                                             Fixed Income Sales & Trading Analyst at

                M&T Bank                                                                                                                     Oppenheimer & Co. Inc.

                9 mos                                                                                                                           Connect

                Vice President, Assistant General Counsel
                                                                                                                                             James Kane
                Oct 2020 – Present · 7 mos
                                                                                                                                             Portfolio Administrator at Penobscot
                                                                                                                                           Messaging
                                                                                                                                            Financial Advisors


https://www.linkedin.com/in/elizabeth-bailey-29436b4/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAADD1dABwc4fEZ_Y6sAI8ET2heoFp_O…                    032                            1/4
5/6/2021                                                                           Elizabeth Bailey | LinkedIn
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             Vice President, Commercial Litigation Counsel                                                                                       Connect
             Aug 2020 – Oct 2020 · 3 mos
                                                                                     Home       My Network       Jobs   Messaging     Notifications    Me              Work       Lear
                                                                                                                                              Luke Hiltwein
                                                                                                                                              Assurance Intern at
                                                                                                                                              PricewaterhouseCoopers
             Associate
                                                                                                                                                 Connect
             Buckley LLP
             Jul 2014 – Aug 2020 · 6 yrs 2 mos
             Washington, DC                                                                                                                           Show more
             Complex civil and white collar litigation associate, representing corporate and individual clients in
             high-stakes civil and criminal enforcement actions, investigations, and litigation. As an Associate
             in the Washington, D.C., office of Buckley LLP, Ms. Bailey received extensive experience assisting                       LEARNING
             clients in matters involving complex e-discovery issues, including in civil litigation and in…see more
                                                                                                                                    Add new skills with these courses

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             ADR Law Clerk                                                                                                                             Sector Privacy
             MarksADR, LLC
             Aug 2013 – Jul 2014 · 1 yr                                                                                                                3,513 viewers
             Bethesda, MD
             Assisted the mediator with complex, high-profile mediations across the country. Attended and                                              Sibelius Ultimate 2019
                                                                                                                                                       Essential Training: The…
             supported mediations, and analyzed the key questions of law and fact in parties’ extensive pre-
             mediation submissions.                                                                                                                    3,977 viewers
             http://www.marksadr.com/
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                                                                                                                                                       Aspiring Executives
             Judicial Law Clerk for the Honorable James Lawrence King
             U.S. District Court for the Southern District of Florida                                                                                  1,121 viewers
             Aug 2012 – Jul 2013 · 1 yr
             Miami/Fort Lauderdale Area                                                                                                Show more on LinkedIn Learning
             Managed overdraft fee Multidistrict Litigation and Key West docket.



             Staff
             US Senate
             Feb 2005 – May 2009 · 4 yrs 4 mos
             Managed all grant-related services; completed research, casework, and letters of support. Acted
             as liaison for disputes between constituents and agencies. Edited press releases. Coordinated, and
             generated ideas for, press conferences. Hired and supervised interns. Conducted meetings and
             represented the Senator at events.




   Education
             Harvard Law School
             Juris Doctor (J.D.), Law
             2009 – 2012
             Activities and Societies: Harvard Civil Rights - Civil Liberties Law Review, Harvard Mediation
             Program, Teaching Assistant for Professor Robert Mnookin (Contracts) and Professor David
             Hoffman (Mediation), Admissions Fellow, Harvard Law School Parody



             Princeton University
             AB, Religion, Jewish Studies, African American Studies
             2000 – 2004



             City Honors School at FMP
             1996 – 2000




   Licenses & certifications
             30 Hour Mediation Training
             Harvard Mediation Program
             Issued Jan 2010 · No Expiration Date




   Volunteer experience                                                                                                                     Messaging

https://www.linkedin.com/in/elizabeth-bailey-29436b4/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAADD1dABwc4fEZ_Y6sAI8ET2heoFp_O…                    033                      2/4
5/6/2021                                                                       Elizabeth Bailey | LinkedIn
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             Member Board Of Directors
             Gifts for the Homeless, Inc.                                        Home       My Network      Jobs   Messaging   Notifications   Me   Work   Lear
             Jun 2018 – Present • 2 yrs 11 mos
             Poverty Alleviation

             Gifts for the Homeless (GFTH), a 501(c)(3) non-profit corporation, is a wholly volunteer-run
             organization that serves the homeless of the Washington, D.C. area. Since GFTH has no paid staff
             and no overhead, every single dollar that GFTH receives from public donations is used to purchase
             and distribute new clothes for the various shelters.



             Alumni Interviewer
             Princeton Alumni Schools Committee
             2005 – Present • 16 yrs
             Education



             Annual Giving Volunteer
             Princeton Annual Giving
             2014 – May 2015 • 1 yr
             Education


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https://www.linkedin.com/in/elizabeth-bailey-29436b4/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAADD1dABwc4fEZ_Y6sAI8ET2heoFp_O…            034       3/4
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   Elizabeth Betta            · 3rd                                                    M&T Bank

   Administrative Vice President & Associate General Counsel                           American University,                    People also viewed
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                                                                                                                                         Frank Campagna • 3rd
   Washington, District of Columbia, United States ·                                                                                     Group Vice President and Line of Business
   500+ connections · Contact info                                                                                                       Manager of M&T Bank's Commercial…

                                                                                                                                            Message

                                                                                                                                         Glenn Borkowski • 3rd+
   Activity                                                                                                                              Associate General Counsel at Bank OZK
   596 followers
                                                                                                                                            Message
             Great profile!                                                This awesome! Great work. What an
             Elizabeth commented                                           accomplishment for all involved!                              Miriam Dowd • 3rd
                                                                                                                                         Associate General Counsel at M&T Bank,
                                                                           Elizabeth commented
                                                                                                                                         Wealth and Institutional Services…

             Congrats, Marissa!                                                                                                             Message
             Elizabeth commented
                                                                                                                                         Sarah K. Ranni • 3rd
                                                                                                                                         Vice President and Associate General
                                                    See all activity                                                                     Counsel at M&T Bank

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   Experience                                                                                                                            Laura O'Hara • 3rd
                                                                                                                                         General Counsel at M&T Bank
               M&T Bank
               2 yrs 5 mos                                                                                                                  Message

               Administrative Vice President & Associate General Counsel                                                                         Show more
               Jan 2021 – Present · 4 mos


               Vice President and Associate General Counsel
               Apr 2019 – Jan 2021 · 1 yr 10 mos                                                                               People you may know
               Buffalo, New York
                                                                                                                                         Nicholas Campa
                                                                                                                                         Data Science Major, Minor in Business
               Vice President and Counsel
               Dec 2018 – Apr 2019 · 5 mos                                                                                               Administration at Loyola University…

               Buffalo, New York                                                                                                            Connect

                                                                                                                                         Kendall Moore
               Attorney                                                                                                                  Technology Product Manager at Wolters
               Barclay Damon LLP                                                                                                         Kluwer
               Apr 2018 – Dec 2018 · 9 mos
                                                                                                                                            Connect

                                                                                                                                         Christopher Maita
               Senior Counsel and Counsel
                                                                                                                                         Fixed Income Sales & Trading Analyst at
               MERSCORP Holdings, Inc.
                                                                                                                                         Oppenheimer & Co. Inc.
               Dec 2011 – Oct 2017 · 5 yrs 11 mos
               Reston, Virginia                                                                                                             Connect

                                                                                                                                        James Kane
                                                                                                                                       Messaging
               Associate

                                                                                                                                                     035
                                                                                                                                         Portfolio Administrator at Penobscot

https://www.linkedin.com/in/elizabethbetta/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAADoX3gB7r7Z2tFaamEtTTWKoj4ue7iFxps                                                      1/3
5/6/2021                                                                         Elizabeth Betta | LinkedIn
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             Arnold & Porter Kaye Scholer LLP                                                                                            Financial Advisors
             Apr 2007 – Dec 2011 · 4 yrs 9 mos
                                                                                  Home       My Network      Jobs   Messaging                 Connect
                                                                                                                                  Notifications   Me              Work      Lear


             Associate                                                                                                                   Luke Hiltwein
             Jones Day                                                                                                                   Assurance Intern at

             2002 – 2006 · 4 yrs                                                                                                         PricewaterhouseCoopers

                                                                                                                                            Connect


   Education                                                                                                                                   Show more

             American University, Washington College of Law
             JD, summa cum laude, graduated 1st in class                                                                          LEARNING
             2000 – 2003
             Activities and Societies: American University Law Review (2001-2003); Dean’s Fellow for Professor                  Add new skills with these courses
             Pamela Bridgewater (January 2003 – May 2003); Dean’s Fellow for Professor Mark Niles
             (September 2002 – May 2003); Dean’s Fellow for Professor Ira P. Robbins (September 2001 – May                                        CIPP/US Cert Prep: 2 Private
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             2002); Research Assistant for Ira P. Robbins (Summer 2001)
                                                                                                                                                  3,513 viewers

             Boston College
                                                                                                                                                  Privacy for Executives and
             BA                                                                                                                                   Aspiring Executives
             1996 – 2000
                                                                                                                                                  1,121 viewers


             Red Bank Regional High School                                                                                                        Privacy by Design: Data
             1992 – 1996                                                                                                                          Classification

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5/6/2021                                                                                 Evis Daum | LinkedIn
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   Evis Daum          · 3rd                                                                 M&T Bank

   Head of Specialty Finance/Legal Division at M&T Bank                                                                                  People also viewed
   Washington DC-Baltimore Area · 500+ connections · Contact info
                                                                                                                                                   Pierre Halteh • 3rd
                                                                                                                                                   Vice President - LIBOR Transition Program
                                                                                                                                                   Lead at Bank of the West

                                                                                                                                                      Connect
   Highlights
                                                                                                                                                   Marguerite Mugge • 2nd
             Reach out to Evis for...
                                                                                                                                                   Commercial Group Manager, LIBOR
             Joining a nonprofit board.
                                                                                                                                                   Transition Office at M&T Bank

                Message                                                                                                                               Connect

                                                                                                                                                   Matthew McGuire • 2nd
                                                                                                                                                   Vice President - Libor Transition Lead at
                                                                                                                                                   Citizens Bank
   About
                                                                                                                                                      Connect
   Senior commercial banking, risk management, corporate attorney with US and international experience in the financial
   services industry. Over 17 years of experience in commercial lending, project finance, digital banking, risk                                    Veronica Gaskins • 3rd
   management, corporate law and project and people management.                                                 … see more                         Corporate Treasury LIBOR Transition Office
                                                                                                                                                   - Technology and Program/Project…

                                                                                                                                                      Message

   Activity
                                                                                                                                                   Yuanyuan (Tania) Yue • 3rd
   526 followers
                                                                                                                                                   Head of Treasury LIBOR Transition at Citi
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   Experience
                                                                                                                                         People you may know
                M&T Bank
                                                                                                                                                   Nicholas Campa
                2 yrs 11 mos
                                                                                                                                                   Data Science Major, Minor in Business
                                                                                                                                                   Administration at Loyola University…
                Head of Specialty Finance
                Full-time                                                                                                                             Connect
                Dec 2019 – Present · 1 yr 5 mos
                                                                                                                                                   Kendall Moore
                Associate General Counsel and Chief Counsel                                                                                        Technology Product Manager at Wolters
                Full-time                                                                                                                          Kluwer
                Jun 2018 – Present · 2 yrs 11 mos
                Washington, DC
                                                                                                                                                      Connect

                Chief Counsel for Specialty Finance, Enterprise Payments, Vendor Contracts, Agile Transformation
                                                                                                                                                   Christopher Maita
                                                                                                                                                   Fixed Income Sales & Trading Analyst at
                                                                                                                                                   Oppenheimer & Co. Inc.
                M&T Bank
                9 yrs 11 mos                                                                                                                          Connect

                                                                                                                                                 Messaging
                                                                                                                                                  James Kane

                                                                                                                                                               037
                Senior Counsel: Commercial Credit, Contracts, Commercial Payment Solutions

https://www.linkedin.com/in/evis-daum-45513a10/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAAInxQEBjXGcD67PQztzMe2nRkSXthyMmFA                                                            1/4
5/6/2021                                                                             Evis Daum | LinkedIn
                    Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 38 of 113
             Jun 2008 – Jun 2014 · 6 yrs 1 mo                                                                                                Portfolio Administrator at Penobscot
             New York/Washington, DC                                                                                                          Financial Advisors
                                                                                    Home       My Network       Jobs   Messaging     Notifications      Me             Work         Lear
             Complex financing of large ticket commercial lending transactions, including project finance,                                      Connect
             aircraft financing, railroad rolling stock; commercial dealer services/auto floor-plan lending; many
             years of expertise in commercial credit cards, payment processing, and cash management; capital                                 Luke Hiltwein
             markets and syndications expertise.                                                                                             Assurance Intern at
                                                                                                                                             PricewaterhouseCoopers
             Associate Counsel, Payment Systems, Cards, Data Privacy, Data Security
                                                                                                                                                Connect
             Aug 2004 – Jun 2008 · 3 yrs 11 mos
             Buffalo/Niagara, New York Area
             Commercial Equipment Finance; Corporate attorney; Commercial Payment Solution and Merchant                                             Show more
             Services; Government Banking.

                                                                                                                                     LEARNING
             Associate
                                                                                                                                   Add new skills with these courses
             European Bank for Reconstruction and Development (EBRD)
             Jul 2002 – Sep 2004 · 2 yrs 3 mos                                                                                                         Financial Modeling
             Legal advice and negotiation of various EBRD-led lending and investment transactions, project                                             Foundations
             finance, credit and trade facilitation lines, restructuring of bank investment companies, grants
                                                                                                                                                       215,638 viewers
             management, including due diligence and technical assistance components

                                                                                                                                                       Finance Foundations: Risk
                                                                                                                                                       Management
             Consultant; Program Manager
             World Bank Group                                                                                                                          103,042 viewers
             2001 – 2002 · 1 yr
             Kosovo/Washington, DC                                                                                                                     Financing Your Business

             Commercial legal reform and banking reform in emerging economies.                                                                         2,061 viewers



             Legal Advisor                                                                                                            Show more on LinkedIn Learning
             United Nations (UNMIK) Legal Department
             Jun 2000 – Jul 2001 · 1 yr 2 mos
             Legal Advisor in the Legal Department of the United Nations Administration (UNMIK)


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   Education

             Harvard Law School
             LLM, Law
             2001 – 2002

             A strong focus on banking, corporate law, commercial credit and specialized financing.



             Keele University
             LLB, Law and Business Administration
             1993 – 1997



             Keele University
             Bachelor's Degree, Law, Management Studies
             1993 – 1997




   Licenses & certifications

             Admitted to practice in the District of Columbia
             Issued Dec 2016 · No Expiration Date




             Admitted to practice in New York




                                                                                                                                           Messaging

https://www.linkedin.com/in/evis-daum-45513a10/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAAInxQEBjXGcD67PQztzMe2nRkSXthyMmFA                       038                        2/4
5/6/2021                                                                            Evis Daum | LinkedIn
                             Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 39 of 113
   Volunteer experience
                                                                                   Home      My Network      Jobs         Messaging   Notifications   Me   Work   Lear
                  Grade Representative
                  Sidwell Friends School Parents Association
                  Education



                  Board member
                  Equipment Leasing and Finance Association
                  Arts and Culture



                  Member Board Of Directors
                  Somerset School Foundation
                  Mar 2018 – Present • 3 yrs 2 mos
                  Education




   Skills & endorsements

   Corporate Law · 14

           Endorsed by 3 of Evis’ colleagues at United Nations



   International Law · 10

           Endorsed by Roland G. and 1 other who is highly
                                                                    Endorsed by 3 of Evis’ colleagues at United Nations
           skilled at this



   Legal Advice · 8
   Anthony Lamm and 7 connections have given endorsements for this skill


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5/6/2021                                                                                 Gary Price | LinkedIn
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   Gary Price        · 3rd                                                                  M&T Bank

   Vice President & Associate General Counsel - Consumer                                    Rutgers University School of               People also viewed
   Finance at M&T Bank                                                                      Law - Camden
                                                                                                                                                 Aaron Felmet • 3rd
   Buffalo, New York, United States · 436 connections · Contact info
                                                                                                                                                 Business Risk Manager II at M&T Bank

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                                                                                                                                                 Miriam Dowd • 3rd
   About
                                                                                                                                                 Associate General Counsel at M&T Bank,
                                                                                                                                                 Wealth and Institutional Services…
   Experienced Legal Counsel with a demonstrated history of working in the banking and consumer finance industries.
                                                                                                                                                    Message

                                                                                                                                                 Sarah K. Ranni • 3rd
   Activity                                                                                                                                      Vice President and Associate General
                                                                                                                                                 Counsel at M&T Bank
   434 followers

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                                                                                                                                                 William Simon • 3rd
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                                                                                                                                                 at M&T Bank

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   Experience
                                                                                                                                                 Robert Tuleya • 3rd
               M&T Bank                                                                                                                          Vice President and Assistant General
                                                                                                                                                 Counsel at M&T Bank
               2 yrs 8 mos
                                                                                                                                                    Message
               Vice President & Associate General Counsel - Consumer Finance
               Full-time
               Oct 2020 – Present · 7 mos                                                                                                                Show more
               Buffalo, New York, United States


               Vice President - Consumer Finance Counsel
               Sep 2018 – Oct 2020 · 2 yrs 2 mos                                                                                       People you may know
               Wilmington, Delaware
                                                                                                                                                 Nicholas Campa
                                                                                                                                                 Data Science Major, Minor in Business
                                                                                                                                                 Administration at Loyola University…
               Santander Bank, N.A.
               2 yrs 5 mos                                                                                                                          Connect

               Senior Legal Counsel                                                                                                              Kendall Moore
               Jul 2018 – Sep 2018 · 3 mos                                                                                                       Technology Product Manager at Wolters

               Villanova, Pennsylvania                                                                                                           Kluwer

                                                                                                                                                    Connect
               Legal Counsel
               May 2016 – Jul 2018 · 2 yrs 3 mos                                                                                                 Christopher Maita
               Villanova, Pennsylvania                                                                                                           Fixed Income Sales & Trading Analyst at
                                                                                                                                                 Oppenheimer & Co. Inc.

                                                                                                                                                    Connect
               Counsel
               Citizens Financial Group, Inc.                                                                                                  Messaging
                                                                                                                                                James Kane

https://www.linkedin.com/in/gary-price-5a00b1b6/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAABiTJQgBkCRNhqWn8j1dQE6K7VblNEo_r2s                          040                            1/3
5/6/2021                                                                         Gary Price | LinkedIn
                        Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 41 of 113
                 Apr 2013 – Apr 2016 · 3 yrs 1 mo                                                                                     Portfolio Administrator at Penobscot
                                                                                                                                       Financial Advisors
                                                                                 Home    My Network      Jobs   Messaging     Notifications      Me              Work        Lear
                 Investigator                                                                                                            Connect
                 New Jersey Office of Attorney General
                 Dec 2011 – Apr 2013 · 1 yr 5 mos                                                                                     Luke Hiltwein
                 Newark, New Jersey                                                                                                   Assurance Intern at
                                                                                                                                      PricewaterhouseCoopers

                                                                                                                                         Connect
   Education
                                                                                                                                             Show more
                 Rutgers University School of Law - Camden
                 Doctor of Law (J.D.), Law
                 2009 – 2012
                                                                                                                              LEARNING

                                                                                                                            Add new skills with these courses
                 Northeastern University
                 Bachelor of Science (B.S.), Finance, General                                                                                   Corporate Finance
                 2005 – 2009                                                                                                                    Foundations

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   Skills & endorsements
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   Legal Writing · 8
   Gary M. Price Esq. and 7 connections have given endorsements for this skill
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   Westlaw · 3
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   Activity
   88 followers                                                                                                                                Isabell D'Sauveterre • 3rd
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   Experience
                                                                                                                                               Michael Lewis • 3rd
                  In-House Counsel                                                                                                             Member at The Lewis Firm
                  M&T Bank
                  2017 – Present · 3 yrs                                                                                                          Connect
                  Buffalo/Niagara, New York Area
                  In-house counsel supporting vendor and marketing contracts for M&T Bank and Wilmington Trust                                 Angelica Marlatt • 3rd
                                                                                                                                               Assistant Vice President, Sr. Business
                  affiliates.
                                                                                                                                               Analytics and Reporting Analyst

                                                                                                                                                  Message

   Education
                                                                                                                                                       Show more
                  University at Buffalo School of Law
                  Juris Doctor (J.D.)
                  2011 – 2014
                  Activities and Societies: OUTLaw                                                                                   People you may know

                                                                                                                                               Nicholas Campa
                                                                                                                                               Data Science Major, Minor in Business
                  SUNY Fredonia
                                                                                                                                               Administration at Loyola University…
                  Bachelor of Science (B.S.), International Relations and Affairs
                  2010                                                                                                                            Connect
                  Activities and Societies: Amnesty International
                                                                                                                                               Kendall Moore
                                                                                                                                               Technology Product Manager at Wolters
                  Al Akhawayn University                                                                                                       Kluwer
                  Arabic and North African Studies
                  2009                                                                                                                            Connect

                                                                                                                                               Christopher Maita
                                                                                                                                               Fixed Income Sales & Trading Analyst at
   Licenses & certifications                                                                                                                   Oppenheimer & Co. Inc.

                                                                                                                                                  Connect
                  The Certified Information Privacy Professional - United States (CIPP/US)
                  IAPP - International Association of Privacy Professionals
                                                                                                                                               James Kane
                  Issued May 2019 · Expires May 2021
                                                                                                                                               Portfolio Administrator at Penobscot
                                                                                                                                             Messaging
                                                                                                                                              Financial Advisors


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5/6/2021                                                               Grace Golando | LinkedIn
                   Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 43 of 113
                                                                                                                              Connect
             Federal District Court, Western District of New York Bar Admission
                                                                        Home    2015
                                                                                 My Network   Jobs   Messaging     Notifications    Me               Work    Lear
                                                                                                                           Luke Hiltwein
                                                                                                                           Assurance Intern at
                                                                                                                           PricewaterhouseCoopers


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5/6/2021                                                                        Hilary F. Korman, Esq. | LinkedIn
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   Experience                                                                                                                                  Banking visionary driving exceptional
                                                                                                                                               customer experiences through technology
               Vice President, Assistant General Counsel, Deposits
               M&T Bank                                                                                                                           Message
               Dec 2019 – Present · 1 yr 5 mos
               New York, New York                                                                                                              Chris Kay • 2nd
                                                                                                                                               Building things that matter with the power
               Provide legal counsel to M&T's Consumer and Business Banking Deposit lines of business and
                                                                                                                                               of empathetic innovation
               compliance/risk partners in the areas of product development, management, and modifications
               (digital, back office, and branch level), pre-litigation matters (proposed complaints, subpoenas
               and document requests), regulatory inquiries and exams, legal developments (particularly under                                     Pending
               Regulations E, DD, D, CC, and garnishment laws), remediations, and fraud issues. Review and                                          Show more
               update deposit-related agreements and disclosures (customer fee/term disclosures, deposit
               agreements, digital agreements, and electronic bank card agreements), policies and procedures,
               and vendor agreements. Also assist with responses to customer complaints and escalated …see more
                                                                                                        branch
                                                                                                                                     People you may know
               Associate Attorney
                                                                                                                                               Nicholas Campa
               Blank Rome LLP
                                                                                                                                               Data Science Major, Minor in Business
               Jan 2018 – Nov 2019 · 1 yr 11 mos
                                                                                                                                               Administration at Loyola University…
               Concentrated practice in all areas of consumer finance litigation, compliance, and commercial
               litigation. Represented major financial institutions, collection agencies, law firms, non-bank                                     Connect
               lenders, FinTech platforms, businesses, and purchasers of distressed receivables in state, federal,
               administrative, regulatory, bankruptcy, and class actions.                                 …see more                            Kendall Moore
                                                                                                                                               Technology Product Manager at Wolters
                                                                                                                                               Kluwer

               Associate Attorney                                                                                                                 Connect
               Warshaw Burstein
               Aug 2015 – Jan 2018 · 2 yrs 6 mos
                                                                                                                                               Christopher Maita
               Greater New York City Area
                                                                                                                                               Fixed Income Sales & Trading Analyst at
               Advocated for major financial institutions, collection agencies, law firms, purchasers of distressed                            Oppenheimer & Co. Inc.
               receivables, middle market businesses, and property owners in State, Federal, administrative,
                                                                                                                                                  Connect
               regulatory, bankruptcy, arbitration, and class actions involving, among other things, breach of
                                                                                                                                             Messaging


                                                                                                                                                           044
               contract, banking, secured and unsecured lending, landlord-tenant disputes, the Fair Debt  …see more
                                                                                                                                               James Kane
https://www.linkedin.com/in/hilarykorman/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAACncXIBQos2mMkLtEvljA-bma0n0VMTLYI                                                              1/3
5/6/2021                                                                           Hilary F. Korman, Esq. | LinkedIn
                         Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 45James
                                                                                    of 113
                                                                                         Kane
                                                                                                                                                  Portfolio Administrator at Penobscot
                                                                                         Home       My Network       Jobs   Messaging     Notifications      Me
                                                                                                                                                   Financial Advisors    Work            Lear
                 Associate Attorney
                 Hardin, Kundla, McKeon & Poletto                                                                                                    Connect
                 Mar 2015 – Aug 2015 · 6 mos
                 Greater New York City Area                                                                                                       Luke Hiltwein
                 Navigated complex case load through all facets of litigation, including depositions, oral argument,                              Assurance Intern at
                 motion practice, and client interfacing. Tackled affirmative and defensive insurance coverage                                    PricewaterhouseCoopers
                 litigation in courts throughout New York State involving bodily injury, labor law, products liability,
                                                                                                                                                     Connect
                 and property damage claims. Drafted coverage position letters and served as monitoring    …see
                                                                                                             counsel.
                                                                                                                 more

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                 Mel S. Harris & Associates, LLC (now Stephen Einstein & Associates, P.C.)
                 6 yrs 2 mos
                                                                                                                                        Bryce, learn what hiring managers look
                 Senior Associate Attorney - Creditor's Rights, Financial Services, Consumer Protection Defense
                                                                                                                                        for in answers to top finance interview
                 Apr 2012 – Mar 2015 · 3 yrs
                 New York, NY.                                                                                                          questions
                 Fair Debt Collections Practices Act, Telephone Consumer Protection Act, Fair Credit Reporting Act,
                 Truth In Lending Act, and state consumer protection counterpart defense in New York State and                                     How do the three financial
                 Federal Courts throughout New York, including class actions. Administrative action defense,                                       statements link together?
                 including NYC Department of Consumer Affairs license renewal and Administrative Code…see more

                                                                                                                                                   What is net present value and
                 Associate Attorney                                                                                                                how would you use it?
                 Feb 2009 – Apr 2012 · 3 yrs 3 mos
                 Greater New York City Area
                                                                                                                                                   Tell me about a deal you
                 Managed diverse commercial and financial services case load from inception to resolution. Had
                 high degree of success with State and Federal Court motion practice, including discovery,                                         worked on recently.
                 sanction, fee petition, recusal, exempt fund contests, procedural, and dispositive motions.
                 Developed a successful track record handling evidentiary hearings, traverse hearings, sanctions
                                                                                                          …see more
                                                                                                                                                      Preview questions
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   Education
                 New York Law School
                 Juris Doctor, Top 1/3 of Class
                 2008
                 Activities and Societies: Deans List High Honors, Fall 2007 | Certificate of Outstanding
                 Contribution, Spring 2008 | Vice President of Media in the Media, Entertainment, and Sports Law
                 Association | Phi Alpha Delta Law Fraternity.



                 Boston University
                 Bachelor of Arts, Cum Laude, Double Major in Political Science and Psychology
                 2005
                 Activities and Societies: Dean’s List four times | Academic Achievement in the Greek System from
                 2003-2005 | Scholarship Chair of Alpha Epsilon Phi Sorority | Student Government | Pre-Law
                 Society | Participated in Fundraising Events for the Elizabeth Glaser Pediatric AIDS Foundation |
                 Dana Farber Breast Cancer Walk | Boston University Dance Marathon.




   Skills & endorsements

   Litigation · 25

           Endorsed by Adam Roth and 2 others who are highly skilled at this



   Legal Research · 17

           Endorsed by Adam Roth, who is highly skilled at this



   Commercial Litigation · 14
   Chad Deatherage and 13 connections have given endorsements for this skill

                                                                                                                                                Messaging

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5/6/2021                                                                           J. Craig Schweitzer | LinkedIn
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             Administrative Vice President and Associate General Counsel - Digital Development at M&T Bank
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   Administrative Vice President and Associate General                                                                                  People also viewed
   Counsel - Digital Development at M&T Bank
                                                                                                                                                  Kelly M. • 3rd
   Davenport, Florida, United States · 437 connections · Contact info
                                                                                                                                                  HR Specialist at M&T Bank

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                                                                                                                                                  Aarthi Murali • 3rd
   About
                                                                                                                                                  Chief Customer Experience Officer at M&T
                                                                                                                                                  Bank
   Experienced Senior Attorney in the financial services industry. Strong legal professional skills in Agile methodology,
   Digital Product Development, Marketing, Credit Cards, and Consumer Law.                                                                           Message

                                                                                                                                                  Stan Rubin • 3rd
                                                                                                                                                  EVP, CFO & Chief Risk Officer - Ocean Bank
   Activity
                                                                                                                                                     Message
   435 followers

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                                                                                                                                                  Consultant

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                                                                                                                                                  Elizabeth Glass • 3rd
                                                                                                                                                  Project Administrator at M&T Bank
   Experience
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                Administrative Vice President and Associate General Counsel - Digital Development
                M&T Bank · Full-time
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                Sep 2018 – Present · 2 yrs 8 mos
                Buffalo, New York



                Senior Attorney                                                                                                         People you may know
                Citi
                                                                                                                                                  Nicholas Campa
                Jan 1997 – Sep 2018 · 21 yrs 9 mos
                                                                                                                                                  Data Science Major, Minor in Business
                Digital Legal for Private Label card business; Business Lawyer for The Home Depot, American                                       Administration at Loyola University…
                Airlines and Hilton credit card portfolios
                                                                                                                                                     Connect

                Lawyer                                                                                                                            Kendall Moore
                The Associates                                                                                                                    Technology Product Manager at Wolters
                Jan 1997 – Dec 1999 · 3 yrs                                                                                                       Kluwer

                Regulatory and banking law.                                                                                                          Connect

                                                                                                                                                  Christopher Maita
                Counsel                                                                                                                           Fixed Income Sales & Trading Analyst at
                Security Service Federal Credit Union                                                                                             Oppenheimer & Co. Inc.
                Aug 1990 – Jan 1997 · 6 yrs 6 mos
                                                                                                                                                     Connect
                Banking and regulatory law.
                                                                                                                                                  James Kane
                                                                                                                                                  Portfolio Administrator at Penobscot
                Deputy Staff Judge Advocate                                                                                                     Messaging
                                                                                                                                                 Financial Advisors


https://www.linkedin.com/in/j-craig-schweitzer-0729216/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAAE0NRYBKYINMZLa4a-120XifktAeP…                         046                           1/3
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                  United States Air Force
                                                                                                                                                   Connect
                  Mar 1986 – Oct 1990 · 4 yrs 8 mos
                                                                                         Home      My Network      Jobs   Messaging     Notifications    Me           Work   Lear
                  Maxwell AFB and Kelly AFB                                                                                                     Luke Hiltwein
                  Served as a trial lawyer, employment law specialist and Special Assistant US Attorney
                                                                                                                                                Assurance Intern at
               J. Craig Schweitzer
                                                                                                                                                     Message         More…
                                                                                                                                                PricewaterhouseCoopers
               Administrative Vice President and Associate General Counsel - Digital Development at M&T Bank
                                                                                                                                                   Connect
   Education
                  University of Akron School of Law                                                                                                     Show more
                  Juris Doctor, Law
                  1982 – 1985
                                                                                                                                      Bryce, learn what hiring managers look
                                                                                                                                      for in answers to top finance interview
                  State University of New York College at Buffalo
                                                                                                                                      questions
                  B.S., Criminal Justice
                  1978 – 1980
                                                                                                                                                 Tell me about a recent article
                                                                                                                                                 or trend you read about in the
                  Erie Community College                                                                                                         Wall Street Journal.
                  A.A.S., Criminal Justice
                  1976 – 1978
                                                                                                                                                 Why do you want to work at
    Show 1 more education                                                                                                                        this firm, specifically?



                                                                                                                                                 Define working capital.

   Skills & endorsements

   Credit Cards · 32                                                                                                                                Preview questions

           Endorsed by Joel Rapowitz and 8 others who are
                                                                       Endorsed by 26 of J. Craig’s colleagues at Citi
           highly skilled at this



   Banking · 30

           Endorsed by Stan G Tosello, JD/MBA/CFE and 3
                                                                       Endorsed by 22 of J. Craig’s colleagues at Citi
           others who are highly skilled at this



   Financial Services · 23

           Endorsed by Joel Rapowitz and 2 others who are
                                                                       Endorsed by 19 of J. Craig’s colleagues at Citi
           highly skilled at this


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   James Schwegler              · 3rd                                                     M&T Bank

   Vice President and Associate General Counsel at M&T Bank                               University of Toledo College               People also viewed
   Buffalo-Niagara Falls Area · 500+ connections · Contact info                           of Law
                                                                                                                                               Eric Voglmayr • 3rd
                                                                                                                                               Vice President/Risk Manager at M&T Bank

                                                                                                                                                  Message
   About
                                                                                                                                               William Simon • 3rd
   Detail-oriented commercial contracts attorney with a focus on technology agreements involving SaaS/cloud services.                          Vice President & Assistant General Counsel
   Experience in Corporate Procurement, Strategic Sourcing, and Third-Party Risk Management. Demonstrated success                              at M&T Bank
   navigating privacy issues as a Certified Information Privacy Professional (CIPP/US).
                                                                                                                                                  Message

                                                                                                                                               Melissa Prohaska • 3rd
                                                                                                                                               Customer Journey Owner Lead at M&T
   Activity                                                                                                                                    Bank
   757 followers
                                                                                                                                                  Message
   Posts James created, shared, or commented on in the last 90 days are displayed here.
                                                                                                                                               Tim Barthold • 3rd
                                                                                                                                               Group Vice President, Enterprise Risk
                                                     See all activity                                                                          Governance

                                                                                                                                                  Message

   Experience                                                                                                                                  Melvin Martemianov-Roundtree
                                                                                                                                               • 3rd
               M&T Bank                                                                                                                        Assistant Vice President, Consumer Risk
               7 yrs 2 mos                                                                                                                     Analyst at M&T Bank


               Vice President and Associate General Counsel
                                                                                                                                                  Message
               Full-time
               Oct 2020 – Present · 7 mos                                                                                                              Show more
               Buffalo-Niagara Falls Area
               Practice Group Leader, Vendor Contracts Group

                                                                                                                                     People you may know
               Vice President and Counsel
               Jun 2018 – Oct 2020 · 2 yrs 5 mos
                                                                                                                                               Nicholas Campa
               Buffalo/Niagara, New York Area
                                                                                                                                               Data Science Major, Minor in Business
               Vendor Contracts Group                                                                                                          Administration at Loyola University…

                                                                                                                                                  Connect
               Strategic Sourcing / Third-Party Contracts Manager (Corporate Procurement)
               Feb 2016 – Jun 2018 · 2 yrs 5 mos
                                                                                                                                               Kendall Moore
               Buffalo/Niagara, New York Area
                                                                                                                                               Technology Product Manager at Wolters
                                                                                                                                               Kluwer
               Senior Auditor - Regulatory & Compliance
               Jan 2015 – Feb 2016 · 1 yr 2 mos                                                                                                   Connect
               Buffalo/Niagara, New York Area
               Regulatory and BSA/AML Portfolio                                                                                                Christopher Maita
                                                                                                                                               Fixed Income Sales & Trading Analyst at
                                                                                                                                               Oppenheimer & Co. Inc.
               BSA/AML Compliance
               Mar 2014 – Jan 2015 · 11 mos                                                                                                       Connect
                                                                                                                                             Messaging

https://www.linkedin.com/in/james-schwegler-1a3a2752/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAAsvqksBVRw1kBSDeLxmfINc2PN7X…                        048                            1/3
5/6/2021                                                                          James Schwegler | LinkedIn
                       Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 49 of 113
                                                                                                                                       James Kane
                                                                                                                                        Portfolio Administrator at Penobscot
                                                                                      Home   My Network   Jobs   Messaging     Notifications       Me            Work          Lear
               Associate Attorney                                                                                                       Financial Advisors
               Harris Beach PLLC                                                                                                          Connect
               May 2012 – Mar 2014 · 1 yr 11 mos
                                                                                                                                       Luke Hiltwein
                                                                                                                                       Assurance Intern at
               Assistant District Attorney                                                                                             PricewaterhouseCoopers
               Erie County
               Jul 2009 – May 2012 · 2 yrs 11 mos                                                                                         Connect


                                                                                                                                              Show more
   Education

               University of Toledo College of Law                                                                             LEARNING

               Doctor of Law (J.D.), Law
                                                                                                                             Add new skills with these courses
               2004 – 2006
               Activities and Societies: Reinberger Fellowship in Prosecution, 2006                                                             Privacy for Executives and
                                                                                                                                                Aspiring Executives

               St. Bonaventure University                                                                                                       1,121 viewers

               Bachelor of Arts (B.A.), History
               2000 – 2004                                                                                                                      SSCP Cert Prep: 2 Security
                                                                                                                                                Operations and…

                                                                                                                                                14,814 viewers
               University of Oxford
               Francis E. Kelley Oxford Program
               2003 – 2003                                                                                                                      California Consumer Privacy
                                                                                                                                                Act (CCPA) Essential Training

                                                                                                                                                1,216 viewers

   Licenses & certifications
                                                                                                                                Show more on LinkedIn Learning
               Certified Information Privacy Professional/United States (CIPPUS)
               IAPP - International Association of Privacy Professionals
               Issued May 2019 · No Expiration Date



               Certified Anti-Money Laundering Specialist
               ACAMS
               Issued May 2015 · Expired Dec 2018




   Skills & endorsements

   Contract Negotiation · 2
   Christine Wable and 1 connection have given endorsements for this skill


   Privacy Law


   Vendor Contracts


                                                      Show more




                                                                                                                                     Messaging

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5/6/2021                                                                            Jennifer Ruggiero | LinkedIn
                         Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 50 of 113
                                                                                      Home       My Network     Jobs   Messaging     Notifications     Me            Work               Lear


                                     Embrace tomorrow - The future of the markets isn’t predictable, but it can be sustainable. Ad

                                                                                                                                                                                   Ad

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                                                                                                                                                  Mazars in US

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                                                                                                     Message


   Jennifer Ruggiero                · 3rd                                                    M&T Bank

   Core Bank Chief Compliance Officer at M&T Bank                                                                                  People also viewed
                                                                                             SUNY Buffalo Law School
   East Amherst, New York, United States · 61 connections ·
                                                                                                                                             Patricia Harris • 3rd
   Contact info                                                                                                                              Lead Compliance Attorney at Schiller &
                                                                                                                                             Knapp, LLP

                                                                                                                                                Message

   Highlights                                                                                                                                Layton Teresa • 3rd+
                                                                                                                                             Senior Vice President at Core Bank Trust
             Reach out to Jennifer for...
             Joining a nonprofit board.                                                                                                         Message

                  Message
                                                                                                                                             Jan Williamson • 3rd
                                                                                                                                             VP-Human Resources at Omaha State Bank

                                                                                                                                                Message

   Activity                                                                                                                                  Debbie Todaro • 3rd
   64 followers                                                                                                                              Operations Manager, Banking Services at
                                                                                                                                             M&T Bank
   Posts Jennifer created, shared, or commented on in the last 90 days are displayed here.
                                                                                                                                                Connect
                                                        See all activity
                                                                                                                                             Anthony Suess • 3rd+
                                                                                                                                             Deputy Chief Jail Administrator

                                                                                                                                                Connect
   Experience

                  M&T Bank                                                                                                                           Show more
                  18 yrs 9 mos

                  Core Bank Chief Compliance Officer
                  Jul 2012 – Present · 8 yrs 10 mos                                                                                People you may know


                  Associate General Counsel                                                                                                  Charlie Gilbert
                                                                                                                                             Sales Intern at Chesapeake Plywood
                  Aug 2002 – Jul 2012 · 10 yrs
                                                                                                                                                Connect

                                                                                                                                             James Kane
                  Attorney                                                                                                                   Portfolio Administrator at Penobscot
                  Coughlin & Gerhart LLP                                                                                                     Financial Advisors
                  Aug 1998 – Aug 2002 · 4 yrs 1 mo
                                                                                                                                                Connect

                                                                                                                                             Coleman C. Chase
   Education                                                                                                                                 Intern at U.S. House of Representatives

                                                                                                                                                Connect
                  SUNY Buffalo Law School
                  Doctor of Law (J.D.)
                  1995 – 1998                                                                                                                Kevin Short
                                                                                                                                             Co-Founder at Silver Fern
                  Activities and Societies: National Trial Team; Moot Court Board
                                                                                                                                              Connect
                                                                                                                                           Messaging

https://www.linkedin.com/in/jennifer-ruggiero-4a125894/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAABP4ZbkB3h_VTS4nWk0IFnY9Iz_U3h…                    050                           1/3
5/6/2021                                                                          Jennifer Ruggiero | LinkedIn
                       Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 51 of 113
                University of Notre Dame                                                                                                Gregory Grigoryan
                Bachelor of Science (B.S.), Finance, General                        Home     My Network    Jobs   Messaging              Quality Assurance
                                                                                                                                Notifications      Me      (QA) Engineer,
                                                                                                                                                                 Work     Tester,Lear
                1991 – 1995                                                                                                              Automation and Quality Enthusiast

                                                                                                                                           Connect

   Volunteer experience
                                                                                                                                               Show more
                Treasurer
                Literacy Volunteers
                Education                                                                                                       LEARNING

                                                                                                                              Add new skills with these courses

                                                                                                                                                 Finance Foundations: Risk
                                                                                                                                                 Management
   Skills & endorsements
                                                                                                                                                 103,042 viewers
   Commercial Lending · 2
   Christina Schwindler and 1 connection have given endorsements for this skill                                                                  Helping Your Employees
                                                                                                                                                 Meet Retirement Goals

                                                                                                                                                 7,740 viewers
   Loans · 1
   Tracey Stein has given an endorsement for this skill                                                                                          Introduction to Credit

                                                                                                                                                 3,023 viewers
   Credit
                                                                                                                                 Show more on LinkedIn Learning
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5/6/2021                                                                      Jessica (Cocco) Paulin | LinkedIn
                           Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 52 of 113
                                                                                    Home       My Network     Jobs   Messaging     Notifications     Me             Work              Lear


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                                                                                                                                                    FINRA

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   Jessica (Cocco) Paulin                  · 3rd                                         M&T Bank

   Vice President and Counsel at M&T Bank                                                University of Pittsburgh                People also viewed
   Buffalo, New York, United States · 293 connections · Contact info                     School of Law
                                                                                                                                           Teresina Jarosh • 3rd
                                                                                                                                           Executive Legal Secretary at Baker &
                                                                                                                                           Hostetler LLP

                                                                                                                                                Connect
   Activity
   293 followers
                                                                                                                                           Thomas Heim • 3rd
                                                                                                                                           General Counsel for Delaware North
             I'm so proud to be an M&T Woman!
                                                                                                                                           Companies Sportservice, Inc. - sports…
             Jessica shared this
             8 Reactions                                                                                                                        Message

                                                      See all activity                                                                     Jeffrey Gleason • 3rd
                                                                                                                                           Senior Counsel at Bond, Schoeneck & King
                                                                                                                                           PLLC


   Experience                                                                                                                                   Message

               Vice President and Assistant General Counsel                                                                                Karen Nelson • 3rd
                                                                                                                                           --
               M&T Bank · Full-time
               Sep 2020 – Present · 8 mos
                                                                                                                                                Connect
               Buffalo, New York, United States

                                                                                                                                           Julie Lowe • 3rd
                                                                                                                                           Instructional Designer at M&T Bank
               Counsel
               Delaware North Companies, Inc.                                                                                                   Message
               May 2019 – Sep 2020 · 1 yr 5 mos
               Buffalo/Niagara, New York Area
               I worked with the dedicated Assistant General Counsels to support various subsidiaries.
                                                                                                                                                   Show more
               Primary Responsibilities:
               • Reviewed and negotiated a wide array of commercial contracts, including asset purchase
                                                                                                     …see more

                                                                                                                                 People you may know
               Associate
                                                                                                                                           Nicholas Campa
               Nixon Peabody
                                                                                                                                           Data Science Major, Minor in Business
               Aug 2012 – May 2019 · 6 yrs 10 mos
                                                                                                                                           Administration at Loyola University…
               Rochester, New York, United States
               Primary focus:                                                                                                                   Connect
               • As a member of the firm's Public Finance group, I represented industrial development agencies
               and local development corporations in New York State in transactions granting state and local tax                           Kendall Moore
                                                                                                                                           Technology Product Manager at Wolters
               exemptions, including sales and mortgage recording tax exemptions and real property tax…see more
                                                                                                                                           Kluwer

                                                                                                                                                Connect
               Law Clerk
               Patberg, Carmody & Ging, P.C.                                                                                               Christopher Maita
               Apr 2010 – Jan 2012 · 1 yr 10 mos                                                                                           Fixed Income Sales & Trading Analyst at
               • Drafted motions, briefs, pleadings, interrogatories and other documents to be presented to                                Oppenheimer & Co. Inc.
               opposing counsel and in court
                                                                                                                                                Connect
               • Conducted legal research and drafted internal memos to be submitted to partners
               • Summarized discovery documents and analyzed relevant information to aid in litigation                                   Messaging


                                                                                                                                                       052
                                                                                                                                          James Kane

https://www.linkedin.com/in/jessica-l-paulin/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAAljvUoBB0gTJpEd2ptPqqW3TOdMLrkPvEI                                                      1/3
5/6/2021                                                                      Jessica (Cocco) Paulin | LinkedIn
                        Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 53Portfolio
                                                                                   of 113   Administrator at Penobscot
                                                                                                                                            Financial Advisors
               Intern                                                               Home         My Network   Jobs   Messaging     Notifications      Me              Work     Lear
               Livingston County Family Court                                                                                                 Connect
               Aug 2008 – Nov 2008 · 4 mos
               Geneseo, NY                                                                                                                 Luke Hiltwein
               • Observed both criminal and civil court proceedings                                                                        Assurance Intern at

               • Assisted with office, paper work and organizing files                                                                     PricewaterhouseCoopers

                                                                                                                                              Connect


   Education                                                                                                                                      Show more

               University of Pittsburgh School of Law
               Doctor of Law (J.D.), Law, cum laude                                                                                LEARNING
               2009 – 2012
                                                                                                                                 Add new skills with these courses
               Pittsburgh Journal of Environmental and Public Health Law, Senior Topics Editor
               o Student note selected for publication in Volume 6, Issue 1.                                                                         Accounting Foundations:
                                                                                                                                                     Leases

                                                                                                                                                     12,444 viewers
               State University of New York College at Geneseo
               Bachelor of Arts, History, magna cum laude
                                                                                                                                                     Business Law for Managers
               2006 – 2009
                                                                                                                                                     60,901 viewers

               Activities and Societies:
               Swimming and Diving Team (Captain 2008-2009)                                                                                          Financial Modeling
               Selected to participate in SUNY Geneseo's Externship Program in New York City in 2008                                                 Foundations
               Phi Alpha Theta - National History Honor Society
               National Scholars Honor Society                                                                                                       215,638 viewers


               Awards:                                                                                                              Show more on LinkedIn Learning
               SUNYAC Chancellor’s Scholar-Athlete Award in 2009
               Jennifer Guyer-Divico Memorial Award in 2009
               Three time National All-American Swimmer
               Academic All-American in 2008 and 2009
               SUNYAC All-Academic Team and All Conference Team in 2007, 2008, and 2009
               Multiple Team and Conference Record Holder in Swimming




   Skills & endorsements

   Legal Advice · 6
   Kevin Gosney and 5 connections have given endorsements for this skill


   Due Diligence · 3
   Bill Soprano and 2 connections have given endorsements for this skill


   Document Review · 2
   Bill Soprano and 1 connection have given endorsements for this skill


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https://www.linkedin.com/in/jessica-l-paulin/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAAljvUoBB0gTJpEd2ptPqqW3TOdMLrkPvEI                       053                     2/3
5/6/2021                                                                            John Emmons | LinkedIn
                       Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 54 of 113
                                                                                     Home       My Network      Jobs         Messaging     Notifications     Me             Work                Lear


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                                                                                                                                                                                           Ad

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                                                                                                                                                               Follow
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   John Emmons              · 3rd                                                         M&T Bank

   Counsel at M&T Bank                                                                                                                   People also viewed
                                                                                          Dickinson Law
   Buffalo-Niagara Falls Area · 253 connections · Contact info
                                                                                                                                                   Kathy A. Hahn • 3rd
                                                                                                                                                   Ethics | Governance | Investigation |
                                                                                                                                                   Regulatory Compliance | Organizational…

                                                                                                                                                      Message
   About
   Reliable attorney with over 17 years of experience including public and private company corporate matters, Investment                           John H Emmons, Jr • 3rd
   Company Act of 1940, Investment Advisers Act of 1940, Securities Act of 1933, Securities Act of 1934, contract drafting                         President at Welch & Forbes LLC

   and negotiations, litigation management, outside vendor oversight, and human resources/payroll support. Superb
                                                                                                               … see more
                                                                                                                                                      Connect

                                                                                                                                                   Stephen Wilson • 3rd
                                                                                                                                                   Vice President & Assistant General Counsel
   Activity                                                                                                                                        at M&T Bank
   254 followers
                                                                                                                                                      Message
             Log In or Sign Up to View
                                                                                                                                                   Anthony Carroll • 3rd
             John shared this
                                                                                                                                                   Vice President and Counsel at M&T Bank

                                                                                                                                                      Message
                                                      See all activity

                                                                                                                                                   Beth Bailey • 3rd+
                                                                                                                                                   Human Resources Analyst at City of

   Experience                                                                                                                                      Columbus

                                                                                                                                                      Connect
               Counsel
               M&T Bank
               Apr 2019 – Present · 2 yrs 1 mo                                                                                                             Show more
               Buffalo, New York



                                                                                                                                         People you may know
               Senior Counsel
               Manning & Napier Benefits, LLC                                                                                                      Nicholas Campa
               Oct 2005 – Nov 2018 · 13 yrs 2 mos                                                                                                  Data Science Major, Minor in Business
                                                                                                                                                   Administration at Loyola University…

                                                                                                                                                      Connect
               Senior Counsel
               Manning & Napier Advisors, LLC
               Dec 2013 – Aug 2018 · 4 yrs 9 mos                                                                                                   Kendall Moore
                                                                                                                                                   Technology Product Manager at Wolters
               Manning & Napier Advisors, LLC
                                                                                                                                                   Kluwer

                                                                                                                                                      Connect
               Staff Counsel
               IP.com                                                                                                                              Christopher Maita
               2004 – Aug 2012 · 7 yrs                                                                                                             Fixed Income Sales & Trading Analyst at
                                                                                                                                                   Oppenheimer & Co. Inc.

               Assistant Counsel                                                                                                                      Connect
               NCO Financial Systems, Inc
               1998 – 2004 · 6 yrs                                                                                                                James Kane
                                                                                                                                                 Messaging


                                                                                                                                                               054
                                                                                                                                                   Portfolio Administrator at Penobscot

https://www.linkedin.com/in/john-emmons-8a11042/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAABfC_kBAYawDjB_o6uJ65C1W8_WjIHj8Gg                                                             1/3
5/6/2021                                                            John Emmons | LinkedIn
                        Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 55 of 113
                                                                                                                     Financial Advisors
    Show 3 more experiences
                                                                    Home    My Network   Jobs   Messaging                 Connect
                                                                                                              Notifications   Me               Work    Lear


                                                                                                                     Luke Hiltwein
   Education                                                                                                         Assurance Intern at
                                                                                                                     PricewaterhouseCoopers
                Dickinson Law
                                                                                                                        Connect
                JD, Law
                1987 – 1990
                                                                                                                           Show more

                Denison University
                BA, History/English                                                                           LEARNING
                1983 – 1987
                Activities and Societies: Track and Field                                                   Add new skills with these courses

                                                                                                                              Having Difficult
                                                                                                                              Conversations: A Guide for…
                Fairmont West High School
                1979 – 1983                                                                                                   23,621 viewers


                                                                                                                              CIPP/US Cert Prep: 3
                                                                                                                              Government and Court…

                                                                                                                              1,565 viewers
   Skills
                                                                                                                              21 Opportunities for Better
   Strategic Planning
                                                                                                                              Networking

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   Leadership

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   Insurance


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                                                                                                                                055
https://www.linkedin.com/in/john-emmons-8a11042/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAABfC_kBAYawDjB_o6uJ65C1W8_WjIHj8Gg                    2/3
                Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 56 of 113
Contact
                                   John Park
www.linkedin.com/in/john-          Group Vice President - Deputy General Counsel at M&T Bank
park-53479212 (LinkedIn)           New York City Metropolitan Area


                                   Experience
                                   M&T Bank
                                   2 years 8 months

                                   Group Vice President - Deputy General Counsel
                                   November 2020 - Present (7 months)
                                   Paramus, New Jersey, United States

                                   Head of Consumer and Business Banking Legal, leading a team of attorneys
                                   and paralegals who provide support to the Business Banking, Consumer
                                   Deposits, Consumer Lending, Customer Asset Management, Digital Banking,
                                   Mortgage, and Retail Banking groups.

                                   Group VP - Senior Associate General Counsel
                                   February 2020 - Present (1 year 4 months)
                                   Paramus, NJ

                                   Head of Consumer and Business Banking Legal, leading a team of attorneys
                                   and paralegals who provide support to the Business Banking, Consumer
                                   Deposits, Consumer Lending, Customer Asset Management, Digital Banking,
                                   Mortgage, and Retail Banking groups.


                                   Previously, member of the Consumer and Business Banking Legal Division,
                                   managing a team of attorneys and paralegals supporting Consumer Lending,
                                   Customer Asset Management, and Mortgage.

                                   Administrative VP, Associate General Counsel
                                   October 2018 - January 2020 (1 year 4 months)
                                   New York, New York


                                   Santander Bank, N.A.
                                   2 years 5 months

                                   Senior Vice President, Deputy General Counsel, Mortgage & Consumer
                                   Finance Legal
                                   August 2018 - October 2018 (3 months)
                                   Florham Park, New Jersey

                                   Manage a team of attorneys and paralegals who provide legal support to
                                   the mortgage, HELOC, credit card, debit card, auto, secured and unsecured
                                   lending businesses.
                                                                    Page 1 of 4             056
Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 57 of 113
                   Senior Vice President, Head of Mortgage & Consumer Finance Legal
                   June 2016 - October 2018 (2 years 5 months)
                   Florham Park, NJ

                   Deputy General Counsel, managing a team of attorneys and paralegals
                   supporting the mortgage, HELOC, credit card, debit card, auto, secured and
                   unsecured lending businesses.


                   Citizens Bank
                   3 years 3 months

                   Senior Vice President, Senior Counsel
                   March 2016 - June 2016 (4 months)
                   Jersey City, NJ

                   Lead lawyer for the Consumer Lending group within the Consumer Banking
                   Legal Group, providing guidance to the auto, HELOC, student lending and
                   unsecured lending businesses. Member of the Consumer Lending Executive
                   Committee.

                   Senior Vice President, Senior Counsel
                   February 2016 - March 2016 (2 months)
                   Jersey City, NJ, U.S.A.

                   Member of the Enterprise Bank Regulatory Legal Group, providing guidance
                   to business, compliance, risk and legal colleagues in various areas, including
                   debt collection, foreclosure, bankruptcy, and the Servicemembers Civil Relief
                   Act.

                   Vice President, Counsel
                   November 2014 - February 2016 (1 year 4 months)
                   Jersey City, NJ, U.S.A.

                   Member of the Enterprise Bank Regulatory Legal Group, providing guidance
                   to business, compliance, risk and legal colleagues in various areas, including
                   debt collection, foreclosure, bankruptcy, and the Servicemembers Civil Relief
                   Act.

                   Vice President, Counsel
                   April 2013 - November 2014 (1 year 8 months)
                   Jersey City, New Jersey

                   Member of the Consumer Banking Legal Group, providing legal support to
                   business, compliance and risk colleagues in the real estate secured loan
                   servicing and default areas.


                   Lee Anav Chung LLP

                                                                               057
                   Partner
                                                      Page 2 of 4
Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 58 of 113
                   March 2009 - March 2013 (4 years 1 month)
                   New York, New York

                   Practice focuses on representing lenders, investors, businesses and
                   individuals in all facets of the acquisition, financing, sale and leasing of
                   commercial and residential properties, as well as institutional lenders in
                   commercial lending, multifamily financing, loan workouts and restructurings,
                   commercial foreclosure, title claims litigation, commercial mortgage
                   assignments, loan sales, and sale of REO property.


                   Yun & Park, LLC
                   Managing Partner
                   January 2003 - February 2009 (6 years 2 months)
                   As Co-Founder and Managing Partner, accountable for the day-to-day
                   business operations and the P&L success of the Firm. Lead Attorney for
                   all facets of the acquisition, financing, sale and leasing of commercial and
                   residential properties throughout New York and New Jersey. Responsible
                   for formation of business entities, purchase and sale of businesses and
                   representation of lenders on residential mortgage closings. Managed accounts
                   payable and payroll for the Firm.


                   The Princeton Review
                   Executive Director
                   January 1997 - August 2001 (4 years 8 months)
                   Brooklyn, New York

                   Recruited as Director of Legal and Medical Programs for New York City and
                   quickly promoted to Executive Director to lead the Brooklyn branch operations.
                   Hired, supervised and mentored a full-time staff of 4, and a part-time staff of
                   75+. Collaborated with school administrators to coordinate on-site courses and
                   tutoring services, and to secure classroom space for courses and marketing
                   seminars. Negotiated contracts with service providers and third-party vendors.
                   Administered weekly payroll, and managed an operations budget that grew
                   from $600K to $1.3M during tenure.




                   Education
                   St. John's University School of Law
                   JD · (1992 - 1995)


                   Tufts University
                   BA, Political Science · (1987 - 1991)
                                                        Page 3 of 4                058
                  Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 59 of 113
Contact
                                     Joseph Bielawa
www.linkedin.com/in/joseph-          Chief Regulatory Counsel at M&T Bank
bielawa-78a19017 (LinkedIn)          New York

Top Skills                           Experience
Due Diligence
Capital Markets                      M&T Bank
Corporate Governance                 Chief Regulatory Counsel
                                     May 2018 - Present (3 years 1 month)
                                     New York


                                     Natixis
                                     Director/Senior Counsel Regulatory
                                     February 2010 - April 2018 (8 years 3 months)


                                     Board of Governors of the Federal Reserve System
                                     Senior Counsel
                                     December 2008 - February 2010 (1 year 3 months)


                                     Freddie Mac
                                     Senior Attorney
                                     December 2007 - April 2008 (5 months)


                                     J.P. Morgan
                                     Vice President & Asst. General Counsel
                                     September 1996 - November 2007 (11 years 3 months)


                                     Nat West
                                     Vice President & Asst. General Counsel
                                     June 1994 - May 1996 (2 years)


                                     Office of the Comptroller of the Currency
                                     Senior Attorney
                                     August 1986 - June 1994 (7 years 11 months)




                                     Education
                                     Duquesne University School of Law
                                     Law · (1983 - 1986)

                                                                      Page 1 of 1         059
5/6/2021                                                                        Katherine Hesch | LinkedIn
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   Katherine Hesch            · 3rd                                                   M&T Bank

   Group Vice President, Senior Associate General Counsel at                          Syracuse University College of               People also viewed
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                                                                                                                                             Tim Webster • 3rd
   Buffalo, New York, United States · 428 connections · Contact info
                                                                                                                                             Retired Partner at Webster Szanyi LLP

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                                                                                                                                             Nola Cornett, Esq. • 3rd
   Activity
                                                                                                                                             Senior Vice President, Strategy Lead
   427 followers
                                                                                                                                             Analyst at Citi

             Mike, it was a pleasure working with you. All the best in your future endeavors. Kate                                              Message
             Katherine commented
                                                                                                                                             Sean Veach • 3rd
                                                                                                                                             Assistant Vice President, Senior
                                                    See all activity                                                                         Compliance Consultant at M&T Bank

                                                                                                                                                Message

   Experience                                                                                                                                Nicole Neary • 3rd
                                                                                                                                             Assistant Vice President | Business Line
               M&T Bank                                                                                                                      Senior Trainer at M&T Bank
               9 yrs 1 mo
                                                                                                                                                Message
               Group Vice President, Senior Associate General Counsel
               Full-time                                                                                                                     Michelle Jeffries Schubring • 3rd
                                                                                                                                             Administrative Vice President and Senior
               Jan 2021 – Present · 4 mos
                                                                                                                                             Compliance Manager at M&T Bank

               Administrative Vice President, Senior Associate General Counsel, Enterprise-Wide Banking                                         Message
               Full-time
               Jun 2020 – Jan 2021 · 8 mos
               Buffalo, New York, United States                                                                                                      Show more


               Administrative VP, Associate General Counsel, Regulatory Programs
               Oct 2018 – Jun 2020 · 1 yr 9 mos
               Buffalo, New York                                                                                                   People you may know

                                                                                                                                             Nicholas Campa
               Administrative Vice President, Senior Consumer Lending Counsel
                                                                                                                                             Data Science Major, Minor in Business
               Dec 2017 – Oct 2018 · 11 mos
                                                                                                                                             Administration at Loyola University…
               Buffalo, New York
                                                                                                                                                Connect
               Vice President, Counsel
               Apr 2012 – Dec 2017 · 5 yrs 9 mos                                                                                             Kendall Moore
                                                                                                                                             Technology Product Manager at Wolters
                                                                                                                                             Kluwer

                                                                                                                                                Connect
               Associate
               Phillips Lytle LLP                                                                                                            Christopher Maita
               Aug 2001 – Mar 2012 · 10 yrs 8 mos                                                                                            Fixed Income Sales & Trading Analyst at
                                                                                                                                             Oppenheimer & Co. Inc.

                                                                                                                                                Connect
   Education
                                                                                                                                           Messaging
                                                                                                                                            James Kane

https://www.linkedin.com/in/katherine-hesch-2b4b107/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAAFpBqgBK3hTpwOILfOb5mn9W_nUJr…                      060                            1/3
5/6/2021                                                                            Kathleen Coulahan | LinkedIn
                        Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 61 of 113
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   Counsel at M&T Bank                                                                          University of Maryland School               People also viewed
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                                                                                                                                                      Ciara Ryan • 3rd+
   Contact info                                                                                                                                       Customer Advisor at Bank of Ireland

                                                                                                                                                         Connect

                                                                                                                                                      Linda Clark • 3rd+
   Activity
                                                                                                                                                      Fiduciary Market Manager
   1 follower

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                                                                                                                                                      Debra Swan Sylvester, CTFA • 3rd
                                                          See all activity                                                                            Senior Vice President and Fiduciary Market
                                                                                                                                                      Manager at PNC

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   Experience
                                                                                                                                                      Kimberly Jackson • 3rd+
                Counsel                                                                                                                               Vice President at PNCBank, NA

                M&T Bank
                                                                                                                                                         Connect

                                                                                                                                                      Kimberly Jackson • 3rd+
                                                                                                                                                      Vice President at PNC Advisors
   Education
                                                                                                                                                         Connect
                University of Maryland School of Law
                Juis Doctor                                                                                                                                   Show more
                1978 – 1981
                Activities and Societies: Order of coif


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                                                                                                                                                      Nicholas Campa
   Interests                                                                                                                                          Data Science Major, Minor in Business
                                                                                                                                                      Administration at Loyola University…
                University of Maryland Francis King Carey                    M&T Bank
                10,484 followers                                             85,410 followers                                                            Connect

                                                                                                                                                      Kendall Moore
                                                                                                                                                      Technology Product Manager at Wolters
                                                                                                                                                      Kluwer

                                                                                                                                                         Connect

                                                                                                                                                      Christopher Maita
                                                                                                                                                      Fixed Income Sales & Trading Analyst at
                                                                                                                                                      Oppenheimer & Co. Inc.

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                                                                                                                                                      James Kane
                                                                                                                                                      Portfolio Administrator at Penobscot
                                                                                                                                                    Messaging
                                                                                                                                                     Financial Advisors


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5/6/2021                                                                            Kellen Coppola | LinkedIn
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   Kellen Coppola             · 3rd                                                        M&T Bank

   Vice President & Assistant General Counsel at M&T Bank                                  Rutgers University School of               People also viewed
   Buffalo, New York, United States · 500+ connections ·                                   Law - Camden
                                                                                                                                                Ron Papa • 3rd
   Contact info                                                                                                                                 President- NFA National Fire Adjustment
                                                                                                                                                Co., Inc.

                                                                                                                                                    Message

   Activity                                                                                                                                     Laurie A. Baker • 3rd
   523 followers                                                                                                                                Partner at Meyers Buth Law Group PLLC

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                                                      See all activity                                                                          Michael J. Mazurczak (Maz)
                                                                                                                                                • 2nd
                                                                                                                                                ►Employment Practices Liability
                                                                                                                                                ►Transportation ►Professional Liability…
   Experience
                                                                                                                                                    Connect
               Vice President & Assistant General Counsel
                                                                                                                                                DeWaylon Lawrence • 3rd
               M&T Bank
                                                                                                                                                LAN Support Specialist at Oklahoma
               Aug 2020 – Present · 9 mos
                                                                                                                                                University Health Sciences Center -…
               Buffalo, New York, United States
                                                                                                                                                    Message

               Associate
                                                                                                                                                Eric Lands • 3rd+
               Lippes Mathias Wexler Friedman LLP                                                                                               Industrial & Systems Engineer
               Sep 2018 – Aug 2020 · 2 yrs
               Buffalo/Niagara, New York Area                                                                                                       Connect


               Assistant District Attorney                                                                                                              Show more
               Erie County
               Oct 2015 – Sep 2018 · 3 yrs

                                                                                                                                      People you may know
               Associate Attoney
               Ricotta & Visco Attorneys and Counselors at Law                                                                                  Nicholas Campa
                                                                                                                                                Data Science Major, Minor in Business
               Jul 2014 – Oct 2015 · 1 yr 4 mos
               Buffalo/Niagara, New York Area                                                                                                   Administration at Loyola University…

                                                                                                                                                    Connect

               Product Advocate at Rutgers-Camden School of Law
                                                                                                                                                Kendall Moore
               Bloomberg BNA                                                                                                                    Technology Product Manager at Wolters
               Aug 2013 – Apr 2014 · 9 mos
                                                                                                                                                Kluwer
               Rutgers-Camden School of Law
                                                                                                                                                    Connect
    Show 3 more experiences
                                                                                                                                                Christopher Maita
                                                                                                                                                Fixed Income Sales & Trading Analyst at
                                                                                                                                                Oppenheimer & Co. Inc.

   Education                                                                                                                                        Connect
                                                                                                                                              Messaging
               Rutgers University School of Law - Camden
https://www.linkedin.com/in/kellen-coppola-04a7b813/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAALJtToBNBQaS1q2uoi1wbsNFr1YZiOP…
                                                                                                                                                J           K
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5/6/2021                                                                            Kellen Coppola | LinkedIn
                       Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 63James
                                                                                  of 113
                                                                                       Kane
               Doctor of Law (J.D.), Law
                                                                                                                                                 Portfolio Administrator at Penobscot
               2011 – 2014
                                                                                      Home      My Network         Jobs   Messaging     Notifications       Me
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                                                                                                                                                   Connect
               University of Pennsylvania
               BA, Italian Studies                                                                                                              Luke Hiltwein
               2005 – 2009                                                                                                                      Assurance Intern at
               Activities and Societies: Lightweight rowing, Student-Athlete Advisory Committee member,                                         PricewaterhouseCoopers
               Newman Center council member
                                                                                                                                                   Connect


               Canisius High School                                                                                                                    Show more
               2001 – 2005
               Activities and Societies: Ignatian Scholar, National Honors Society member, Varisty Crew, Varsity
               Soccer
                                                                                                                                      Bryce, learn what hiring managers look
                                                                                                                                      for in answers to top finance interview
                                                                                                                                      questions
   Skills & endorsements
                                                                                                                                                 How do you value a company?
   Legal Research · 15
   Mikhail Gasiorowski and 14 connections have given endorsements for this skill
                                                                                                                                                 How do you assess a
   Legal Writing · 9                                                                                                                             company's financial health?

   Ryan Cobb, M.D. and 8 connections have given endorsements for this skill
                                                                                                                                                 How to approach brainteasers
                                                                                                                                                 and mental math questions.
   Public Speaking · 6
   Chris Howell and 5 connections have given endorsements for this skill
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5/6/2021                                                                            Kelly O'Brien | LinkedIn
                       Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 64 of 113
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   Kelly O'Brien         · 3rd                                                           M&T Bank

   Consumer and Business Compliance Risk Director                                        State University of New York                 People also viewed
   Buffalo-Niagara Falls Area · 500+ connections · Contact info                          at Buffalo - Law School
                                                                                                                                                Julie Jehrio • 3rd
                                                                                                                                                Director, Responsible Banking at M&T Bank

                                                                                                                                                   Message
   About
                                                                                                                                                Stephen Nalawadi • 3rd
   Director of Consumer and Business Practices Group at M&T Bank, which serves as the primary point of contact with                             Director, Compliance & Operational Risk
   business units on day-to-day compliance matters and as subject matter experts on applicable federal and state rules,                         Testing at USAA
   regulations and requirements. (Mortgage, Consumer, Deposits, Commercial, Private, and Business Banking, as… see
                                                                                                               wellmore
                                                                                                                    as
                                                                                                                                                   Message

                                                                                                                                                Eric Voglmayr • 3rd
                                                                                                                                                Vice President/Risk Manager at M&T Bank
   Activity
   1,223 followers                                                                                                                                 Message

             Thank you for everything you do, Tracy!                       Excited to welcome some new and                                      Melissa Prohaska • 3rd
             Kelly commented                                               some familiar faces to the M&T team!                                 Customer Journey Owner Lead at M&T
                                                                                                                                                Bank
                                                                           Kelly shared this
                                                                           8 Reactions • 1 Comment
                                                                                                                                                   Message

             I second this post!                                                                                                                Tim Barthold • 3rd
             Kelly commented                                                                                                                    Group Vice President, Enterprise Risk
                                                                                                                                                Governance

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   Experience                                                                                                                                           Show more

               Director of Consumer and Business Practices
               M&T Bank · Full-time
               Jul 2020 – Present · 11 mos
                                                                                                                                      People you may know

                                                                                                                                                Nicholas Campa
                                                                                                                                                Data Science Major, Minor in Business
               M&T Bank
                                                                                                                                                Administration at Loyola University…
               6 yrs 2 mos
                                                                                                                                                   Connect
               Director of Enterprise Compliance and Compliance Risk Governance
               Full-time                                                                                                                        Kendall Moore
               Sep 2019 – Feb 2020 · 6 mos                                                                                                      Technology Product Manager at Wolters
               Buffalo/Niagara, New York Area                                                                                                   Kluwer


               Director of Compliance Risk Governance                                                                                              Connect
               Mar 2019 – Sep 2019 · 7 mos
               Buffalo, New York                                                                                                                Christopher Maita
                                                                                                                                                Fixed Income Sales & Trading Analyst at
               Director of Enterprise Compliance (Holding Company, Canada, Political Activities and
                                                                                                                                                Oppenheimer & Co. Inc.
               Contributions, Info Tax and Privacy Compliance) and Compliance Risk Governance responsible for
               ensuring key components of SR 08-8 (risk assessment, reporting, monitoring activities, etc.) and                                    Connect
               agile product/service initiatives are in place and working effectively.                 …see more
                                                                                                                                              Messaging


                                                                                                                                                            064
                                                                                                                                               James Kane

https://www.linkedin.com/in/kelly-o-brien-85740a20/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAARU-EMB3uI7oOuypsshM3pQKDMr-idZetM                                                     1/3
5/6/2021                                                                           Kelly O'Brien | LinkedIn
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                                                                               of 113
             Show 2 more roles                                                          Administrator at Penobscot
                                                                                                                                             Financial Advisors
                                                                                    Home      My Network       Jobs   Messaging     Notifications      Me               Work            Lear
                                                                                                                                               Connect
             Compliance Manager, AVP (Mortgage and Consumer Lending Servicing Focus)
             First Niagara Bank                                                                                                             Luke Hiltwein
             Aug 2013 – Jan 2014 · 6 mos                                                                                                    Assurance Intern at
             Buffalo/Niagara, New York Area                                                                                                 PricewaterhouseCoopers

             Responsible for monitoring and testing compliance throughout First Niagara’s Mortgage Servicing                                   Connect
             and Consumer Lending Departments which included: leading the implementation of the Dodd
             Frank Act’s 2014 mortgage servicing rules; providing guidance and training to the servicing lines
             of business on rules and regulations related to mortgage servicing and foreclosures, consumer
                                                                                                     …see more                                     Show more


             Attorney Editor (Commercial Litigation, Corporate, and Labor Law Concentration)                                         LEARNING
             Thomson Reuters Westlaw
                                                                                                                                  Add new skills with these courses
             Oct 2012 – Feb 2013 · 5 mos
             Rochester, New York Area                                                                                                                 Excel Essential Training
             Commercial Litigation (emphasis on Corporate Contract Matters) and Labor Law legal secondary                                             (Office 365/Microsoft 365)
             articles to be uploaded onto Westlaw, while adhering to strict editorial publishing schedules and
                                                                                                                                                      740,658 viewers
             quality standards. Responsible for identifying key legal issues within the industry, researching,
             analyzing, and communicating them into clear, concise summaries, while working successfully…see more
                                                                                                                                                      California Consumer Privacy
                                                                                                                                                      Act (CCPA) Essential Training

                                                                                                                                                      1,216 viewers
             Law Clerk
             First Niagara Bank
             Oct 2011 – Oct 2012 · 1 yr 1 mo                                                                                                          Leading a Small Business
             Buffalo/Niagara, New York Area                                                                                                           through a Crisis
             Regulatory Compliance Department with a focus on researching and analyzing rules and
                                                                                                                                                      16,274 viewers
             regulations including: Dodd Frank, Gramm-Leach-Bliley, privacy laws, and insurance and trust laws
             at the multi-state level.
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   Education
             State University of New York at Buffalo - Law School                                                                 Scholarships Available 50% off PG tuition fees
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             2009 – 2012                                                                                                          Online in 15 Months from         Scholarship to cut your
                                                                                                                                    American University           Berlin course fees in half!
             Activities and Societies: New York City Global Finance Program, Affordable Housing Clinic, &
             Margaret Wong Scholarship Recipient

             Passed July 2012 New York State Bar Exam and admitted in the 4th Department, March 2013.
                                                                                                                                        Learn more                      Learn more


             Fairfield University
             MBA, International Business/Accounting
             2005 – 2007



             St. Bonaventure University
             B.A., English, Spanish
             2001 – 2004
             Activities and Societies: English and Spanish Tutor English Intern for English Department




   Licenses & certifications

             Leading Innovative Change
             UC Berkeley Executive Education
             Issued Aug 2019 · No Expiration Date



             Certified Anti-Money Laundering Specialist (CAMLS)
             ACAMS
             Issued Feb 2019 · No Expiration Date



             CRCM
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             American Bankers Association

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5/6/2021                                                                          Kenneth "Ken" Krach | LinkedIn
                       Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 66 of 113
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                                                                                                                                               insights               The future of the markets
                                                                                                                                         CUNA Strategic Services     isn’t predictable, but it can
                                                                                                                                         aligns credit unions with          be sustainable.
                                                                                                                                            solution providers.


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   Kenneth "Ken" Krach                 · 3rd                                                University of Maryland
                                                                                            Francis King Carey School of…
   Attorney, Banker and Fraud Risk Specialist--                                                                                          People also viewed
   Baltimore, Maryland, United States · 321 connections ·
                                                                                                                                                   Marcela H. • 3rd
   Contact info                                                                                                                                    Senior Associate General Counsel at J.P.
                                                                                                                                                   Morgan

                                                                                                                                                      Message

   About                                                                                                                                           Hilary O'Connor • 3rd
                                                                                                                                                   Regional General Counsel (Mid-Atlantic) at
   My career at M&T Bank and my law degree give me a depth of experience and expertise in 3 critical areas: law,
                                                                                                                                                   Kimco Realty Corporation
   banking and fraud risk. I counseled and advised internal clients on a wide spectrum of legal issues ranging from the
                                                                                                                … see more
   mundane to the complex and touching almost all products and services the bank offered. As fraud and regulatory                                     Message

                                                                                                                                                   Nicole Audia • 3rd
                                                                                                                                                   Accounting at Southern Connecticut State

   Activity                                                                                                                                        University

   321 followers                                                                                                                                      Message

             Congratulations Jon.                                                                                                                  Chantelle Krezmien • 3rd
             Kenneth "Ken" commented                                                                                                               Banking Officer, BSA/AML Senior
                                                                                                                                                   Compliance Analyst at M&T Bank

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                                                                                                                                                   Kathleen Kyne • 3rd
                                                                                                                                                   Paralegal at Tydings & Rosenberg LLP
   Experience
                                                                                                                                                      Message

               M&T Bank
                                                                                                                                                           Show more
               27 yrs 3 mos
               Financial Crimes Manager
               Jul 2018 – Feb 2020 · 1 yr 8 mos
               Baltimore, Maryland Area                                                                                                  People you may know
               I managed a team of 20+ individuals responsible for Financial Crimes case creation, investigation,
               regulatory filings and quality control. Duties and accomplishments included:                                                        Nicholas Campa
               • Expanding team capacity by outsourcing non-complex work to low cost provider;                                                     Data Science Major, Minor in Business
               • Creating practical and effective communications to employees and customers on fraud risk;                                         Administration at Loyola University…
               • Developing comprehensive policies and procedures to address emerging fraud risks;
                                                                                                                                                      Connect
               • Coordinating complex internal and external fraud investigations; and
               • Developing real time responses to active fraud events.
                                                                                                                                                   Kendall Moore
                                                                                                                                                   Technology Product Manager at Wolters
               In-House Counsel                                                                                                                    Kluwer
               Dec 1992 – Jun 2018 · 25 yrs 7 mos
               Baltimore, Maryland Area                                                                                                               Connect
               I served as a primary legal resource in the Bank's Mid-Atlantic region with emphasis on
                                                                                                                                                   Christopher Maita
               commercial and retail transactions, litigation, fraud, risk and dispute resolution. Duties and
                                                                                                                                                   Fixed Income Sales & Trading Analyst at
               accomplishments included:
                                                                                                                                                   Oppenheimer & Co. Inc.
                                                                                                           …see more
               • Counseling clients on complex customer issues and disputes to achieve cost effective/lowest     risk
                                                                                                                                                      Connect
                                                                                                                                                 Messaging


                                                                                                                                                                 066
                                                                                                                                                  James Kane
   Education
https://www.linkedin.com/in/kenkrach4/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAAM_QDgBpSAiZLNILog50a2xCiuk6wtKxNI                                                                    1/3
5/6/2021                                                                     Kenneth "Ken" Krach | LinkedIn
   Education            Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 67Portfolio
                                                                                   of 113   Administrator at Penobscot
                                                                                                                                         Financial Advisors
               University of Maryland Francis King Carey School of Law           Home    My Network     Jobs      Messaging     Notifications      Me              Work       Lear

               Juris Doctor                                                                                                                Connect

                                                                                                                                        Luke Hiltwein
                                                                                                                                        Assurance Intern at
               Loyola University Maryland                                                                                               PricewaterhouseCoopers
               Bachelor's degree, Political Science and Government
                                                                                                                                           Connect


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   Skills & endorsements
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   Stephen Thommen and 1 connection have given endorsements for this skill
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   Dispute Resolution · 1
                                                                                                                                                  6,580 viewers
   Rob Tiettmeyer has given an endorsement for this skill
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                                                                                                                                                  Stuff Done
   Negotiation
                                                                                                                                                  20,873 viewers

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                                                                                                                                                  Competence

   Recommendations                                                                                                                                167,243 viewers


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             Stephen Thommen                Ken Krach is a bright and intuitive professional with a high degree
             Senior Member Services         of knowledge and a keen attention to detail. Ken has an analytical
             Representative at Tower
                                            manner and an innate ability to determine facts. He has a long
             Federal Credit Union
             June 4, 2020, Stephen and
                                            history of success in his working profession and his dedication to
             Kenneth "Ken" were students    the company is strong and unwavering a... See more
             together




                                                                                                                                      Messaging

https://www.linkedin.com/in/kenkrach4/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAAM_QDgBpSAiZLNILog50a2xCiuk6wtKxNI                           067                       2/3
                 Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 68 of 113
Contact
                                    Laura O'Hara
www.linkedin.com/in/laura-o-        General Counsel at M&T Bank
hara-18bb67a3 (LinkedIn)            Buffalo-Niagara Falls Area

Top Skills                          Experience
Mortgage Lending
Financial Services                  M&T Bank
Commercial Banking                  General Counsel
                                    July 2017 - Present (3 years 11 months)
                                    New York


                                    Santander Bank, N.A.
                                    Executive Vice President and General Counsel
                                    May 2015 - Present (6 years 1 month)
                                    Florham Park, New Jersey


                                    Citizens Bank
                                    EVP, General Counsel Consumer and Commercial Banking
                                    September 2011 - May 2015 (3 years 9 months)
                                    * General Counsel for Consumer and Commercial Banking for RBS Citizens,
                                    N.A. ("CFG"), a $130       billion dollar institution and the twelfth largest US
                                    bank, reporting to the Vice Chairs and the General Counsel for RBS Americas.


                                    *Responsible for legal support for all Consumer and Commercial lines of
                                    business including: Retail Banking, Mortgage, Broker Dealer, Business
                                    Banking, Credit Card, Auto Lending, Student Lending as well as Servicing and
                                    Operations for those businesses.


                                    *Co-manager of CFG legal department responsible for goals, CFG staff
                                    meetings, extensive training program for junior lawyers, mentoring programs
                                    for lawyers new to CFG and CLE program.


                                    Chase
                                    SVP and General Counsel, Chase Mortgage
                                    1990 - 2011 (21 years)
                                    SVP, General Counsel JPMorgan Chase, Mortgage
                                    Responsible for all legal support for Chase's mortgage business.




                                    Education
                                                                       Page 1 of 2                068
Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 69 of 113

                   Georgetown University Law Center
                   Juris Doctor (J.D.), Law · (1981 - 1984)


                   Villanova University
                   Bachelor's Degree, Honors and Economics · (1977 - 1981)




                                                      Page 2 of 2            069
5/6/2021                                                                             Laura O'Hara | LinkedIn
                       Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 70 of 113
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   Experience                                                                                                                                 Counsel at M&T Bank

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               General Counsel
               M&T Bank
                                                                                                                                              William Simon • 3rd
               Jun 2017 – Present · 3 yrs 11 mos
                                                                                                                                              Vice President & Assistant General Counsel
               New York
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               Executive Vice President and General Counsel
               Santander Bank, N.A.                                                                                                           Thomas Gordon • 3rd
               Apr 2015 – Present · 6 yrs 1 mo                                                                                                Vice President and Assistant General
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               EVP, General Counsel Consumer and Commercial Banking
               Citizens Bank                                                                                                                          Show more
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               * General Counsel for Consumer and Commercial Banking for RBS Citizens, N.A. ("CFG"), a $130
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               General Counsel for RBS Americas.
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                                                                                                                                              Technology Product Manager at Wolters
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               SVP and General Counsel, Chase Mortgage
                                                                                                                                                 Connect
               Chase
               1990 – 2011 · 21 yrs
                                                                                                                                              John Burger
               SVP, General Counsel JPMorgan Chase, Mortgage                                                                                  Professor of Economics at Loyola University
               Responsible for all legal support for Chase's mortgage business.                                                               Maryland

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   Education                                                                                                                                  James Kane
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               M&T Bank                                                                                                                      Drew P. Von Bargen, II • 3rd
               May 2015 – Present · 6 yrs                                                                                                    Attorney at Soloff & Zervanos, P.C.
               Wilmington, Delaware, United States
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   Education                                                                                                                                 In House Counsel at M&T Bank

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               University of Illinois at Urbana-Champaign                                                                                    Administration at Loyola University…
               Bachelor of Arts - BA, Political Science and English Literature
               2006 – 2010                                                                                                                      Connect

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                                                                                                                                             Fixed Income Sales & Trading Analyst at
   Operations Management                                                                                                                     Oppenheimer & Co. Inc.

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   Experienced Regulatory Counsel with a demonstrated history of working in the financial services industry. Skilled in                         Venomics project leader, SMARTOX
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                  May 2017 – Feb 2020 · 2 yrs 10 mos
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   Education                                                                                                                                    James Kane
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                  Georgetown University Law Center                                                                                              Financial Advisors
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                  1977 – 1980                                                                                                                      Connect

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                  Adelphi University                                                                                                            Assurance Intern at
                  Bachelor of Business Administration - BBA, Finance and History                                                                PricewaterhouseCoopers
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               M&T Bank
               8 yrs 3 mos                                                                                                              Glenn Jackson, Chief Diversity
                                                                                                                                        Officer • 2nd
               Senior Compliance Manager                                                                                                Collaborating with people, organizations
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               Aug 2020 – Present · 10 mos

               Buffalo, New York, United States                                                                                            Connect
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               Mar 2013 – Aug 2014 · 1 yr 6 mos
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               Buffalo/Niagara, New York Area

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               First Niagara Bank
               Apr 2012 – Mar 2013 · 1 yr
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               Consumer Mortgage Lending

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                                                                                          Kane
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                  Wachovia                                                                                                                  Financial Advisors
                  10 yrs 1 mo
                                                                                                                                              Connect
                  Assistant General Counsel
                                                                                                                                           Luke Hiltwein
                  Aug 2007 – Aug 2008 · 1 yr 1 mo
                                                                                                                                           Assurance Intern at
                  Consumer Real Estate Lending                                                                                             PricewaterhouseCoopers

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   Mortgage Lending · 15

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               M&T Bank
               16 yrs 2 mos                                                                                                                      Matthew Wisniewski • 3rd+
                                                                                                                                                 Parking Command Center Controller at
               Head of Litigation, Group Vice President, Senior Associate General Counsel                                                        Wayne State University Parking and…
               Dec 2015 – Present · 5 yrs 5 mos
                                                                                                                                                    Connect
               Buffalo, NY


               Litigation Practice Group Manager, Administrative Vice President and Associate General                                                    Show more
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               Dec 2009 – Nov 2015 · 6 yrs
               Buffalo/Niagara, New York Area
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               Mar 2005 – Dec 2009 · 4 yrs 10 mos                                                                                                Data Science Major, Minor in Business
                                                                                                                                                 Administration at Loyola University…

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               Senior Associate                                                                                                                  Kendall Moore
               Hiscock & Barclay, LLP                                                                                                            Technology Product Manager at Wolters
               Nov 1999 – Apr 2005 · 5 yrs 6 mos                                                                                                 Kluwer

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   Education                                                                                                                                     Christopher Maita
                                                                                                                                                 Fixed Income Sales & Trading Analyst at
               University of Toronto - University of St. Michael's College                                                                       Oppenheimer & Co. Inc.
               B.A., English, History, Economics
               1986 – 1989
                                                                                                                                                    Connect
               Activities and Societies: Varsity Rowing Team, St. Michael's College Athletic Director
                                                                                                                                                 James Kane
                                                                                                                                                Portfolio Administrator at Penobscot
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             University of Detroit School of Law
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Contact
                                      Miriam Dowd
www.linkedin.com/in/miriam-           Associate General Counsel at M&T Bank, Wealth and Institutional
dowd-45904940 (LinkedIn)              Services Commercial Litigation
                                      New York
Top Skills
Commercial Litigation                 Experience
Litigation
Civil Litigation
                                      M&T Bank
                                      1 year 11 months

                                      Associate General Counsel
                                      July 2019 - Present (1 year 11 months)
                                      350 Park Ave, New York, NY 10022


                                      Associate General Counsel,
                                      July 2019 - Present (1 year 11 months)
                                      350 Park Ave, New York, NY 10022


                                      Citizens Financial Group Inc
                                      SVP, Senior Counsel
                                      May 2013 - Present (8 years 1 month)


                                      JPMorgan Chase
                                      Vice President, Counsel
                                      December 2009 - April 2013 (3 years 5 months)




                                      Education
                                      Boston College Law School
                                      Doctor of Law - JD, Law · (1999)




                                                                         Page 1 of 1    080
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   About                                                                                                                                             President at Wilmington Funds
                                                                                                                                                     Management Corporation
   Specialties: Fiduciary, Estate Planning, Estate Administration, Taxation, Real Estate.
                                                                                                                                                        Connect

                                                                                                                                                     Sarah (Porter) Barsky • 3rd
                                                                                                                                                     Vice President at Wilmington Trust /(M&T
   Activity                                                                                                                                          Bank)
   504 followers
                                                                                                                                                        Connect
   Posts Neil created, shared, or commented on in the last 90 days are displayed here.
                                                                                                                                                     Melissa Thompson-Rivera, CTFA

                                                         See all activity                                                                            • 3rd
                                                                                                                                                     Fiduciary Risk Management

                                                                                                                                                        Message
   Experience
                                                                                                                                                     Bill Farrell • 2nd
                                                                                                                                                     Executive Vice President at Wilmington
                Associate General Counsel and Administrative Vice Presiden
                                                                                                                                                     Trust
                M&T Bank · Full-time
                Jan 2009 – Present · 12 yrs 4 mos                                                                                                       Connect
                Wilmington, Delaware, United States

                                                                                                                                                             Show more

                Senior Trust Counsel and Vice President
                Wilmington Trust/ M&T Bank
                Jan 2009 – Present · 12 yrs 4 mos                                                                                          People you may know
                Wilmington, Delaware
                                                                                                                                                     Nicholas Campa
                                                                                                                                                     Data Science Major, Minor in Business

                Vice President and Fiduciary Trust Counsel                                                                                           Administration at Loyola University…

                Wilmington Trust Company                                                                                                                Connect
                Jan 2009 – Present · 12 yrs 4 mos
                                                                                                                                                     Kendall Moore
                                                                                                                                                     Technology Product Manager at Wolters
                Attorney at Law                                                                                                                      Kluwer
                Cooch and Taylor, PA
                May 2007 – Jan 2009 · 1 yr 9 mos                                                                                                        Connect
                Estates &amp; Trusts, Taxation, Real Estate
                                                                                                                                                     Christopher Maita
                                                                                                                                                     Fixed Income Sales & Trading Analyst at
                                                                                                                                                     Oppenheimer & Co. Inc.
                Attorney at Law
                Begley & Bookbinder, PC                                                                                                                 Connect
                2003 – 2006 · 3 yrs                                                                                                                Messaging

https://www.linkedin.com/in/neil-derman-9277821/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAABKvq8BJednlyIMZKeqImOUxxzMs5Ethrw                              081                            1/3
5/6/2021                                                                                     Neil Derman | LinkedIn
                           Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 82James
                                                                                      of 113
                                                                                           Kane
                  Estate Planning, Estate Administration, Real Estate, Taxation, Elder Law
                                                                                                                                                    Portfolio Administrator at Penobscot
                                                                                             Home    My Network       Jobs   Messaging     Notifications       Me            Work          Lear
    Show 1 more experience                                                                                                                          Financial Advisors

                                                                                                                                                      Connect

                                                                                                                                                   Luke Hiltwein
   Education                                                                                                                                       Assurance Intern at
                                                                                                                                                   PricewaterhouseCoopers
                  Villanova University Charles Widger School of Law
                                                                                                                                                      Connect
                  LL.M., Taxation
                  2004 – 2007
                  Activities and Societies: C.E.P (Certificate in Estate Planning)                                                                        Show more


                  Rutgers Law School
                                                                                                                                           LEARNING
                  J.D., Law
                  2000 – 2003                                                                                                            Add new skills with these courses

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                                                                                                                                                            Rachel Botsman
                  University of Maryland
                  B.S., Accounting                                                                                                                          58,146 viewers
                  1996 – 2000
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   Skills & endorsements
                                                                                                                                                            121,053 viewers

   Estate Planning · 42
                                                                                                                                            Show more on LinkedIn Learning
           Endorsed by Kenneth A. Feinfield and 2 others who
                                                                           Endorsed by 4 of Neil’s colleagues at M&T Bank
           are highly skilled at this



   Trusts · 34

           Endorsed by Kenneth A. Feinfield and 1 other who
                                                                           Endorsed by 3 of Neil’s colleagues at M&T Bank
           is highly skilled at this



   Estate Administration · 21

           Endorsed by 2 of Neil’s colleagues at M&T Bank



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5/6/2021                                                                           Pamela Friedman | LinkedIn
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   Administrative Vice President and Senior Associate General                              Seton Hall University School                People also viewed
   Counsel at M&T Bank                                                                     of Law
                                                                                                                                                 John Park • 3rd
   New York City Metropolitan Area · 500+ connections ·
                                                                                                                                                 Group Vice President - Deputy General
   Contact info                                                                                                                                  Counsel at M&T Bank

                                                                                                                                                    Message

                                                                                                                                                 Laura O'Hara • 3rd
   Highlights                                                                                                                                    General Counsel at M&T Bank

             1 mutual connection                                                                                                                    Message
             You and Pamela both know Brian Bullard
                                                                                                                                                 Miriam Dowd • 3rd
                                                                                                                                                 Associate General Counsel at M&T Bank,
                                                                                                                                                 Wealth and Institutional Services…

                                                                                                                                                    Message
   About
                                                                                                                                                 Sabra Baum • 3rd
   Experienced privacy attorney with a demonstrated history of working in the financial services industry. Strong
                                                                                                                                                 M&T Bank - Senior Vice President - Deputy
   compliance professional skills in Banking, Securities, Securities Regulation, Risk Management. CIPP/US
                                                                                                                                                 General Counsel

                                                                                                                                                    Message

                                                                                                                                                 Don MacLeod • 3rd
   Activity
                                                                                                                                                 Administrative VP at M&T Bank
   1,232 followers
                                                                                                                                                 Corporation

             Big congratulations to you, Amanda!                             Big congrats Maggie! We will miss                                      Message
             Pamela commented                                                you!! All the best with the rest !
                                                                             Pamela commented
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             Congrats
             Pamela commented
                                                                                                                                       People you may know
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                                                                                                                                                 Nicholas Campa
                                                                                                                                                 Data Science Major, Minor in Business
                                                                                                                                                 Administration at Loyola University…

   Experience                                                                                                                                       Connect

                Administrative VP and Senior Associate General Counsel, Privacy and Cybersecurity                                                Kendall Moore
                M&T Bank                                                                                                                         Technology Product Manager at Wolters
                Apr 2019 – Present · 2 yrs 1 mo                                                                                                  Kluwer
                Greater New York City Area
                                                                                                                                                    Connect

                Chief Privacy Officer                                                                                                            Christopher Maita
                Santander US                                                                                                                     Fixed Income Sales & Trading Analyst at
                Jun 2018 – Mar 2019 · 10 mos                                                                                                     Oppenheimer & Co. Inc.
                Greater New York City Area
                                                                                                                                                    Connect

                                                                                                                                               Messaging
                                                                                                                                                James Kane

https://www.linkedin.com/in/pamela-friedman-35588b23/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAATvZDEB8K7jKMW0wVBzMiqeULD3…                           083                            1/3
5/6/2021                                                                            Pamela Friedman | LinkedIn
                          Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 84 of 113
                  Senior Deputy General Counsel                                                                                             Portfolio Administrator at Penobscot

                  Santander Bank, N.A.                                                                                                       Financial Advisors
                                                                                      Home     My Network     Jobs    Messaging     Notifications      Me          Work            Lear
                  2014 – Jun 2018 · 3 yrs                                                                                                      Connect
                  Greater New York City Area
                  Hired to build and manage a legal team of attorneys supporting the Compliance and Risk groups
                  across Santander’s US operations.                                                                                         Luke Hiltwein
                                                                                                                                            Assurance Intern at
                                                                                                                                            PricewaterhouseCoopers

                  Managing Director, Head of Strategy & Coordination Compliance Americas                                                       Connect
                  Commerzbank AG
                  2013 – 2014 · 1 yr
                  Greater New York City Area                                                                                                       Show more
                  Recruited to establish and manage a compliance team for the New York branch of the second
                  largest commercial bank in Germany. Reporting to Regional Head of Compliance for the Branch
                  and managing a team of 20. Coverage areas include governance and reporting; risk assessment                     Bryce, learn what hiring managers look
                  and compliance reviews; training and outreach; data analytics and exam management/regulatory
                                                                                                      …see more                   for in answers to top finance interview
                                                                                                                                  questions

                  Member of the Board of Directors
                  Easter Seals NJ                                                                                                            Define working capital.
                  2011 – 2014 · 3 yrs
                  Elected as a member of the Board of Directors to oversee the management and conduct of the
                  organization.                                                                                                              Which financial statement is
                  • Served on the Audit, Fiscal and By-Laws Committees.
                                                                                                                                             the most important?

    Show 5 more experiences
                                                                                                                                             How do the three financial
                                                                                                                                             statements link together?

   Education
                                                                                                                                                Preview questions
                  Seton Hall University School of Law
                  JD, Law
                  Activities and Societies: Phi Alpha Delta



                  The American University of Paris




                  The George Washington University
                  BA, International Studies-Economics




   Licenses & certifications

                  Certified Information Privacy Professional/United States (CIPP/US)
                  IAPP - International Association of Privacy Professionals
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   Skills & endorsements

   Banking · 25

           Endorsed by Suzanne Sandor Bove and 2 others                 Endorsed by 2 of Pamela’s colleagues at
           who are highly skilled at this                               Commerzbank AG



   Risk Management · 20

           Endorsed by Suzanne Sandor Bove and 5 others
                                                                        Endorsed by 2 of Pamela’s colleagues at RBS
           who are highly skilled at this



   Financial Services · 15

           Endorsed by Suzanne Sandor Bove and 2 others
                                                                        Endorsed by 2 of Pamela’s colleagues at RBS                       Messaging


                                                                                                                                                        084
           who are highly skilled at this

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5/6/2021                                                                            Paul Kucinski | LinkedIn
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   Paul Kucinski           · 3rd                                                         M&T Bank

   Administrative Vice President and Senior Counsel at M&T                                                                    People also viewed
   Bank
                                                                                                                                        Deborah Bennett • 3rd
   Buffalo, New York, United States · 253 connections · Contact info                                                                    Senior Vice President, Enterprise
                                                                                                                                        Transformation Office at M&T Bank

                                                                                                                                           Message

   Activity                                                                                                                             Scott Vahue • 3rd
   252 followers
                                                                                                                                        Senior Vice President at M&T Bank

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                                                                                                                                           Message

                                                      See all activity                                                                  Anthony Carroll • 3rd
                                                                                                                                        Vice President and Counsel at M&T Bank

                                                                                                                                           Message
   Experience
                                                                                                                                        Thomas Teaman • 3rd
                 Administrative Vice President & Senior Counsel                                                                         Administrative Vice President at M&T Bank

                 M&T Bank
                                                                                                                                           Message
                 Apr 2004 – Present · 17 yrs 1 mo

                                                                                                                                        Sabra Baum • 3rd
                                                                                                                                        M&T Bank - Senior Vice President - Deputy
                 Assistant General Counel
                                                                                                                                        General Counsel
                 Bank of America
                 1994 – 2003 · 9 yrs                                                                                                       Message


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   Skills & endorsements

   Mortgage Banking · 8                                                                                                       People you may know
   Christopher Bottcher and 7 connections have given endorsements for this skill
                                                                                                                                        Nicholas Campa
                                                                                                                                        Data Science Major, Minor in Business
   Loans · 7                                                                                                                            Administration at Loyola University…


           Endorsed by 3 of Paul’s colleagues at M&T Bank                                                                                  Connect

                                                                                                                                        Kendall Moore
                                                                                                                                        Technology Product Manager at Wolters
   Mortgage Lending · 5
                                                                                                                                        Kluwer
   Christopher Bottcher and 4 connections have given endorsements for this skill
                                                                                                                                           Connect

                                                      Show more                                                                         Christopher Maita
                                                                                                                                        Fixed Income Sales & Trading Analyst at
                                                                                                                                        Oppenheimer & Co. Inc.

                                                                                                                                           Connect

                                                                                                                                        James Kane
                                                                                                                                       Portfolio Administrator at Penobscot
                                                                                                                                      Messaging

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5/6/2021                                                                    Rebecca (Saeli) Podgorski | LinkedIn
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   Rebecca (Saeli) Podgorski                   · 3rd                                        M&T Bank

   Vice President and Associate General Counsel, Regulatory                                                                       People also viewed
                                                                                            SUNY Buffalo Law School
   Programs at M&T Bank
                                                                                                                                            Trish B. • 3rd
   Buffalo, New York, United States · 170 connections · Contact info
                                                                                                                                            Senior Corporate Counsel

                                                                                                                                               Message

                                                                                                                                            C. Michael Zabel • 2nd
   About
                                                                                                                                            Skilled and seasoned corporate
                                                                                                                                            communications leader
   Admitted to New York State Bar, 2014
   Admitted to Massachusetts State Bar, 2014                                                                                                   Connect

                                                                                                                                            Dan Morgan • 3rd
                                                                                                                                            Director of Player Personnel at Buffalo Bills
   Activity
                                                                                                                                               Message
   171 followers

   Posts Rebecca created, shared, or commented on in the last 90 days are displayed here.                                                   Jason Reid • 3rd
                                                                                                                                            Vice President- Sales Executive Surety &
                                                                                                                                            Property/Casualty
                                                     See all activity
                                                                                                                                               Message

                                                                                                                                            Lori Richards • 3rd
   Experience                                                                                                                               Procurement Specialist at Derrick
                                                                                                                                            Corporation
               M&T Bank
                                                                                                                                               Message
               7 yrs 1 mo


               Vice President and Associate General Counsel, Regulatory Programs
               Full-time                                                                                                                            Show more
               Oct 2020 – Present · 7 mos

               Vice President and Counsel, Regulatory Programs
               Full-time                                                                                                          People you may know
               Jan 2020 – Oct 2020 · 10 mos
               Buffalo, New York                                                                                                            Nicholas Campa
                                                                                                                                            Data Science Major, Minor in Business

               Assistant Vice President, Regulatory Programs Counsel                                                                        Administration at Loyola University…

               Oct 2018 – Jan 2020 · 1 yr 4 mos                                                                                                Connect
               Buffalo, New York

                                                                                                                                            Kendall Moore
               Assistant Vice President, BSA/AML/OFAC Compliance                                                                            Technology Product Manager at Wolters
               Jan 2017 – Oct 2018 · 1 yr 10 mos                                                                                            Kluwer

                                                                                                                                               Connect
               Banking Officer
               Mar 2015 – Jan 2017 · 1 yr 11 mos
                                                                                                                                            Christopher Maita
               AML/BSA/OFAC Compliance                                                                                                      Fixed Income Sales & Trading Analyst at
                                                                                                                                            Oppenheimer & Co. Inc.

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                                                                                                                                                        086
                                                                                                                                           James Kane

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5/6/2021                                                        Rebecca (Saeli) Podgorski | LinkedIn
                     Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 87Portfolio
                                                                                of 113   Administrator at Penobscot
   Education                                                                                                                  Financial Advisors
                                                                      Home     My Network    Jobs      Messaging     Notifications      Me              Work    Lear

             SUNY Buffalo Law School                                                                                            Connect
             Juris Doctor (J.D.)
             2013                                                                                                            Luke Hiltwein
                                                                                                                             Assurance Intern at
                                                                                                                             PricewaterhouseCoopers
             State University of New York at Buffalo                                                                            Connect
             Bachelor's Degree, Social Sciences/Legal Studies
             2006
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   Licenses & certifications                                                                                         LEARNING

             Certified Regulatory Compliance Manager (CRCM)                                                        Add new skills with these courses
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5/6/2021                                                                           Robert Atkinson | LinkedIn
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   Robert Atkinson             · 3rd                                                       M&T Bank

   Vice President, Assistant General Counsel at M&T Bank                                   State University of New York               People also viewed
   Buffalo, New York, United States · 500+ connections ·                                   at Buffalo - Law School
                                                                                                                                                Pat Schunk • 3rd
   Contact info                                                                                                                                 Administrative Vice President at M&T Bank

                                                                                                                                                   Message

                                                                                                                                                Emily Brosius • 3rd
   Activity
                                                                                                                                                Manager, Claims Administration
   811 followers

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                                                                                                                                                Holly Wynn • 3rd
                                                     See all activity                                                                           ADA Program Partner at Centene
                                                                                                                                                Corporation

                                                                                                                                                   Message
   Experience
                                                                                                                                                Marjorie (Baker) Davis • 3rd
                                                                                                                                                Senior Business Systems Analyst at
               Vice President, Assistant General Counsel
                                                                                                                                                Centene Corporation
               M&T Bank
               Dec 2018 – Present · 2 yrs 5 mos                                                                                                    Message
               1 M&T Plaza, Buffalo, NY
                                                                                                                                                Bijay Mangaraj • 3rd
                                                                                                                                                Vice President, Customer Asset
               Registered Patent Attorney                                                                                                       Management Technology at M&T Bank
               Simpson & Simpson, PLLC
               Jul 2003 – Dec 2018 · 15 yrs 6 mos                                                                                                  Message


                                                                                                                                                        Show more
               Engineering Manager
               Reichert, Inc
               Nov 2002 – Jul 2003 · 9 mos

                                                                                                                                      People you may know

               Engineering Manager                                                                                                              Nicholas Campa
               Leica Microsystems                                                                                                               Data Science Major, Minor in Business

               Jul 1995 – Nov 2002 · 7 yrs 5 mos                                                                                                Administration at Loyola University…

               Included other positions: Development and Applications Engineer                                                                     Connect

                                                                                                                                                Kendall Moore
                                                                                                                                                Technology Product Manager at Wolters
   Education                                                                                                                                    Kluwer

               State University of New York at Buffalo - Law School                                                                                Connect
               Doctor of Law (J.D.)
               2003 – 2006                                                                                                                      Christopher Maita
                                                                                                                                                Fixed Income Sales & Trading Analyst at
                                                                                                                                                Oppenheimer & Co. Inc.
               State University of New York at Buffalo                                                                                             Connect
               Bachelor of Science (B.S.), Chemical Engineering
               1993 – 1995
                                                                                                                                               James Kane
                                                                                                                                              Messaging


                                                                                                                                                            088
                                                                                                                                                Portfolio Administrator at Penobscot

https://www.linkedin.com/in/robert-atkinson-a8405915/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAAMIZ8QBPV7QZlJfMjcKEMvef5l_q03icys                                                   1/2
5/6/2021                                                                            Robert Tuleya | LinkedIn
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   Robert Tuleya           · 3rd                                                           M&T Bank

   Vice President and Assistant General Counsel at M&T Bank                                Vanderbilt University Law               People also viewed
   Wilmington, Delaware, United States · 443 connections ·                                 School
                                                                                                                                             Katherine McGovern • 3rd
   Contact info                                                                                                                              Director of Operations

                                                                                                                                                Message

                                                                                                                                             Alicia Griffin Powell • 3rd
   Activity
                                                                                                                                             Deputy General Counsel of Corporate
   443 followers
                                                                                                                                             Governance & Corporate Secretary at PNC
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                                                                                                                                                Message

                                                     See all activity                                                                        Alison Church • 3rd
                                                                                                                                             Owner of Alison Church Photography, Inc.

                                                                                                                                                Connect
   Experience
                                                                                                                                             Howard Kaplan • 3rd
                                                                                                                                             Sr Securities Analyst at Bank of America
               Vice President and Counsel
                                                                                                                                             {Contractor}
               M&T Bank
               Jan 2017 – Present · 4 yrs 4 mos                                                                                                 Connect
               Wilmington, Delaware

                                                                                                                                             Susan Nash • 2nd
                                                                                                                                             Financial Services
               Senior Counsel
               PNC Financial Services Group                                                                                                     Connect
               Mar 2013 – Jan 2017 · 3 yrs 11 mos
               Greater Philadelphia Area
                                                                                                                                                     Show more

               Director and Counsel
               The Cipperman Companies
               Nov 2011 – Feb 2013 · 1 yr 4 mos                                                                                    People you may know
               Wayne, PA
                                                                                                                                             Nicholas Campa
                                                                                                                                             Data Science Major, Minor in Business
               Vice President and Senior Counsel                                                                                             Administration at Loyola University…

               BNY Mellon                                                                                                                       Connect
               Feb 2008 – Apr 2011 · 3 yrs 3 mos
               Chief Legal Officer of BNY Mellon Managed Investments (formerly PNC Managed Investments)                                      Kendall Moore
                                                                                                                                             Technology Product Manager at Wolters
                                                                                                                                             Kluwer
               Senior Counsel
                                                                                                                                                Connect
               US Securities and Exchange Commission
               Nov 2000 – Feb 2008 · 7 yrs 4 mos
                                                                                                                                             Christopher Maita
               Division of Investment Management, Office of Investment Adviser Regulation                                                    Fixed Income Sales & Trading Analyst at
                                                                                                                                             Oppenheimer & Co. Inc.
    Show 1 more experience
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                                                                                                                                             James Kane
                                                                                                                                            Portfolio Administrator at Penobscot
                                                                                                                                           Messaging
   Education
https://www.linkedin.com/in/robert-tuleya-06a5153b/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAAhw3xIBdmYnS268mJjAlDlIxGTZjSNpeEI                   089                            1/2
5/6/2021                                                           Robert Tuleya | LinkedIn
                    Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 90 of 113
             Vanderbilt University Law School                                                                             Connect
                                                                   Home     My Network    Jobs   Messaging     Notifications    Me               Work    Lear
             J.D., Law
             1996 – 1999                                                                                               Luke Hiltwein
                                                                                                                       Assurance Intern at
                                                                                                                       PricewaterhouseCoopers
             The College of William and Mary
                                                                                                                          Connect
             A.B., cum laude, Government
             1992 – 1996
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                                                                                                                                  090
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                 Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 91 of 113
Contact
                                      Sabra Baum
www.linkedin.com/in/sabra-            M&T Bank - Senior Vice President - Deputy General Counsel
baum-1966247 (LinkedIn)               New York

Top Skills                            Summary
Corporate Law
                                      Head of Corporate Legal Division, supporting: Corporate
Mergers
                                      Governance (including board meetings and board succession
Private Equity
                                      planning); Investor Relations; Executive Compensation; M&A,
Certifications                        Divestitures and Investment Transactions; SEC and Public
                                      Disclosures (Forms 10-K, 10-Q, 8-K, 4, Proxy); Disclosures and
Certified Regulatory Compliance
Manager (CRCM)                        Audit Committee; ESG; Treasury and Capital Markets (capital,
Certified Information Privacy         liquidity and balance sheet transactions); Bank Regulatory (Reg
Professional/United States (CIPPUS)   W, Volcker Rule, Bank Lending Limits, Reg O); Regulatory Exams;
                                      Regulatory Notifications Process; Liaising with regulators (NYSDFS,
                                      FRB and OCC); Employment (including agency charges, employee
                                      complaints, benefits plans and compensation); Employment
                                      Litigation; Internal Investigations; Privacy, Cybersecurity and Data.


                                      Prior Head of Enterprise-Wide Legal Division, supporting:
                                      Compliance, Conduct and Ethics Programs; Government laws (pay-
                                      to-play, lobbying, anti-bribery, gifting); Fraud; AML/BSA/OFAC;
                                      Customer Complaints Program; New Products/Services Program;
                                      Third Party Risk Management; Procurement and Vendor Contracts;
                                      Corporate Real Estate; and Intellectual Property.


                                      Prior Head of Wealth and Institutional Services Legal Division
                                      (WISD), supporting: Global Capital Markets division (commercial
                                      transactions for securitization, syndicated lending, M&A and other
                                      investment banking transactions); Retirement Plan Services; Private
                                      Banking; Wealth Advisory Services (including trust, custody, agency
                                      and family wealth office services); Investment Management (RIAs
                                      and Wilmington Funds); M&T Securities (broker-dealer); M&T
                                      Insurance Agency.


                                      Prior bank counsel supporting: Consumer and Commercial Deposits;
                                      Cash Management; Treasury Management; Payments; Digital.



                                      Experience
                                                                    Page 1 of 3           091
Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 92 of 113

                   M&T Bank
                   Senior Vice President - Deputy General Counsel
                   2011 - Present (10 years)
                   New York

                   Head of Corporate Legal Division, supporting: Corporate Governance;
                   Executive Compensation; M&A and Divestitures; Public Disclosures (10-
                   K, 10-Q, 8-K, Proxy, Section 16/Form 4 Filings); Member of Disclosures
                   Committee; Treasury (including derivatives, swaps and securitization
                   transactions, liquidity and capital rules); Regulatory (including liaising with
                   regulators, regulatory approvals and notifications, branching and licensing).


                   Head of Enterprise-Wide Banking Legal Division, supporting: Legal Risk
                   Program; Compliance and Ethics Programs; New Products & Services;
                   Customer Complaints; AML/BSA/OFAC; Privacy and Cybersecurity;
                   Intellectual Property; Third Party Risk Management, Vendor, Procurement;
                   Employment (including employees complaints, litigation and leading internal
                   investigations); Corporate Real Estate. Designing and implementing policies,
                   procedures and controls to streamline and enhance legal support of the bank.


                   Previously, Head of the Wealth and Institutional Services Division of the
                   Legal Department of M&T Bank and Wilmington Trust affiliates, supporting
                   Asset Management; Wealth Advisory Services (personal trust and investment
                   management); Private Banking; Global Capital Markets (corporate trust and
                   escrows); Retirement Plan Services and M&T Securities.


                   Member of the Deposits & Cash Management Legal Division, supporting
                   commercial and consumer deposits, cash management, treasury management
                   and payments (including wires and ACH).


                   Double Rock Corporation
                   Assistant General Counsel and Chief Compliance Officer
                   May 2010 - July 2011 (1 year 3 months)
                   Financial Services technology company. Affiliate of the Reserve Funds.
                   Primary legal support for the expanded FDIC insured deposit products. Legal
                   support for the sale of Double Rock Corporation


                   GE Healthcare
                   Legal Counsel
                   January 2009 - May 2010 (1 year 5 months)



                                                        Page 2 of 3                092
Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 93 of 113

                   Drafting and negotiating commercial and global corporate transaction
                   agreements. Providing legal advice.


                   Davis Polk & Wardwell LLP
                   Senior Associate
                   2006 - 2009 (3 years)
                   M&A (Mergers & Acquisitions); Private Equity; Corporate; Commercial


                   Arnold Bloch Leibler
                   Associate
                   2001 - 2005 (4 years)
                   M&A (Mergers & Acquisitions); Corporate; Commercial




                   Education
                   University of Toronto
                   LLM, Masters of Law · (2005 - 2006)


                   Securities Institute of Australia
                   Graduate Diploma of Applied Finance & Investment · (2002 - 2004)


                   Murdoch University
                   LLB & BA, Law and Arts · (1994 - 1999)




                                                     Page 3 of 3             093
5/6/2021                                                                         Sarah K. Ranni | LinkedIn
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    Vice President and Associate General Counsel at M&T Bank                          State University of New York               People also viewed
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                                                                                                                                           Town of Evans Justice & Labor Relations
                                                                                                                                           Specialist

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                                                                                                                                           Employee Relations Manager, M&T Bank

    Experience                                                                                                                                Connect

                M&T Bank                                                                                                                   Miriam Dowd • 3rd
                2 yrs 8 mos                                                                                                                Associate General Counsel at M&T Bank,
                                                                                                                                           Wealth and Institutional Services…
                Vice President and Associate General Counsel
                                                                                                                                              Message
                Full-time
                Oct 2020 – Present · 7 mos
                Buffalo, New York, United States                                                                                           Andrew Flame • 3rd
                                                                                                                                           Vice President and Associate General
                                                                                                                                           Counsel at M&T Bank
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                Sep 2018 – Oct 2020 · 2 yrs 2 mos
                Buffalo, New York, United States
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                Counsel                                                                                                          People you may know
                Nixon Peabody LLP
                Jan 2015 – Aug 2018 · 3 yrs 8 mos                                                                                          Kendall Moore
                Retirement and health and welfare employee benefit counseling.                                                             Technology Product Manager at Wolters
                                                                                                                                           Kluwer

                                                                                                                                              Connect
                Attorney
                Phillips Lytle LLP                                                                                                         John Burger
                Jun 2007 – Jan 2015 · 7 yrs 8 mos                                                                                          Professor of Economics at Loyola University
                Buffalo/Niagara, New York Area
                                                                                                                                           Maryland
                Retirement and health and welfare employee benefit counseling.
                                                                                                                                              Connect

                                                                                                                                           James Kane
                Attorney
                                                                                                                                           Portfolio Administrator at Penobscot
                Lipsitz Green Scime Cambria LLP
                                                                                                                                           Financial Advisors
                Sep 2006 – Jun 2007 · 10 mos
                Buffalo/Niagara, New York Area                                                                                                Connect
                Retirement and health and welfare employee benefit counseling.                                                           Messaging

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                                                                                 of 113
                                                                                      Braswell
                                                                                                                                Finance Major at Loyola University
               Attorney                                                    Home     My Network    Jobs   Messaging     Notifications     Me             Work            Lear
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               Ecology and Environment, Inc
               Aug 2004 – Sep 2006 · 2 yrs 2 mos                                                                                  Connect
               Buffalo/Niagara, New York Area
                                                                                                                               William Rosa
               In-house corporate attorney for publicly-traded company.
                                                                                                                               Underwriting Assistant at MSIG Holdings
                                                                                                                               (U.S.A.), Inc. - Mitsui Sumitomo Marine…

                                                                                                                                  Connect
    Education

               State University of New York at Buffalo - Law School                                                                   Show more
               Doctor of Law (J.D.)
               2001 – 2004
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               Fordham University
               BA, Economics                                                                                                            Human Resources:
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   Contact info                                                                                                                            Attorney

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               Vice President - Special Assets                                                                                             Director at Richards, Layton & Finger

               M & T Bank
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               Jun 2013 – Present · 7 yrs 11 mos

                                                                                                                                           Elaine B. Llanos MSN, RN, OCN

               Senior Director                                                                                                             • 3rd
                                                                                                                                           Phase I Oncology Clinical Trials RN at
               Gavin/Solmonese LLC
                                                                                                                                           Memorial Sloan Kettering Cancer Center
               Sep 2008 – Apr 2013 · 4 yrs 8 mos
                                                                                                                                                Message

               Director
               NHB Advisors                                                                                                                        Show more
               2008 – Mar 2012 · 4 yrs



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               Consultant
               Walker Nell Consultants, Inc.
                                                                                                                                           Kendall Moore
               Sep 2004 – Sep 2008 · 4 yrs 1 mo
                                                                                                                                           Technology Product Manager at Wolters
                                                                                                                                           Kluwer

               Attorney                                                                                                                         Connect
               Becket & Lee LLP
               2001 – 2004 · 3 yrs                                                                                                         John Burger
                                                                                                                                           Professor of Economics at Loyola University

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                                                                                                                                           James Kane
   Education                                                                                                                               Portfolio Administrator at Penobscot
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               Penn State University
               Bachelor of Science, Accounting                                                                                                  Connect
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                                                                                                                                                 Finance Major at Loyola University
                     Syracuse University
                                                                                                                                                          |                  f
                     J.D.                                                                  Home      My Network     Jobs   Messaging     Notifications    Me
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                                                                                                                                                                         Work          Lear
                     1997 – 2000
                     Activities and Societies: Law Review
                                                                                                                                                 William Rosa
                                                                                                                                                 Underwriting Assistant at MSIG Holdings
                                                                                                                                                 (U.S.A.), Inc. - Mitsui Sumitomo Marine…

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   Skills & endorsements

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   Due Diligence · 49                                                                                                                  questions
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           highly skilled at this                                           Advisors                                                              How do you value a company?


   Corporate Governance · 37
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           Endorsed by Sharon Levine, who is highly skilled at              Endorsed by 2 of Sarah’s colleagues at NHB
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                  Chief Executive Officer at
                  Drpaudi Fashion LLC
                  April 6, 2010, Pradip was a client
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                  November 5, 2008, Sarah was a
                  client of Mike’s




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                                                                                                                                                John Park • 3rd
   Contact info                                                                                                                                 Group Vice President - Deputy General
                                                                                                                                                Counsel at M&T Bank

                                                                                                                                                   Message

   About                                                                                                                                        Sabra Baum • 3rd
                                                                                                                                                M&T Bank - Senior Vice President - Deputy
   Experienced attorney focused on counseling clients on regulatory compliance and representing clients in government
                                                                                                                                                General Counsel
   investigations/enforcement actions, complex commercial litigation, and employment matters. Also serves as an adjunct
   professor in the Political Science department at Canisius College.                                                                              Message

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   Activity                                                                                                                                     Counsel at M&T Bank

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               Vice President, Assistant General Counsel
               Full-time
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               Vice President, Commercial Litigation Counsel                                                                                    Technology Product Manager at Wolters
               Aug 2019 – Oct 2020 · 1 yr 3 mos                                                                                                 Kluwer
               Buffalo, New York
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                                                                                                                                                John Burger
               Adjunct Professor- Department of Political Science                                                                               Professor of Economics at Loyola University
               Canisius College                                                                                                                 Maryland
               Jul 2011 – Present · 9 yrs 10 mos
               Buffalo, NY                                                                                                                         Connect

               Current course: PSC 103: Constitutional Foundations. An introduction to the United States
                                                                                                                                                James Kane
               Constitution, political theory, constitutional interpretation, and the constitutional underpinnings of
                                                                                                                                                Portfolio Administrator at Penobscot
               the American political system.
                                                                                                                                                Financial Advisors

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               Partner
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https://www.linkedin.com/in/stacey-moar-10004317/                                                                                                           099                            1/3
5/6/2021                                                                           Stacey Moar | LinkedIn
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                 Feb 2013 – Aug 2019 · 6 yrs 7 mos                                                                                       Finance Major at Loyola University
                 Buffalo/Niagara, New York Area                                                                                           Maryland | Sellinger School of Business
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                                                                                                                                            Connect
                 Attorney
                 Damon Morey LLP                                                                                                         William Rosa
                                                                                                                                         Underwriting Assistant at MSIG Holdings
                 Aug 2009 – Feb 2013 · 3 yrs 7 mos
                                                                                                                                         (U.S.A.), Inc. - Mitsui Sumitomo Marine…
                 Attorney in the Labor & Employment and Business Litigation departments.
                                                                                                                                            Connect

                 Intern
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                 Court of Appeals for the District of Columbia
                 Dec 2008 – Mar 2009 · 4 mos
                 Worked in the chambers of the Hon. Judge Anna Blackburne-Rigsby. Prepared bench                                 LEARNING
                 memorandums, draft decisions, and assisted in preparation for oral arguments.
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                 2006 – 2009

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                 BA, Political Science, European Studies, All-College Honors
                 2002 – 2006
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                 Lockport Senior High School
                 Regent Diploma
                 1998 – 2002




   Skills & endorsements

   Legal Research · 16

           Endorsed by 3 of Stacey’s colleagues at M&T Bank



   Legal Writing · 12

           Endorsed by 4 of Stacey’s colleagues at M&T Bank



   Appeals · 6

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   Buffalo, New York, United States · 243 connections · Contact info                         Law School
                                                                                                                                                Maggie McTigue • 3rd
                                                                                                                                                Vice President, Credit Card Product
                                                                                                                                                Manager at M&T Bank

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   Activity
   243 followers
                                                                                                                                                Lindsey Chandler Meyer • 2nd
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                                                                                                                                                Senior Associate at Alston & Bird


   Experience                                                                                                                                      Connect

               Vice President & Assistant General Counsel                                                                                       Kaysie Winiecki, MBA • 3rd
               M&T Bank                                                                                                                         Loan Administration Specialist II at M&T
               Apr 2019 – Present · 2 yrs 1 mo                                                                                                  Bank
               Buffalo/Niagara, New York Area
                                                                                                                                                   Message


               General Practice Associate                                                                                                       Michael Stellrecht • 3rd
                                                                                                                                                Credit Analyst II at M&T Bank
               Sullivan & Cromwell LLP
               Aug 2013 – Mar 2019 · 5 yrs 8 mos                                                                                                   Message
               New York, New York

                                                                                                                                                        Show more
               Student
               University of Pennsylvania Law School
               2009 – Apr 2013 · 3 yrs
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                                                                                                                                                Nicholas Campa
               Summer Associate                                                                                                                 Data Science Major, Minor in Business
               Sullivan & Cromwell LLP                                                                                                          Administration at Loyola University…
               Apr 2012 – Jul 2012 · 4 mos
               New York, New York
                                                                                                                                                   Connect

                                                                                                                                                Kendall Moore
                                                                                                                                                Technology Product Manager at Wolters
               Judicial Intern
                                                                                                                                                Kluwer
               The Hon. Louis H. Pollak, Senior Judge of the U.S. Distrcit Court for the Eastern District of PA
               May 2011 – Jul 2011 · 3 mos                                                                                                         Connect
               Philadelphia, PA
               Drafted bench memoranda on various legal issues, including substantive and procedural due                                        Christopher Maita
               process, the Eighth Amendment as applied to prisoner medical care, sovereign immunity,                                           Fixed Income Sales & Trading Analyst at
               awarding of attorney's fees, social security benefits, and habeas corpus petitions.                                              Oppenheimer & Co. Inc.

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                                                                                                                                               Portfolio Administrator at Penobscot
                                                                                                                                              Messaging

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   Education                                                                                                                                   Connect
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             University of Pennsylvania Law School
                                                                                                                                            Luke Hiltwein
             J.D. Candidate, May 2013                                                                                                       Assurance Intern at
             2010 – 2013
                                                                                                                                            PricewaterhouseCoopers
             Activities and Societies: University of Pennsylvania Law Review Senior Editor, Legal Writing Honors,
             Penn Housing Rights Project "Volunteer of the Year," Guild Food Stamp Clinic member, Health Law                                   Connect
             & Policy Project: Immigration Health Law volunteer, L.E.A.R.N. Special Education Project volunteer,
             Penn Law Basketball League, Penn Law Bowling League
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             Syracuse University
             Bachelor of Arts (B.A.), Journalism and Political Philosophy                                                           LEARNING
             2001 – 2005
                                                                                                                                  Add new skills with these courses
             Activities and Societies: Summa Cum Laude, Phi Beta Kappa, Commencement Speaker for S.I.
             Newhouse School of Communications, College Marshal, University Honors Program in Political                                              CIPP/US Cert Prep: 3
             Philosophy, Founders' Scholar, Study Abroad in London, England.                                                                         Government and Court…

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                                                                                                                                          Patrick Noe • 3rd
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                                                                                                                                          Noe Jr

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   About
   Specialties: Procurement contracts                                                                                                     Art Salman • 3rd
                                                                                                                                          Deputy General Counsel at M&T Bank

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   244 followers                                                                                                                          Assistant Vice President - M&T Bank

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                                                                                                                                          Specialist at M&T Bank

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               Associate General Counsel                                                                                                  Probate and Estates
               M&T Bank
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   Interests
               Financial Services Regulation                              Corporate Counsel and Compliance Excha                People you may know
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                                                                                                                                          Data Science Major, Minor in Business
               Compliance & FCPA - Corporate Complian                     M&T Bank                                                        Administration at Loyola University…
               787 members                                                85,410 followers
                                                                                                                                             Connect

                                                                                                                                          Kendall Moore
               WNY Women In Banking                                                                                                       Technology Product Manager at Wolters
               84 members
                                                                                                                                          Kluwer

                                                                                                                                             Connect

                                                                                                                                          Christopher Maita
                                                                                                                                          Fixed Income Sales & Trading Analyst at
                                                                                                                                          Oppenheimer & Co. Inc.

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                                                                                                                                          James Kane
                                                                                                                                         Portfolio Administrator at Penobscot
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https://www.linkedin.com/in/suzanne-risman-37382010/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAAJBxAcBH7VF3NdOS-dD_sZ3msMk4…                    103                            1/2
5/6/2021                                                                         Thomas Frederick | LinkedIn
                         Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 104 of 113
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   In House Counsel at M&T Bank                                                             University at Buffalo School               People also viewed
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                                                                                                                                                 Sean McCormick • 3rd
                                                                                                                                                 Assistant Vice President & Attorney at
                                                                                                                                                 M&T Bank

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   Activity
   25 followers
                                                                                                                                                 Dawn W. Emery, M.A., J.D. • 3rd
   Posts Thomas created, shared, or commented on in the last 90 days are displayed here.                                                         Entrepreneur and Realtor / Certified Real
                                                                                                                                                 Estate Negotiator


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                                                                                                                                                 Chris Blake • 3rd
                                                                                                                                                 Director of Sales and Strategic Planning -
   Experience                                                                                                                                    Institutional Retirement Services at M&T…

                                                                                                                                                    Message
                  Attorney
                  M&T Bank
                                                                                                                                                 John Park • 3rd
                  Sep 2008 – Present · 12 yrs 8 mos
                                                                                                                                                 Group Vice President - Deputy General
                                                                                                                                                 Counsel at M&T Bank

                                                                                                                                                    Message
   Education
                                                                                                                                                 Lauren Mercado • 3rd
                  University at Buffalo School of Law                                                                                            In-House Counsel M&T Bank | Wilmington
                  1999 – 2002                                                                                                                    Trust

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                  State University of New York College at Buffalo
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   Interests                                                                                                                                     Nicholas Campa
                                                                                                                                                 Data Science Major, Minor in Business
                  State University of New York College at Bu             University at Buffalo School of Law                                     Administration at Loyola University…
                  59,040 followers                                       17,889 followers
                                                                                                                                                    Connect

                                                                                                                                                 Kendall Moore
                  Sugarman Law Firm, LLP
                  180 followers                                                                                                                  Technology Product Manager at Wolters
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                                                                                                                                                 Christopher Maita
                                                                                                                                                 Fixed Income Sales & Trading Analyst at
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               Case 1:21-cv-00532-SAG Document 113 Filed 09/14/21 Page 105 of 113
Contact
                                  Thomas Gordon
www.linkedin.com/in/thomas-       Vice President and Assistant General Counsel at M&T Bank
gordon-a028224 (LinkedIn)         Buffalo


                                  Experience
                                  M&T Bank
                                  Vice President and Assistant General Counsel
                                  September 2019 - Present (1 year 9 months)


                                  Gross Shuman P.C.
                                  Attorney
                                  May 2006 - August 2019 (13 years 4 months)


                                  Gross, Shuman, Brizdle & Gilfillan, P.C.
                                  Law Clerk
                                  June 2004 - May 2006 (2 years)


                                  VOLUNTEER INCOME TAX ASSISTANCE (VITA)
                                  Site Coordinator
                                  September 2003 - May 2005 (1 year 9 months)
                                  Trained volunteers in tax preparation, assisted in administration of VITA sites
                                  in Western New York and performed individual and small business returns.
                                  * VITA is an IRS-sponsored program coordinated by SUNY at Buffalo Law
                                  School that offers free tax help to low-income individuals, families and small
                                  businesses that are unable to prepare their own tax returns.




                                  Education
                                  University at Buffalo School of Law
                                  JD, Law · (2002 - 2005)


                                  College of the Holy Cross
                                  Bachelor of Arts (B.A.), English · (1997 - 2001)




                                                                     Page 1 of 1                 105
5/6/2021                                                                        Timothy S. Johnson | LinkedIn
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            Timothy S. Johnson
                          Leveraging data, insights - CUNA Strategic Services aligns credit unions with solution providers. Ad
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            Administrative Vice President & Associate General Counsel at M&T Bank
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   Administrative Vice President & Associate General Counsel                             Duquesne University School                  People also viewed
   at M&T Bank                                                                           of Law
                                                                                                                                               Jason E. Hazlewood • 3rd
   Pittsburgh, Pennsylvania, United States · 500+ connections ·                                                                                Managing Partner of the Pittsburgh Office -
   Contact info                                                                                                                                Reed Smith LLP Litigation Partner at Reed…

                                                                                                                                                  Message

                                                                                                                                               Alicia Griffin Powell • 3rd
   About                                                                                                                                       Deputy General Counsel of Corporate
                                                                                                                                               Governance & Corporate Secretary at PNC
   After a 20 year career at Reed Smith, I am honored to have joined the great team at my former client, now employer,
   M&T Bank/Wilmington Trust, where I have the privilege of supporting the Retirement and Institutional Custody                                   Message
   Services businesses.
                                                                                                                                               Gina Ali • 3rd
                                                                                                                                               Marketing Business Analyst at Fisher
                                                                                                                                               Investments

   Activity                                                                                                                                       Message
   1,147 followers
                                                                                                                                               Edward Phillips • 3rd
             I enjoyed the read! Well done!                                Good for you Martha!                                                Associate at Babst Calland
             Timothy S. replied to a comment                               Congratulations!
                                                                                                                                                  Message
                                                                           Timothy S. commented

                                                                                                                                               J.J. Barrett • 3rd
             Congrats Jeff!                                                A true servant leader.
                                                                                                                                               Sr. Digital Product Manager at PNC
             Timothy S. commented                                          Timothy S. commented
                                                                                                                                                  Message


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   Experience                                                                                                                        People you may know

               Administrative Vice President & Associate General Counsel                                                                       Nicholas Campa
               M&T Bank · Full-time                                                                                                            Data Science Major, Minor in Business
               Jan 2020 – Present · 1 yr 4 mos                                                                                                 Administration at Loyola University…
               Greater Pittsburgh Region
                                                                                                                                                  Connect
               In-house counsel supporting the Retirement and Institutional Custody Services businesses of M&T
               Bank/Wilmington Trust.
                                                                                                                                               Kendall Moore
                                                                                                                                               Technology Product Manager at Wolters
                                                                                                                                               Kluwer
               Partner
               Reed Smith, LLP                                                                                                                    Connect
               2001 – Jan 2020 · 18 yrs
               Greater Pittsburgh Area                                                                                                         Christopher Maita
               Chair of Reed Smith's regulatory investment management practice, heading up recruiting efforts                                  Fixed Income Sales & Trading Analyst at

               in that area, and leading teams of lawyers in meeting clients' needs. In this latter role, I:                                   Oppenheimer & Co. Inc.

                                                                                                                                                  Connect
               -acted as Fund Counsel for a small registered investment company;                      …see more

                                                                                                                                              James Kane
                                                                                                                                             Messaging
                                  Johnson, Timothy S. -

                                                                                                                                                           106
                                                                                                                                               Portfolio Administrator at Penobscot

https://www.linkedin.com/in/timothysjohnson1/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAAAbMRcBdBqSCIEVBCdwKI6zKvDGy9qgF-c                                                          1/3
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                                      People - Reed Smith                                                                                      Financial Advisors

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                Vice President
              Timothy          and Corporate Counsel
                      S. Johnson                                                                                                               LukeMessage
                                                                                                                                                    Hiltwein         More…
                Federated Investors,
              Administrative          Inc. & Associate General Counsel at M&T Bank
                             Vice President                                                                                                    Assurance Intern at
                1995 – 2001 · 6 yrs                                                                                                            PricewaterhouseCoopers
                Greater Pittsburgh Area
                                                                                                                                                  Connect
                 As in-house counsel I provided services to third-party advised mutual funds for which Federated
                 provided administrative services, including legal-regulatory administrative services. In this role I
                 routinely:                                                                                                                          Show more
                                                                                                            …see more


                                                                                                                                      Bryce, learn what hiring managers look
                 Associate
                                                                                                                                      for in answers to top finance interview
                 Reed Smith, LLP
                 1993 – 1995 · 2 yrs                                                                                                  questions
                 Greater Pittsburgh Area
                 As an associate at Reed Smith I focused exclusively on transactions and securities offerings,                                 Where do you see the markets
                 including:                                                                                                                    going this year?

                 -mergers and acquisitions;                                                               …see more
                                                                                                                                               When should a company
                                                                                                                                               consider issuing debt instead
                 Associate                                                                                                                     of equity?
                 Tucker Arensberg, P.C.
                 1990 – 1993 · 3 yrs
                 Greater Pittsburgh Area                                                                                                       Your GPA is low, why should
                                                                                                                                               we hire you?
                 As a young associate at Tucker Arensberg, I focused solely on transactions, including:

                 -leasing transactions; and                                                                                                       Preview questions
                 -secured and unsecured bank loans.




   Education
                 Duquesne University School of Law
                 Juris Doctor, Law
                 1987 – 1991
                 Activities and Societies: Law Review - Associate Comment Editor, Appellate Moot Court Board,
                 Legal Research and Writing Teaching Assistant



                 Pennsylvania State University
                 B.A., Political Science
                 1979 – 1983




   Volunteer experience

                 Soccer Program Coordinator
                 Saint Alexis
                 Jun 2011 – May 2014 • 3 yrs



                 Developmental, JV and Varsity Soccer Coach
                 Saint Alexis
                 Jul 2003 – May 2014 • 10 yrs 11 mos



                 Capital Campaign Committee
                 Saint Alexis
                 Feb 2004 – Present • 17 yrs 3 mos




   Skills & endorsements

   Corporate Law · 30
                                                                                                                                             Messaging
           Endorsed by 5 of Timothy S.’s colleagues at Reed Smith LLP

https://www.linkedin.com/in/timothysjohnson1/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAAAbMRcBdBqSCIEVBCdwKI6zKvDGy9qgF-c                          107                2/3
5/6/2021                                                                                Tyler Shank | LinkedIn
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                                                                                                                                                 Brian Keicher, CAMS • 3rd
                                                                                                                                                 Vice President - BSA/AML Compliance
                                                                                                                                                 Manager at M&T Bank

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   Activity
   253 followers
                                                                                                                                                 Derek Speaker, MBA • 3rd
   Posts Tyler created, shared, or commented on in the last 90 days are displayed here.                                                          Compliance Team Lead at M&T Bank

                                                                                                                                                    Message
                                                       See all activity
                                                                                                                                                 Rashida Dowell, MBA, CERP • 3rd
                                                                                                                                                 Administrative Vice President | Program
                                                                                                                                                 Manager at M&T Bank
   Experience
                                                                                                                                                    Message
                M&T Bank
                5 yrs 4 mos                                                                                                                      Katie Finnerty, CAMS • 3rd
                                                                                                                                                 BSA/AML Operations Manager - Vice
                                                                                                                                                 President at M&T Bank
                BSA Compliance Manager & AVP
                Jun 2018 – Present · 3 yrs                                                                                                          Connect
                Buffalo, New York
                                                                                                                                                 Kevin Berchou • 2nd
                BSA Compliance Team Leader                                                                                                       Head of Internal Communications at M&T
                Feb 2016 – Jun 2018 · 2 yrs 5 mos                                                                                                Bank
                Buffalo/Niagara, New York Area
                                                                                                                                                    Connect
                • Ensures adherence to State and Federal regulatory compliance with the Bank Secrecy Act (BSA),
                USA PATRIOT Act and the Office of Foreign Assets Control (OFAC)
                • Detects, monitors, analyzes and reports suspicious activity with respect to money laundering and                                        Show more
                terrorist financing, or with prohibited persons or entities designated by OFAC and other…see
                                                                                                         law more



                Paralegal II                                                                                                           People you may know
                United States Attorney's Office
                Feb 2014 – Feb 2016 · 2 yrs 1 mo                                                                                                 Nicholas Campa
                Buffalo/Niagara, New York Area                                                                                                   Data Science Major, Minor in Business
                                                                                                                                                 Administration at Loyola University…
                • As FSA contractor, assisted the Asset Forfeiture and Financial Litigation Unit of the United States
                Attorney's Office for the Western District of New York                                                                              Connect
                • Responsible for collecting monetary judgments ordered as a result of criminal convictions,
                including restitution and asset forfeiture judgments                                       …see more                             Kendall Moore
                                                                                                                                                 Technology Product Manager at Wolters
                                                                                                                                                 Kluwer
                Attorney II
                Lerner, Sampson & Rothfuss                                                                                                          Connect
                Dec 2011 – Jul 2013 · 1 yr 8 mos
                Cincinnati, Ohio                                                                                                                 Christopher Maita
                                                                                                                                                 Fixed Income Sales & Trading Analyst at
                • Represented the nation’s largest lending institutions in residential foreclosures, evictions, and
                                                                                                                                                 Oppenheimer & Co. Inc.
                condemnations, with a peak caseload of more than 1100 cases
                • Worked closely with opposing counsel on alternatives to litigation, including negotiations, short                                 Connect
                sales, and deeds-in-lieu, with an emphasis on cost-saving and expediting the foreclosure…see process
                                                                                                                  more
                                                                                                                                               Messaging
                                                                                                                                                James Kane

https://www.linkedin.com/in/tyler-shank-2038835/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAAEEzWMBvXn4qZeTDPSAtVrD2QmpvMrm…                            108                            1/3
5/6/2021                                                                                   Tyler Shank | LinkedIn
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                                                                                                                                                   Portfolio Administrator at Penobscot
                     Law Clerk                                                                                                                      Financial Advisors
                                                                                          Home       My Network       Jobs   Messaging     Notifications      Me             Work           Lear
                  Gibson & O'Keefe
                                                                                                                                                      Connect
                  Aug 2010 – Dec 2010 · 5 mos
               Tyler Shank Ohio
                  Centerville,                                                                                                                          Message              More…
               BSA Compliance Manager & AVP at M&T Bank                                                                                            Luke Hiltwein
                  • Researched and evaluated medical records for potential legal issues                                                            Assurance Intern at
                  • Assisted in witness depositions and client interviews                                                                          PricewaterhouseCoopers
                  • Performed research of general health care law, including the Medicare Documentation
                  Guidelines and the Nursing Home Reform Act                                                                                          Connect


                                                                                                                                                          Show more
                     Law Clerk for Corporate Counsel
                     Systech Environmental Corporation
                     May 2010 – Sep 2010 · 5 mos
                                                                                                                                            LEARNING
                     Dayton, Ohio
                     • Developed Excel database for tracking the terms of existing and new contracts                                     Add new skills with these courses
                     • Drafted various types of contracts for multinational corporation, including confidentiality and
                                                                                                                                                             Fred Kofman on Managing
                     non-circumvent agreements and real estate leases
                                                                                                                                                             Conflict
                     • Researched and evaluated corporate veil issues regarding the company and its parent …see more
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                                                                                                                                                             Aspiring Executives

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   Education
                                                                                                                                                             21 Opportunities for Better
                     University of Dayton School of Law
                                                                                                                                                             Networking
                     Juris Doctor, Law and Technology
                     2008 – 2011                                                                                                                             5,648 viewers
                     Activities and Societies: • Graduated cum laude • CALI Awards for highest-scoring grades in Real
                     Property II and Trade Secret Law • Staff Writer, University of Dayton Law Review, 2010-2011 • Law
                                                                                                                                             Show more on LinkedIn Learning
                     Dean’s Scholarship, 2008-2011

                                                                                                                                         Promoted


                     The Ohio State University
                     Bachelor of Arts, Sociology
                     2004 – 2008                                                                                                           Build An Advisory         AU's Online MBA – No
                     Activities and Societies: • Graduated cum laude • Co-chair, Alpha Kappa Delta, International
                                                                                                                                                 Board                      GMAT
                     Sociology Honor Society, 2006-2008 • Scarlet & Gray Scholarship, 2007-2008 • Scott Fellowship,
                                                                                                                                          Get Access To 13,000+          Accelerate your career
                     2007-2008
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   Volunteer experience
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   Skills & endorsements

   Legal Research · 8

           Endorsed by 3 of Tyler’s colleagues at Lerner, Sampson & Rothfuss



   Litigation · 7

           Endorsed by 2 of Tyler’s colleagues at Lerner, Sampson & Rothfuss



   Legal Writing · 6

           Endorsed by Ahmed Motiwala, who is highly skilled              Endorsed by 2 of Tyler’s colleagues at Lerner,
           at this                                                        Sampson & Rothfuss


                                                                                                                                                 Messaging

https://www.linkedin.com/in/tyler-shank-2038835/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAAEEzWMBvXn4qZeTDPSAtVrD2QmpvMrm…                              109                          2/3
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            Tyler Shank
                                                                                                                                                   Message   More…
   Accomplishments
        BSA Compliance Manager & AVP at M&T Bank


    25     Courses
           Antitrust Law • Business Organizations • Civil Practice & Procedure • Commercial Transactions
           • Conflict Management & ADR • Constitutional Comparative Law • Constitutional Law • Contracts I & II
           • Copyright Law • Criminal Law • Criminal Procedure • Cybercrime • Entertainment Law
           • Fundamentals of Evidence • Intellectual Property - Law Tech • Legal Profession I & II • Legal Studies -
           Professionalism • Legislation • Licensing Intellectual Property • Personal Property…



      1    Organization
           Ohio State Bar Association




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5/6/2021                                                                             Wendy L. | LinkedIn
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   Wendy L.        · 3rd                                                                  M&T Bank

   Administrative Vice President and Associate General                                                                             People you may know
                                                                                          Duquesne University
   Counsel at M&T Bank
                                                                                                                                             Nicholas Campa
   Wilmington, Delaware, United States · 214 connections ·                                                                                   Data Science Major, Minor in Business
   Contact info                                                                                                                              Administration at Loyola University…

                                                                                                                                                Connect

                                                                                                                                             Kendall Moore
   Activity                                                                                                                                  Technology Product Manager at Wolters
   214 followers                                                                                                                             Kluwer

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                                                                                                                                             Christopher Maita
                                                    See all activity                                                                         Fixed Income Sales & Trading Analyst at
                                                                                                                                             Oppenheimer & Co. Inc.

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   Experience
                                                                                                                                             James Kane
               M&T Bank                                                                                                                      Portfolio Administrator at Penobscot
               4 yrs 5 mos                                                                                                                   Financial Advisors

                                                                                                                                                Connect
               Administrative Vice President and Associate General Counsel
               Dec 2019 – Present · 1 yr 5 mos
                                                                                                                                             Luke Hiltwein
                                                                                                                                             Assurance Intern at
               Vice President and Assistant General Counsel                                                                                  PricewaterhouseCoopers
               Dec 2016 – Nov 2019 · 3 yrs
                                                                                                                                                Connect



               Vice President and Senior Counsel                                                                                     LEARNING

               Wilmington Trust                                                                                                    Add new skills with these courses
               Mar 2008 – 2015 · 8 yrs
                                                                                                                                                      Financial Basics Everyone
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               Vice President and Counsel
                                                                                                                                                      99,450 viewers
               AST Capital Trust
               May 2006 – Mar 2008 · 1 yr 11 mos
                                                                                                                                                      Managing Your Personal
               Wilmington, DE
                                                                                                                                                      Investments

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               Vice President and Trust Counsel
               PeoplesBank                                                                                                                            Finance Foundations: Risk
               2003 – Apr 2006 · 2 yrs                                                                                                                Management
               York, PA                                                                                                                               103,042 viewers


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               Associate Attorney
               Goodall & Yurchak P.C.
               2002 – 2003 · 1 yr
                                                                                                                                           Messaging


                                                                                                                                                         111
               State College, PA

https://www.linkedin.com/in/wendy-l-b60aa21a/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAAQTlfgBm2WMSU0Q8zoNmmkiERZeO_qA47s                                                        1/3
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   Education

                  Duquesne University
                  B.S., Spanish & Political Science




                  Widener University School of Law
                  J.D.
                  Activities and Societies: Law Review (Widener Journal of Public Law), Trial Advocacy Honor Society




   Skills & endorsements

   Estate Planning · 14

           Endorsed by David Cover, AIF® and 1 other who is
                                                                       Endorsed by 2 of Wendy’s colleagues at M&T Bank
           highly skilled at this



   Trusts · 13

           Endorsed by Kenneth A. Feinfield and 1 other who            Endorsed by 5 of Wendy’s colleagues at
           is highly skilled at this                                   Wilmington Trust



   Corporate Law · 8

           Endorsed by 3 of Wendy’s colleagues at Wilmington Trust



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https://www.linkedin.com/in/wendy-l-b60aa21a/?miniProfileUrn=urn%3Ali%3Afs_miniProfile%3AACoAAAQTlfgBm2WMSU0Q8zoNmmkiERZeO_qA47s                        112       2/3
5/6/2021                                                                              William Simon | LinkedIn
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   William Simon              · 3rd                                                         M&T Bank

   Vice President & Assistant General Counsel at M&T Bank                                   University of Notre Dame Law               People also viewed
   Buffalo, New York, United States · 201 connections · Contact info                        School
                                                                                                                                                 Aaron Felmet • 3rd
                                                                                                                                                 Business Risk Manager II at M&T Bank

                                                                                                                                                    Message
   About
                                                                                                                                                 Miriam Dowd • 3rd
   Mr. Simon focuses his practice on litigation matters. He is admitted to practice in New York.                                                 Associate General Counsel at M&T Bank,
                                                                                                                                                 Wealth and Institutional Services…

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   Activity                                                                                                                                      Laura O'Hara • 3rd
   201 followers                                                                                                                                 General Counsel at M&T Bank

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                                                                                                                                                 Gary Price • 3rd
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                                                                                                                                                 Counsel - Consumer Finance at M&T Bank

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   Experience
                                                                                                                                                 Arthur Bronson • 3rd
                M&T Bank                                                                                                                         Deputy General Counsel & Senior Vice
                5 yrs 1 mo                                                                                                                       President at M&T Bank


                Vice President & Assistant General Counsel
                                                                                                                                                    Message
                Oct 2020 – Present · 7 mos
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                Apr 2016 – Oct 2020 · 4 yrs 7 mos

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                                                                                                                                                 Nicholas Campa
                Associate                                                                                                                        Data Science Major, Minor in Business
                Phillips Lytle LLP                                                                                                               Administration at Loyola University…
                Jul 2011 – Apr 2016 · 4 yrs 10 mos
                                                                                                                                                    Connect

                                                                                                                                                 Kendall Moore
   Education                                                                                                                                     Technology Product Manager at Wolters
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                University of Notre Dame Law School
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                                                                                                                                                James Kane
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